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                          BOKF, NA AND BOKFS
             APPLICATION FOR INJUNCTIVE RELIEF EXHIBIT INDEX

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Exhibit 003 - 2018-03-23 Email BOKF Demand Letter

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Exhibit 005&006 - 2018 Client Advisor Incentive Agreement for Wise & Davis

Exhibit 006 - 2018 Client Advisor Incentive Agreement for Wise & Davis

Exhibit 007 - 2018 Sales Service Specialist Schedule Incentive Agreement for
              Morgenson Del-Cid

Exhibit 008 - 2012-04-03 Davis Representative Agreement

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Exhibit 010 - Position Description 80672 Client Advisor for Wise & Davis

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Exhibit 012 - 2017-01-31 Standards of Conduct

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Exhibit 024 - 2018-03-09 Del-Cid Print-Incident 03072708

Exhibit 025 - 2018-03-14 Wise Print-Incident 03345872

Exhibit 026 - 2018-03-16 Morgeson Del-Cid Print-Incident 03545360

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Exhibit 030 - 2018-03-07 Email Topgolf Team Outing from Manna

Exhibit 031 - 2018-03-25 Email Hilltop Securities response from Illmer
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                                 Confidential                 Exhibit 001-000001
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                                 Confidential                 Exhibit 002-000001
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                                 Confidential                 Exhibit 002-000002
      Case 3:18-cv-00794-N               Document 3-1            Filed 03/30/18       Page 6 of 331           PageID 427
Caywood, Candace

From:                                  Dorwart, Erica
Sent:                                  Friday, March 23, 2018 6:10 PM
To:                                    vwise008@gmail.com; mjdelcid@yahoo.com
Cc:                                    Dorwart, Erica; Caywood, Candace; Dorwart, Erica
Subject:                               BOKF Demand Letter
Attachments:                           2018-03-23 Hilltop, Davis, Wise, Del Cid, With Attachments.pdf


                                           FREDERIC DORWART
                                                 LAWYERS
                                               OLD CITY HALL
                                         124 EAST FOURTH STREET
                                       TULSA, OKLAHOMA 74103‐5010
 ERICA ANNE DORWART                                                           OFFICE    (918) 583‐9922
 DIRECT (918)583‐9960                                                         FACSIMILE (918) 583‐8251
 EMAIL edorwart@fdlaw.com

March 23, 2018


 vwise008@gmail.com                              mjdelcid@yahoo.com
 Wise, Vickie             Davis, Ronnie          Del-Cid, Melissa Morgenson
 3318 Blackburn Street    Carroll (Skip)         350 Walnut Grove
 Dallas, TX 75204         602 Bentley Court      Coppell, TX 75019
                          Roanoke, TX 76262



 Hilltop Holdings, Inc.   National Lloyds        Hilltop Securities, Inc.      Hilltop Investment        Hilltop Advisors, LLC
 200 Crescent Court,      Corporation            1201 Elm Street,              Advisors, Inc.            1211 MALONE ST
 Suite 1330               510 N. Valley Mills    Suite 3500                    Julie Jacobs Dupress      HOUSTON, TX 77007-
 Dallas, Texas 75201      Dr., Suite 202         Dallas, TX 75270              34 South Dahlia St.       3126
                          Waco, TX 76710                                       Denver, CO 802461045

 Registered Agent         Registered Agent       Registered Agent              Registered Agent          Registered Agent
 CHRISTINE A. BIALICK     CORPORATION            CAPITOL CORPORATE             Julie Jacobs Dupress      BRADLEY W. RAPP
 6700 IH 35 NORTH         SERVICE COMPANY        SERVICES, INC.                34 South Dahlia St.       1980 POST OAK
 NEW BRAUNFELS, TX        D/B/A CSC-             206 E. 9TH STREET             Denver, CO 802461045      BOULEVARD
 78130                    LAWYERS INCO           SUITE 1300                                              SUITE 1200
                          211 E. 7TH STREET      AUSTIN, TX 78701                                        HOUSTON, TX 77056
                          SUITE 620
                          AUSTIN, TX 78701

 CORPORATION                                     CAPITOL SERVICES, INC.
 SERVICE COMPANY                                 1675 S. State St., Ste. B
 DBA CSC - LAWYERS                               Dover, DE 19901
 INCO
 211 E. 7TH STREET
 SUITE 620
 AUSTIN, TX 78701


 Hilltop National Bank    Plains Capital Bank
 300 Country Club Road    2323 Victory Avenue,
 Casper, WY 82609         Suite 1400
                          Dallas, TX 75219




Re:
         Hilltop Raid

                                                                    1

                                                          Confidential                            Exhibit 003-000001
        Case 3:18-cv-00794-N             Document 3-1           Filed 03/30/18         Page 7 of 331         PageID 428
        Resignations in Concert on March 23, 2018
        Vickie Sue Wise, CRD 1883523
        Ronnie Carrol “Skip” David, CRD 5400246
        Melissa Morgenson Del‐Cid, CRD 2448005
        Cease and Desist Demand
        Reminder of Obligations


        Frederic Dorwart, Lawyers is general counsel to BOK Financial Corporation (“BOKF”) and its subsidiaries including
BOKF NA dba Bank of Texas (BOKF NA) and BOK Financial Securities, Inc. (formerly BOSC, Inc. (“BOKFS”), all (collectively
“BOKF”). If counsel represents you, please immediately forward this letter to your counsel and request that your counsel
contact me.

        The Hilltop entities in conjunction with the individual addressees of this letter planned, orchestrated, and
implemented a raid on BOKF, over a holiday (Spring Break), boldly taking BOKF client advisors in Dallas, Texas, leaving
not a single employee on the team.i The recipients of this letter began contacting BOKF clients, in violation of
applicable law and obligations to BOKF, leaving some clients, at best confused and, at worst, with the
misrepresentation that Hilltop had purchased Bank of Texas. Clients have already reported that “Our whole team
there just left”.

        The purpose of this letter is to: (i) demand that all contact with BOKF clients cease and desist, generally and
particularly due to the raid; (ii), that each recipient cease and desist all activities in violation of obligations to BOKF, (iii)
to provide additional reminders regarding those obligations; (iv) to deal with confidential materials which may have been
misappropriated by the recipients of this letter; and (v) to demand preservation of all documents and tangible items
pertaining to these matters.

I.      Due to the nature of the orchestrated raid over a holiday and conspiracies to violate obligations to BOKF by
recipients of this letter, BOKF demands that the recipients each stop all contact with BOKF clients serviced by individual
recipients of this letter and/or BOKF clients who became known to the individual recipient through BOKF.

II.     BOKF demands that each recipient cease and cease all activities in violation of obligations to BOKF which are set
out in Section III.

III.     All individual addressees are aware of BOKF’s position with respect to its confidential information and the value
BOKF places upon its employee and customer relationships. BOKF reminds all recipients of obligations pursuant common
law, statute (particularly the Trade Secrets Act), and to the attached Representative agreement, incentive plan, and/or
deferred compensation plan. Each employee was obligated to comply with applicable BOKF policies and procedures,
including, but not limited to the Standards of Conduct to which each employee attested, as well as the agreement not
to solicit. Each representative was required to safeguard BOKF Data for BOKF, including, but not limited to: work
product, employee interview notes, project notes, customer information, and the like. This letter is a reminder to each
recipient that BOKF strictly and aggressively enforces its rights with respect to proprietary and confidential information
and its employee and customer relationships.

        I specifically direct the addressees to Representative Agreements at Paragraphs 4(B), 2(K) that respectively address
notice of termination, restrictive covenants (Agreement Not to Solicit) and return of data and confidentiality.

        Provision (4) (B) (Thirty Day Notice) reads as follows:

                 This Agreement may be terminated by either party at any time, without case, but only by,
                 giving thirty (30) days written notice to the other party.

        Provision (2) (J) (Agreement Not to Solicit) reads as follows:


                                                                2
                                                          Confidential                           Exhibit 003-000002
       Case 3:18-cv-00794-N            Document 3-1         Filed 03/30/18         Page 8 of 331        PageID 429
                The Representative “shall not directly or indirectly contact or solicit any customer or
                employee of FI or BOSC for a period of one (1) year after the termination of this Agreement
                for whatever reason (whether with or without cause)…

        Provisions (2)(K) and (2)(M) (Agreement to Return Data and Agreement regarding confidentiality)

                Shall immediately upon termination of this Agreement, deliver to BOSC all copies of all
                documents and electronic files concerning the business…

                During Representative's employment under this Agreement, BOSC shall make available to
                Representative and Representative will become acquainted with various. information
                relating to the BOSC's business operations, customers, products, marketing data, business
                plan, strategies, employees, contracts, financial records and accounts, projections and
                budgets, and similar information which are crucial to BOSC. Representative agrees that
                to the extent such information is not generally available to the public and gives BOSC an
                advantage over competitors who do not know of or use such information, such information
                and documents shall be deemed trade secrets of the BOSC. Representative further agrees
                that all such information and documents relating to the business of the BOSC, whether they
                are prepared by Representative or coming into Representative's possession in any other
                way, are owned by the BOSC and shall remain the exclusive property of the BOSC.
                Representative shall not misuse, misappropriate or disclose such trade secrets of BOSC,
                directly or indirectly, or use them for Representative's own benefit, either during the term
                of this Agreement or at any time thereafter, except as may be necessary or appropriate in
                the course of Representative's employment with the BOSC, unless such action is either
                previously agreed to in writing by the BOSC or required by law.

IV.     All addressees should immediately ensure, jointly and severally, that: (1) each addressee has conducted a diligent
search of all sources of BOKF data, including but not limited to, paper (hard copy), and electronic copies, including, but
not limited to, email accounts and contacts, social media, mobile phone cards, flash disks, disks, thumb drives, personal
computers, tablet computers, laptops and the like; (2) each addressee has complied with obligations to BOKF, and (3) each
addressee has no BOKF data in the addressee’s possession and or control. In the event that an addressee discovers that
BOKF data in any addressee’s possession or control, please contact me to arrange to preserve documents and eliminate your
possession and/or control of BOKF data.

V.      In addition, please immediately take affirmative efforts to preserve of all documents and tangible items related to
the individual recipients’ transitions from employment with BOKF and/or BOKF data (including, but not limited to, all
forms of electronic media regardless of ownership status (entity and/or personal ownership)).

        BOKF demands that: (i) each recipient of this letter cease and desist all activities as outlined above and (ii)
contact Erica Anne Dorwart at Frederic Dorwart Lawyers PLLC at 918‐583‐9960 and edorwart@fdlaw.com) no later
than noon (12:00) on Monday March 26, 2018 to discuss immediate remedies for this orchestrated raid on BOKF and
violation of duties of loyalty and agreements.

                                                        Sincerely,


                                                  Erica Anne Dorwart
                         Counsel to BOK Financial Securities, Inc., BOKF, NA, and their Affiliates


Enclosures


Erica Anne Dorwart, OBA 18367

                                                             3
                                                       Confidential                         Exhibit 003-000003
Case 3:18-cv-00794-N          Document 3-1             Filed 03/30/18           Page 9 of 331       PageID 430
              Frederic Dorwart, Lawyers PLLC
              124 East Fourth Street
              Tulsa, Oklahoma 74103
              edorwart@fdlaw.com
              918-583-9960 (Direct)
              918-583-9922 (Office)


              i
                  A single junior client advisor in Dallas, Texas was left at a different Branch.




                                                                                       4
                                                Confidential                               Exhibit 003-000004
  Case 3:18-cv-00794-N               Document 3-1             Filed 03/30/18      Page 10 of 331          PageID 431

                                                   FREDERIC DORWART
                                                        LAWYERS
                                                      OLD CITY HALL
                                                 124 EAST FOURTH STREET
                                               TULSA, OKLAHOMA 74103-5010
         ERICA ANNE DORWART                                                         OFFICE   (918) 583-9922
         DIRECT (918)583-9960                                                       FACSIMILE (918) 583-8251
         EMAIL edorwart@fdlaw.com

                                                      March 23, 2018


vwise008@gmail.com                               mjdelcid@yahoo.com
Wise, Vickie             Davis, Ronnie           Del-Cid, Melissa Morgenson
3318 Blackburn Street    Carroll (Skip)          350 Walnut Grove
Dallas, TX 75204         602 Bentley Court       Coppell, TX 75019
                         Roanoke, TX 76262



Hilltop Holdings, Inc.   National Lloyds         Hilltop Securities, Inc.     Hilltop Investment      Hilltop Advisors, LLC
200 Crescent Court,      Corporation             1201 Elm Street,             Advisors, Inc.          1211 MALONE ST
Suite 1330               510 N. Valley Mills     Suite 3500                   Julie Jacobs Dupress    HOUSTON, TX 77007-
Dallas, Texas 75201      Dr., Suite 202          Dallas, TX 75270             34 South Dahlia St.     3126
                         Waco, TX 76710                                       Denver, CO 802461045

Registered Agent         Registered Agent        Registered Agent             Registered Agent        Registered Agent
CHRISTINE A. BIALICK     CORPORATION             CAPITOL CORPORATE            Julie Jacobs Dupress    BRADLEY W. RAPP
6700 IH 35 NORTH         SERVICE COMPANY         SERVICES, INC.               34 South Dahlia St.     1980 POST OAK
NEW BRAUNFELS, TX        D/B/A CSC-              206 E. 9TH STREET            Denver, CO 802461045    BOULEVARD
78130                    LAWYERS INCO            SUITE 1300                                           SUITE 1200
                         211 E. 7TH STREET       AUSTIN, TX 78701                                     HOUSTON, TX 77056
                         SUITE 620
                         AUSTIN, TX 78701

CORPORATION                                      CAPITOL SERVICES, INC.
SERVICE COMPANY                                  1675 S. State St., Ste. B
DBA CSC - LAWYERS                                Dover, DE 19901
INCO
211 E. 7TH STREET
SUITE 620
AUSTIN, TX 78701


Hilltop National Bank    Plains Capital Bank
300 Country Club Road    2323 Victory Avenue,
Casper, WY 82609         Suite 1400
                         Dallas, TX 75219



        Re:
                  Hilltop Raid
                  Resignations in Concert on March 23, 2018
                  Vickie Sue Wise, CRD 1883523
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                  Melissa Morgenson Del-Cid, CRD 2448005
                  Cease and Desist Demand
                  Reminder of Obligations




                                                                                                     Page 1 of 4


                                                        Confidential                         Exhibit 003-000005
Case 3:18-cv-00794-N             Document 3-1            Filed 03/30/18           Page 11 of 331   PageID 432


           Frederic Dorwart, Lawyers is general counsel to BOK Financial Corporation (“BOKF”)
   and its subsidiaries including BOKF NA dba Bank of Texas (BOKF NA) and BOK Financial
   Securities, Inc. (formerly BOSC, Inc. (“BOKFS”), all (collectively “BOKF”).               If counsel
   represents you, please immediately forward this letter to your counsel and request that your counsel
   contact me.

           The Hilltop entities in conjunction with the individual addressees of this letter planned,
   orchestrated, and implemented a raid on BOKF, over a holiday (Spring Break), boldly taking
   BOKF client advisors in Dallas, Texas, leaving not a single employee on the team. 1 The
   recipients of this letter began contacting BOKF clients, in violation of applicable law and
   obligations to BOKF, leaving some clients, at best confused and, at worst, with the
   misrepresentation that Hilltop had purchased Bank of Texas. Clients have already reported
   that “Our whole team there just left”.

            The purpose of this letter is to: (i) demand that all contact with BOKF clients cease and
   desist, generally and particularly due to the raid; (ii), that each recipient cease and desist all
   activities in violation of obligations to BOKF, (iii) to provide additional reminders regarding those
   obligations; (iv) to deal with confidential materials which may have been misappropriated by the
   recipients of this letter; and (v) to demand preservation of all documents and tangible items
   pertaining to these matters.

   I.      Due to the nature of the orchestrated raid over a holiday and conspiracies to violate
   obligations to BOKF by recipients of this letter, BOKF demands that the recipients each stop all
   contact with BOKF clients serviced by individual recipients of this letter and/or BOKF clients who
   became known to the individual recipient through BOKF.

   II.   BOKF demands that each recipient cease and cease all activities in violation of obligations
   to BOKF which are set out in Section III.

   III.    All individual addressees are aware of BOKF’s position with respect to its confidential
   information and the value BOKF places upon its employee and customer relationships. BOKF
   reminds all recipients of obligations pursuant common law, statute (particularly the Trade Secrets
   Act), and to the attached Representative agreement, incentive plan, and/or deferred compensation
   plan. Each employee was obligated to comply with applicable BOKF policies and procedures,
   including, but not limited to the Standards of Conduct to which each employee attested, as well
   as the agreement not to solicit. Each representative was required to safeguard BOKF Data for
   BOKF, including, but not limited to: work product, employee interview notes, project notes,
   customer information, and the like. This letter is a reminder to each recipient that BOKF strictly
   and aggressively enforces its rights with respect to proprietary and confidential information and its
   employee and customer relationships.

            I specifically direct the addressees to Representative Agreements at Paragraphs 4(B), 2(K)
   that respectively address notice of termination, restrictive covenants (Agreement Not to Solicit)
   and return of data and confidentiality.

            Provision (4) (B) (Thirty Day Notice) reads as follows:




   1
    A single junior client advisor in Dallas, Texas was left at a different Branch.
                                                                                              Page 2 of 4


                                                    Confidential                         Exhibit 003-000006
Case 3:18-cv-00794-N           Document 3-1          Filed 03/30/18         Page 12 of 331        PageID 433


                    This Agreement may be terminated by either party at any time,
                    without case, but only by, giving thirty (30) days written notice to
                    the other party.

           Provision (2) (J) (Agreement Not to Solicit) reads as follows:

                    The Representative “shall not directly or indirectly contact or
                    solicit any customer or employee of FI or BOSC for a period of
                    one (1) year after the termination of this Agreement for whatever
                    reason (whether with or without cause)…

           Provisions (2)(K) and (2)(M) (Agreement to Return Data and Agreement regarding
   confidentiality)

                    Shall immediately upon termination of this Agreement, deliver to
                    BOSC all copies of all documents and electronic files concerning
                    the business…

                    During Representative's employment under this Agreement,
                    BOSC shall make available to Representative and Representative
                    will become acquainted with various. information relating to the
                    BOSC's business operations, customers, products, marketing
                    data, business plan, strategies, employees, contracts, financial
                    records and accounts, projections and budgets, and similar
                    information which are crucial to BOSC. Representative agrees
                    that to the extent such information is not generally available to the
                    public and gives BOSC an advantage over competitors who do not
                    know of or use such information, such information and documents
                    shall be deemed trade secrets of the BOSC. Representative further
                    agrees that all such information and documents relating to the
                    business of the BOSC, whether they are prepared by
                    Representative or coming into Representative's possession in any
                    other way, are owned by the BOSC and shall remain the exclusive
                    property of the BOSC. Representative shall not misuse,
                    misappropriate or disclose such trade secrets of BOSC, directly
                    or indirectly, or use them for Representative's own benefit, either
                    during the term of this Agreement or at any time thereafter, except
                    as may be necessary or appropriate in the course of
                    Representative's employment with the BOSC, unless such action
                    is either previously agreed to in writing by the BOSC or required
                    by law.

   IV.     All addressees should immediately ensure, jointly and severally, that: (1) each addressee
   has conducted a diligent search of all sources of BOKF data, including but not limited to, paper
   (hard copy), and electronic copies, including, but not limited to, email accounts and contacts, social
   media, mobile phone cards, flash disks, disks, thumb drives, personal computers, tablet computers,
   laptops and the like; (2) each addressee has complied with obligations to BOKF, and (3) each
   addressee has no BOKF data in the addressee’s possession and or control. In the event that an
   addressee discovers that BOKF data in any addressee’s possession or control, please contact me to
   arrange to preserve documents and eliminate your possession and/or control of BOKF data.


                                                                                            Page 3 of 4


                                                Confidential                          Exhibit 003-000007
Case 3:18-cv-00794-N          Document 3-1         Filed 03/30/18       Page 13 of 331        PageID 434


   V.       In addition, please immediately take affirmative efforts to preserve of all documents and
   tangible items related to the individual recipients’ transitions from employment with BOKF and/or
   BOKF data (including, but not limited to, all forms of electronic media regardless of ownership
   status (entity and/or personal ownership)).

           BOKF demands that: (i) each recipient of this letter cease and desist all activities as
   outlined above and (ii) contact Erica Anne Dorwart at Frederic Dorwart Lawyers PLLC at 918-
   583-9960 and edorwart@fdlaw.com) no later than noon (12:00) on Monday March 26, 2018
   to discuss immediate remedies for this orchestrated raid on BOKF and violation of duties of
   loyalty and agreements.

                                               Sincerely,


                                         Erica Anne Dorwart
                Counsel to BOK Financial Securities, Inc., BOKF, NA, and their Affiliates


   Enclosures




                                                                                        Page 4 of 4


                                              Confidential                        Exhibit 003-000008
Case 3:18-cv-00794-N      Document 3-1      Filed 03/30/18     Page 14 of 331   PageID 435




                       WEALTH MANGEMENT
                          Client Advisor
                          2018 Schedule
  PAYMENT OF BENEFITS
  This Schedule is subject to the Incentive Compensation Master Incentive Plan and
  applicable Addendum which are incorporated by reference into this schedule.

  PARTICIPATION DESIGNATION
  The following employees are eligible to participate in the Plan:
     • Client Advisor (80672)

  AWARD DETERMINATION




                                                                                      1
                                        Confidential                  Exhibit 003-000009
Case 3:18-cv-00794-N   Document 3-1   Filed 03/30/18   Page 15 of 331   PageID 436




                                                                         2|P age
                                  Confidential                Exhibit 003-000010
Case 3:18-cv-00794-N       Document 3-1       Filed 03/30/18      Page 16 of 331       PageID 437




    ADDITIONAL PLAN PROVISIONS
    Employee agrees that, during employment and for a period of one (1) year following any
    termination of employment for any reason, Employee shall not, (whether as an officer,
    director, employee, partner, stockholder, creditor or agent, or representative of other
    persons or entities), (i) directly solicit the sales of goods, service or a combination of
    goods and services from established customers of BOK Financial or any of its affiliates
    or (ii) directly solicit employees of BOK Financial or any affiliates of BOK Financial to seek
    employment with any person or entity providing banking and/or financial services and/or
    other goods and services offered by BOK Financial and/or its affiliates except on behalf
    of BOK Financial and/or its affiliates.          The foregoing agreement not to solicit
    notwithstanding, to the extent that the employee has entered into an agreement with BOK
    Financial and/or an affiliate, and the agreement contains greater restrictive covenants in
    favor of BOK Financial and/or an affiliate, the greater restrictive covenant supersedes this
    provision.




                                                                                         3|P age
                                          Confidential                      Exhibit 003-000011
Case 3:18-cv-00794-N        Document 3-1        Filed 03/30/18     Page 17 of 331      PageID 438




            WEALTH MANAGEMENT DIVISION
                           BOKFS
              Securities Sales/Service Specialist
                        2018 Schedule
   PAYMENT OF BENEFITS
   This Schedule is subject to the Incentive Compensation Master Incentive Plan and applicable
   Addendum which are incorporated by reference into this schedule.

   PARTICIPATION DESIGNATION
   The following BOKFS employees are eligible to participate in the Plan as of their employment
   date:
      •    Securities Sales/Service Specialist - 20223
      •    Sr. Securities Sales/Service Specialist - 80332

   AWARD DETERMINATION




   ADDITIONAL PLAN PROVISIONS
   Employee agrees that, during employment and for a period of one (1) year following any
   termination of employment for any reason, Employee shall not, (whether as an officer, director,



                                                                                                     1
                                            Confidential                    Exhibit 003-000012
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employee, partner, stockholder, creditor or agent, or representative of other persons or entities),
(i) directly solicit the sales of goods, service or a combination of goods and services from
established customers of BOK Financial or any of its affiliates or (ii) directly solicit employees
of BOK Financial or any affiliates of BOK Financial to seek employment with any person or
entity providing banking and/or financial services and/or other goods and services offered by
BOK Financial and/or its affiliates except on behalf of BOK Financial and/or its affiliates. The
foregoing agreement not to solicit notwithstanding, to the extent that the employee has entered
into an agreement with BOK Financial and/or an affiliate, and the agreement contains greater
restrictive covenants in favor of BOK Financial and/or an affiliate, the greater restrictive
covenant supersedes this provision.




                                                                                                      2

                                           Confidential                       Exhibit 003-000013
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                                             BOSC, INC.
                                     REPRESENTATIVE AGREEMENT

              This Agreement is made and entered into this      l_ day of A.,,r: /             , 1.o 1'4,y
      and     between    BOSC,     Inc.,    an    Oklahoma             Corporation      ("BOSC")      and
           Ro,.4 i c.     A
                         -:J Q: fil      ("Representative").

            In consideration of the mutual promises hereinafter made and other good and valuable
      consideration (the receipt and adequacy of which BOSC and Representative hereby
      acknowledge), BOSC and Representative agree as follows:

      1.      BOSC'S OBLIGATIONS. BOSC:

              A.       Hereby appoints Representative as its agent to be located in a branch office of
                   .      8,11 /c. "~ re it4lJ                                                   11
                                                                                     (hereinafter FI")
                       located at S 'i     S",     S~c,r\' c...,, , s ,;k 7<2°« (),,//•.r~          tx
                                                                                                     ?S2. V
                       ("Branch Office") to solicit purchases of s~curities and i~vestment{offered
                       through BOSC to depositors and customers of Fl and to the general public.

              B.     Shall exercise exclusive control over the Representat:•,e with respect to all
                   . aspects of securities transactions and related securities business through a
                     Series 24 licensed principal of BOSC who shall serve as the Branch Manager
                     ("Branch Manager;) of the Office of Supervisory Jurisd:ction through which all
                     securities activities shall take place.

              C.       BOSC shall employ Representative as a professional with compensation to be
                       paid to Representative pl!r:suant to separate agreement between BOSC and
                       Representative and in accordance with the policies and procedures then in
                       effect at BOSC.

      2.      THE REPRESENTATIVE 1S OBLIGATIONS. The Representative:

              A.       Shall provide to prospective purchasers a current prospectus or other offering
                       materials w hen required by the federal and/or state securities laws, shall explain
                       fully the terms of any security or investment offering for sale to a customer, shall
                       make no untrue or misleading statements or representa~ions, shall not omit any
                       material information or facts pertaining to any aspect of the transaction or sale,
                       and shall comply with all laws respecting offers and sa les of securities and
                       advising persons on such matters.

              B.      Shall (i) conduct business in accordance with the rules' 'a nd regulations of the
                     Securities and Exchange Commission (SEC), the National Assqciation of
                      Securities Dealers (NASO), any state agencies regul_ating Representative's
                    . activities, (ii) conduGt business in accordance with the policies and procedures
                     of BOSC and the best customs and procedures of the securities industry,
                      (iii) shall not conduct business or receive funds until fully licensed as required by
                     all such laws, rules and regulations, an~ {iv) shall accept such supervision a1_1d




                                                 Confidential                          Exhibit 003-000014
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                           C>

                  control by his/her Branch Manager andofficers of BOSC as BOSC determines
                  is necessary or appropriate to fully and timely comply with all such laws,
                  regulations, ru Jes, customs and procedures. Without limiting the generality of the
                  foregoing, mall not, directly or indirectly, (i) engage in municipal securities
                  business with an issuer to whom the Representative has made a political
                  contribution within the previous two years (other than a contribution in an amount
                  less than $250 to an official of such issuer for whom0 the Representative is
                 entitled to vote) or {ii) make a political contribution to any issuer to whom the
                 -Representative is engaging or seeking to engage in the municipal securities
                 business.

           C.    Shall (i) mail any correspondence, make any communication or cause any
                 advertising to be made respecting investments or the investment business only
                 after said correspondence, communication or advertising is approved in
                 advance by BOSC and (ii) provide copies of all such correspondence,
                 communication and advertising to BOSC in accordance with all applicable
                 SEC, NASO and state agencies rules and regulations.

           D.    Shall accept payments from customers by check or money order only payable to
                 the underwriter, investment company or insurance company designated by
                 BOSC.

           E.    Shall indemnify BOSC and hold BOSC harmless from any and all loss, cost or
                 liability (including legal, accounting and expert fees and expenses) which result
                 from the Representative's negligence, violation, or other misconduct.

           F.    Shall not act in any manner whatsoever as an agent for any individual or entity
                 competitive in any respect with BOSC.

           G.     Shall (i) represent to all customers and prospective customers, whenever he/she
                  is soliciting purchases or interviewing customers or otherwise, that (a) he/she is
                . acting as a Representative of BOSC and (b) all orders for securities will be
                  placed through BOSC and (ii) conduct all business totally separate and distinct
                  from all other business conducted at the Fl.

         . H.    Shall conduct himself/herself and his/her affairs in a professional manner
                 consistent with the building of a quality reputation for himself/herself and BOSC
                 and in accordance with the best standards of the industry.

           I.     Recognizes that (i) he/she shall accept direction for BOSC securities activities
                · solely from BOSC in accordance with BOSC's policies and procedures, and (ii)
                  will neither seek nor accept direction regarding the conduct of .securities
                  business from any individual or group who is not a duly authorized BOSC
                  Branch Manager or BOSC officer.

           J.   . Shall not (i) directly solicit any established customer of BOSC for a period of
                 one (1) year after the termination of this Agreement (for whatever reason,

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                                          Confidential                           Exhibit 003-000015
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                                                                        (_)


                  whether with or without cause) or (ii) solicit any employee of BOSC to accept
                  employment with any entity for a period of one (1) year after termination of this
                  Agreement (forwhateverreason, whetherwith orwithoutcause). This promise
                  by Representative may be enforced by temporary, preliminary and permanent
                  injunctive relief without the necessity of establishing irreparable injury and
                  without the posting of any bond, in addition to any other.remedies the law may
                  provide. Without limiting the generality of the provisions of this paragraph, the
                  phrase "directly solicit any established customer of BOSC" includes (i) making
                  or participating in any mail ore·-mail communication to such customer which is
                  not part of a mass mailing to a public of which established customers of BOSC
                  are an insignificant part the purpose of which was not to communicate with
                  established customers of BOSC and (ii) having or participating in any meeting
                  with or making or participating in telephone call to such customer unless such
                  customer was an established social friend of the Representative and the
                  purpose of the telephone call was strictly social.

           K.      Shall, immediately upon termination of th is Agreement, deliver to BOSC all
                   copies of all documents and electronic files concerning the business (including
                   training, licensure, commission, and production information) of BOSC and/or Fl
                   and/or customers of BOSC and/or Fl including all electronic files and documents
                   (whether prepared by BOSC and/or Fl or the Representative and whether
                 . prepared before or after the start of this Agreement) containing any information
                   respecting the identities of the customers of BOSC and/or Fl or their addresses
                   or telephone numbers, or the nature or amounts of their investments, assets or
                   liabilities, or their investment needs or strategies. Without limiting the generality
                   of the provisions of this Paragraph, as used in this Paragraph the words
                   "documents and electronic files concerning the business of BOSC" includes all
                   documents identified in the BOSC Quarterly Certification, diaries, handwritten
                   notes, address books, calendars, and other documents (written or electronic
                   and whether or not Representative regards such documents as his/her personal
                   documents) which contain any of the information described in the Paragraph
                   whether prepared by Representative or BOSC.

           L      Shall completely perform all duties (including the duty of loyalty) owed by
                  Representative to his prior employer until such· time as such duties shall have
                  terminated, return to his employer all copies and electronic files of his prior
                  employer (of the kind described in the preceding paragraph relating to the
                  business of his prior employer, and comply with all lawful agreements limiting
                  the Representative's right to engage in the securities business.

           :M.   During Representative's employment under this Agreement, BOSC shall make
                 available to Representative and Representative will become acquainted with
                 various. information relating to the BOSC's business operations, customers,
                 products, marketing data, business plans, strategies, employees, contracts,
                 financial records and accounts, projections and budgets, and similar information
                 which are crucial to BOSC. Representative agrees that to the extent such
                 information is not generally available to the public and gives BOSC an

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                                            Confidential                            Exhibit 003-000016
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                advantage over competitors who do not know of or use such information, such
                information and documents shall be deemed trade secrets of the BOSC.
                Representative further agrees that all such information and documents relating
                to th~ business of the BOSC, whether they are prepared by Representative or
                coming into Representative 's possession in any other way, are owned by the
                BOSC and shall remain the exclusive property of the BOSC. Representative
                shall not misuse, misappropriate or disclose such trade secrets of BOSC,
                directly or indirectly, or use them for Representative 's own benefit, either during
                the term of this Agreement or at any time thereafter, except as may be
                necessary or appropriate in the course of Representative's employmentwith the
                BOSC, unless such action is either previously agreed to in writing by the BOSC
                or required by law.                                              ·

      3.   LIMITED OF AUTHORITY AND REPRESENTATIVE'S REPRESENTATION.

           A.   The Representative is a limited agent of BOSC only and has no authority to bind
                BOSC in any way except to communicate to customers materials supplied by
                BOSC and to accept transactions in securities offered through BOSC.

           B.   The Representative hereby represents that he/she has delivered to BOSC true
                copies of all agreements by which Representative may be bound which purport
                to limit the ability of Representative to engage in the securities business.

      4.   TERMINATION OF AGREEMENT.

           A.   The      effective       date     of     this     Agreement        shall       be
                   Aerif 1,      1..o 1"\..               This Agreement shall automatically
                renew on th~ April 15 next following and on each April 15 thereafter for one year
                periods unless this Agreement is terminated as hereafter provided.

           B.   This Agreement may be terminated by either party at any time, without cause, by
                but only by, giving thirty (30) days written notice to the other party.

           C.   This Agreement shall automatically terminate (i) upon cancellation of
                Representative's coverage by his/her surety company or (ii) upon cancellation or
                non-renewal of any required license.

           D.   This Agreement may be terminated by BOSC at any time without notice for a
                breach of this Agreement by the Representative.

           E.   The death of the Representative shall automatically terminate th is Agreement on
                the date of death.

           F.   · Upon termination, the Representative shall cease using the name BOSC, shall
                  no longer hold himself/herself out as a Representative and shall return all
                  materials bearing the BOSC name to BOSC and as otherwise provided herein


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                                         Confidential                           Exhibit 003-000017
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      5.   MISCELLANEOUS PROVISIONS. The following miscellaneous provisions shall
           apply to this Agreement:

           A.   All notices or advices required or permitted to be given by or pursuant to this
                Agreement, shall be given in writing. All such notices and advices shall be
                (i) delivered personally, (ii) delivered by facsimile or delivered by U.S.
                Registered or Certified Mail, Return Receipt Requested mail, or (iii) delivered
                for overnight delivery by a nationally recognized overnight courier service. Such
                notices and advices shall be deemed to have been given (i) the first business
                day following the date of delivery if delivered personally or by facsimile, (ii) on
                the third business day following the date of mailing if mailed by U.S. Registered
                or Certified Mail, Return Receipt Requested, or (iii) on the date of receipt if
                delivered for overnight delivery by a nationally recognized overnight courier
                service. All such notices and advices and all other communications related to
                this Agreement shall be given as follows:

                       lf to BOSC:
                                        Scott Grauer
                                        BOSC, Inc.
                                        Williams Tower, Ninth Floor
                                        Tulsa, Oklahoma 74103
                                        918-595-3165- Tel
                                        918-588-6510 - Fax

                If to Representative:




                orto such other address as the party may have furnished to the other parties in
                accordance herewith, except that notice of change of addresses shall be
                effective only upon receipt.

           B.   This Agreement shall be deemed made and executed in Tulsa County.
                Oklahoma.

           C.   This Agreement shall be subject to, and interpreted by and in accordance with,
                the laws (excluding conflict of law provisions) of the State of Oklahoma.

           D.   This Agreement is the entire Agreement of the parties respecting the subject
                matter hereof. There are no other agreements, representations or warranties,
                whether oral or written, respecting the subject matter hereof.




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           E.   No course of prior dealings involving any of the parties hereto and no usage of
                trade shall be relevant or advisable to interpret, supplement, explain or vary any
                of the terms of this Agreement, as expressly provided herein.

           F.    This Agreement, and all the provisions of this Agreement, shall be deemed
                 drafted by all of the parties hereto. This Agreement shall not be interpreted
                 strictly for or against any party, but solely in accordance with the fair meaning of
                ·the provisions hereof to effectuate the purposes and interest of this Agreement.

           G.   Each party hereto has entered into this Agreement based solely upon the
                agreements, representations and warranties expressly set forth herein and upon
                his own knowledge and investigation.

           H.   Each of the persons signing below on behalf of a party hereto represents and
                warrants that he or she has full requisite power and authority to execute and
                deliver this Agreement on behalf of the party for whom he or she is signing and
                to bind such party to the terms and conditions of this Agreement.

           I.   This Agreement may be executed in counterparts, each of which shall be
                deemed an original. This Agreement shall become effective only when all of the
                parties hereto shall have executed the original or counterpart hereof. This
                agreement may be executed and delivered by a facsimile transmission of a
                counterpart hereof.

           J.   In any action brought by a party hereto to enforce the obligations of any other
                party hereto, the prevailing party shall be entitled to collect from the opposing
                parties to such action such party's reasonable attorneys fees and costs
                (including court costs, reasonable fees of accountants and experts, and other
                expenses incidental to the action).

           K.   This Agreement shall be binding upon and shall inure to the benefit of the
                parties and their respective successors and assigns. This is not a third party
                beneficiary contract. No person or entity other than a party hereto shall have any
                rights under this Agreement. This Agreement may be amended or modified only
                in a writing which specifically references this Agreement.




                                               "Representative" (< • • ,- : ~   a ...,•.J ~


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                                          Confidential                           Exhibit 003-000019
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                                  Confidential                Exhibit 003-000021
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                                  Confidential                Exhibit 003-000022
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                                  Confidential                Exhibit 003-000023
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                                  Confidential                Exhibit 003-000024
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                                  Confidential                Exhibit 003-000025
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                                  Confidential                Exhibit 003-000026
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                                  Confidential                Exhibit 003-000027
      Case 3:18-cv-00794-N              Document 3-1            Filed 03/30/18        Page 33 of 331           PageID 454
Caywood, Candace

From:                                  Dorwart, Erica
Sent:                                  Friday, March 23, 2018 6:10 PM
To:                                    vwise008@gmail.com; mjdelcid@yahoo.com
Cc:                                    Dorwart, Erica; Caywood, Candace; Dorwart, Erica
Subject:                               BOKF Demand Letter
Attachments:                           2018-03-23 Hilltop, Davis, Wise, Del Cid, With Attachments.pdf


                                           FREDERIC DORWART
                                                 LAWYERS
                                               OLD CITY HALL
                                         124 EAST FOURTH STREET
                                       TULSA, OKLAHOMA 74103‐5010
 ERICA ANNE DORWART                                                           OFFICE    (918) 583‐9922
 DIRECT (918)583‐9960                                                         FACSIMILE (918) 583‐8251
 EMAIL edorwart@fdlaw.com

March 23, 2018


 vwise008@gmail.com                              mjdelcid@yahoo.com
 Wise, Vickie             Davis, Ronnie          Del-Cid, Melissa Morgenson
 3318 Blackburn Street    Carroll (Skip)         350 Walnut Grove
 Dallas, TX 75204         602 Bentley Court      Coppell, TX 75019
                          Roanoke, TX 76262



 Hilltop Holdings, Inc.   National Lloyds        Hilltop Securities, Inc.      Hilltop Investment        Hilltop Advisors, LLC
 200 Crescent Court,      Corporation            1201 Elm Street,              Advisors, Inc.            1211 MALONE ST
 Suite 1330               510 N. Valley Mills    Suite 3500                    Julie Jacobs Dupress      HOUSTON, TX 77007-
 Dallas, Texas 75201      Dr., Suite 202         Dallas, TX 75270              34 South Dahlia St.       3126
                          Waco, TX 76710                                       Denver, CO 802461045

 Registered Agent         Registered Agent       Registered Agent              Registered Agent          Registered Agent
 CHRISTINE A. BIALICK     CORPORATION            CAPITOL CORPORATE             Julie Jacobs Dupress      BRADLEY W. RAPP
 6700 IH 35 NORTH         SERVICE COMPANY        SERVICES, INC.                34 South Dahlia St.       1980 POST OAK
 NEW BRAUNFELS, TX        D/B/A CSC-             206 E. 9TH STREET             Denver, CO 802461045      BOULEVARD
 78130                    LAWYERS INCO           SUITE 1300                                              SUITE 1200
                          211 E. 7TH STREET      AUSTIN, TX 78701                                        HOUSTON, TX 77056
                          SUITE 620
                          AUSTIN, TX 78701

 CORPORATION                                     CAPITOL SERVICES, INC.
 SERVICE COMPANY                                 1675 S. State St., Ste. B
 DBA CSC - LAWYERS                               Dover, DE 19901
 INCO
 211 E. 7TH STREET
 SUITE 620
 AUSTIN, TX 78701


 Hilltop National Bank    Plains Capital Bank
 300 Country Club Road    2323 Victory Avenue,
 Casper, WY 82609         Suite 1400
                          Dallas, TX 75219




Re:
         Hilltop Raid

                                                                    1

                                                          Confidential                            Exhibit 004-000001
       Case 3:18-cv-00794-N              Document 3-1          Filed 03/30/18         Page 34 of 331          PageID 455
        Resignations in Concert on March 23, 2018
        Vickie Sue Wise, CRD 1883523
        Ronnie Carrol “Skip” David, CRD 5400246
        Melissa Morgenson Del‐Cid, CRD 2448005
        Cease and Desist Demand
        Reminder of Obligations


        Frederic Dorwart, Lawyers is general counsel to BOK Financial Corporation (“BOKF”) and its subsidiaries including
BOKF NA dba Bank of Texas (BOKF NA) and BOK Financial Securities, Inc. (formerly BOSC, Inc. (“BOKFS”), all (collectively
“BOKF”). If counsel represents you, please immediately forward this letter to your counsel and request that your counsel
contact me.

        The Hilltop entities in conjunction with the individual addressees of this letter planned, orchestrated, and
implemented a raid on BOKF, over a holiday (Spring Break), boldly taking BOKF client advisors in Dallas, Texas, leaving
not a single employee on the team.i The recipients of this letter began contacting BOKF clients, in violation of
applicable law and obligations to BOKF, leaving some clients, at best confused and, at worst, with the
misrepresentation that Hilltop had purchased Bank of Texas. Clients have already reported that “Our whole team
there just left”.

        The purpose of this letter is to: (i) demand that all contact with BOKF clients cease and desist, generally and
particularly due to the raid; (ii), that each recipient cease and desist all activities in violation of obligations to BOKF, (iii)
to provide additional reminders regarding those obligations; (iv) to deal with confidential materials which may have been
misappropriated by the recipients of this letter; and (v) to demand preservation of all documents and tangible items
pertaining to these matters.

I.      Due to the nature of the orchestrated raid over a holiday and conspiracies to violate obligations to BOKF by
recipients of this letter, BOKF demands that the recipients each stop all contact with BOKF clients serviced by individual
recipients of this letter and/or BOKF clients who became known to the individual recipient through BOKF.

II.     BOKF demands that each recipient cease and cease all activities in violation of obligations to BOKF which are set
out in Section III.

III.     All individual addressees are aware of BOKF’s position with respect to its confidential information and the value
BOKF places upon its employee and customer relationships. BOKF reminds all recipients of obligations pursuant common
law, statute (particularly the Trade Secrets Act), and to the attached Representative agreement, incentive plan, and/or
deferred compensation plan. Each employee was obligated to comply with applicable BOKF policies and procedures,
including, but not limited to the Standards of Conduct to which each employee attested, as well as the agreement not
to solicit. Each representative was required to safeguard BOKF Data for BOKF, including, but not limited to: work
product, employee interview notes, project notes, customer information, and the like. This letter is a reminder to each
recipient that BOKF strictly and aggressively enforces its rights with respect to proprietary and confidential information
and its employee and customer relationships.

        I specifically direct the addressees to Representative Agreements at Paragraphs 4(B), 2(K) that respectively address
notice of termination, restrictive covenants (Agreement Not to Solicit) and return of data and confidentiality.

        Provision (4) (B) (Thirty Day Notice) reads as follows:

                 This Agreement may be terminated by either party at any time, without case, but only by,
                 giving thirty (30) days written notice to the other party.

        Provision (2) (J) (Agreement Not to Solicit) reads as follows:


                                                                2
                                                          Confidential                           Exhibit 004-000002
      Case 3:18-cv-00794-N            Document 3-1         Filed 03/30/18         Page 35 of 331         PageID 456
                The Representative “shall not directly or indirectly contact or solicit any customer or
                employee of FI or BOSC for a period of one (1) year after the termination of this Agreement
                for whatever reason (whether with or without cause)…

        Provisions (2)(K) and (2)(M) (Agreement to Return Data and Agreement regarding confidentiality)

                Shall immediately upon termination of this Agreement, deliver to BOSC all copies of all
                documents and electronic files concerning the business…

                During Representative's employment under this Agreement, BOSC shall make available to
                Representative and Representative will become acquainted with various. information
                relating to the BOSC's business operations, customers, products, marketing data, business
                plan, strategies, employees, contracts, financial records and accounts, projections and
                budgets, and similar information which are crucial to BOSC. Representative agrees that
                to the extent such information is not generally available to the public and gives BOSC an
                advantage over competitors who do not know of or use such information, such information
                and documents shall be deemed trade secrets of the BOSC. Representative further agrees
                that all such information and documents relating to the business of the BOSC, whether they
                are prepared by Representative or coming into Representative's possession in any other
                way, are owned by the BOSC and shall remain the exclusive property of the BOSC.
                Representative shall not misuse, misappropriate or disclose such trade secrets of BOSC,
                directly or indirectly, or use them for Representative's own benefit, either during the term
                of this Agreement or at any time thereafter, except as may be necessary or appropriate in
                the course of Representative's employment with the BOSC, unless such action is either
                previously agreed to in writing by the BOSC or required by law.

IV.     All addressees should immediately ensure, jointly and severally, that: (1) each addressee has conducted a diligent
search of all sources of BOKF data, including but not limited to, paper (hard copy), and electronic copies, including, but
not limited to, email accounts and contacts, social media, mobile phone cards, flash disks, disks, thumb drives, personal
computers, tablet computers, laptops and the like; (2) each addressee has complied with obligations to BOKF, and (3) each
addressee has no BOKF data in the addressee’s possession and or control. In the event that an addressee discovers that
BOKF data in any addressee’s possession or control, please contact me to arrange to preserve documents and eliminate your
possession and/or control of BOKF data.

V.      In addition, please immediately take affirmative efforts to preserve of all documents and tangible items related to
the individual recipients’ transitions from employment with BOKF and/or BOKF data (including, but not limited to, all
forms of electronic media regardless of ownership status (entity and/or personal ownership)).

        BOKF demands that: (i) each recipient of this letter cease and desist all activities as outlined above and (ii)
contact Erica Anne Dorwart at Frederic Dorwart Lawyers PLLC at 918‐583‐9960 and edorwart@fdlaw.com) no later
than noon (12:00) on Monday March 26, 2018 to discuss immediate remedies for this orchestrated raid on BOKF and
violation of duties of loyalty and agreements.

                                                        Sincerely,


                                                  Erica Anne Dorwart
                         Counsel to BOK Financial Securities, Inc., BOKF, NA, and their Affiliates


Enclosures


Erica Anne Dorwart, OBA 18367

                                                             3
                                                       Confidential                         Exhibit 004-000003
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               Frederic Dorwart, Lawyers PLLC
               124 East Fourth Street
               Tulsa, Oklahoma 74103
               edorwart@fdlaw.com
               918-583-9960 (Direct)
               918-583-9922 (Office)


               i
                   A single junior client advisor in Dallas, Texas was left at a different Branch.




                                                                                        4
                                                 Confidential                               Exhibit 004-000004
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                                                   FREDERIC DORWART
                                                        LAWYERS
                                                      OLD CITY HALL
                                                 124 EAST FOURTH STREET
                                               TULSA, OKLAHOMA 74103-5010
         ERICA ANNE DORWART                                                         OFFICE   (918) 583-9922
         DIRECT (918)583-9960                                                       FACSIMILE (918) 583-8251
         EMAIL edorwart@fdlaw.com

                                                      March 23, 2018


vwise008@gmail.com                               mjdelcid@yahoo.com
Wise, Vickie             Davis, Ronnie           Del-Cid, Melissa Morgenson
3318 Blackburn Street    Carroll (Skip)          350 Walnut Grove
Dallas, TX 75204         602 Bentley Court       Coppell, TX 75019
                         Roanoke, TX 76262



Hilltop Holdings, Inc.   National Lloyds         Hilltop Securities, Inc.     Hilltop Investment      Hilltop Advisors, LLC
200 Crescent Court,      Corporation             1201 Elm Street,             Advisors, Inc.          1211 MALONE ST
Suite 1330               510 N. Valley Mills     Suite 3500                   Julie Jacobs Dupress    HOUSTON, TX 77007-
Dallas, Texas 75201      Dr., Suite 202          Dallas, TX 75270             34 South Dahlia St.     3126
                         Waco, TX 76710                                       Denver, CO 802461045

Registered Agent         Registered Agent        Registered Agent             Registered Agent        Registered Agent
CHRISTINE A. BIALICK     CORPORATION             CAPITOL CORPORATE            Julie Jacobs Dupress    BRADLEY W. RAPP
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NEW BRAUNFELS, TX        D/B/A CSC-              206 E. 9TH STREET            Denver, CO 802461045    BOULEVARD
78130                    LAWYERS INCO            SUITE 1300                                           SUITE 1200
                         211 E. 7TH STREET       AUSTIN, TX 78701                                     HOUSTON, TX 77056
                         SUITE 620
                         AUSTIN, TX 78701

CORPORATION                                      CAPITOL SERVICES, INC.
SERVICE COMPANY                                  1675 S. State St., Ste. B
DBA CSC - LAWYERS                                Dover, DE 19901
INCO
211 E. 7TH STREET
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Hilltop National Bank    Plains Capital Bank
300 Country Club Road    2323 Victory Avenue,
Casper, WY 82609         Suite 1400
                         Dallas, TX 75219



        Re:
                  Hilltop Raid
                  Resignations in Concert on March 23, 2018
                  Vickie Sue Wise, CRD 1883523
                  Ronnie Carrol “Skip” David, CRD 5400246
                  Melissa Morgenson Del-Cid, CRD 2448005
                  Cease and Desist Demand
                  Reminder of Obligations




                                                                                                     Page 1 of 4


                                                        Confidential                         Exhibit 004-000005
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           Frederic Dorwart, Lawyers is general counsel to BOK Financial Corporation (“BOKF”)
   and its subsidiaries including BOKF NA dba Bank of Texas (BOKF NA) and BOK Financial
   Securities, Inc. (formerly BOSC, Inc. (“BOKFS”), all (collectively “BOKF”).               If counsel
   represents you, please immediately forward this letter to your counsel and request that your counsel
   contact me.

           The Hilltop entities in conjunction with the individual addressees of this letter planned,
   orchestrated, and implemented a raid on BOKF, over a holiday (Spring Break), boldly taking
   BOKF client advisors in Dallas, Texas, leaving not a single employee on the team. 1 The
   recipients of this letter began contacting BOKF clients, in violation of applicable law and
   obligations to BOKF, leaving some clients, at best confused and, at worst, with the
   misrepresentation that Hilltop had purchased Bank of Texas. Clients have already reported
   that “Our whole team there just left”.

            The purpose of this letter is to: (i) demand that all contact with BOKF clients cease and
   desist, generally and particularly due to the raid; (ii), that each recipient cease and desist all
   activities in violation of obligations to BOKF, (iii) to provide additional reminders regarding those
   obligations; (iv) to deal with confidential materials which may have been misappropriated by the
   recipients of this letter; and (v) to demand preservation of all documents and tangible items
   pertaining to these matters.

   I.      Due to the nature of the orchestrated raid over a holiday and conspiracies to violate
   obligations to BOKF by recipients of this letter, BOKF demands that the recipients each stop all
   contact with BOKF clients serviced by individual recipients of this letter and/or BOKF clients who
   became known to the individual recipient through BOKF.

   II.   BOKF demands that each recipient cease and cease all activities in violation of obligations
   to BOKF which are set out in Section III.

   III.    All individual addressees are aware of BOKF’s position with respect to its confidential
   information and the value BOKF places upon its employee and customer relationships. BOKF
   reminds all recipients of obligations pursuant common law, statute (particularly the Trade Secrets
   Act), and to the attached Representative agreement, incentive plan, and/or deferred compensation
   plan. Each employee was obligated to comply with applicable BOKF policies and procedures,
   including, but not limited to the Standards of Conduct to which each employee attested, as well
   as the agreement not to solicit. Each representative was required to safeguard BOKF Data for
   BOKF, including, but not limited to: work product, employee interview notes, project notes,
   customer information, and the like. This letter is a reminder to each recipient that BOKF strictly
   and aggressively enforces its rights with respect to proprietary and confidential information and its
   employee and customer relationships.

            I specifically direct the addressees to Representative Agreements at Paragraphs 4(B), 2(K)
   that respectively address notice of termination, restrictive covenants (Agreement Not to Solicit)
   and return of data and confidentiality.

            Provision (4) (B) (Thirty Day Notice) reads as follows:




   1
    A single junior client advisor in Dallas, Texas was left at a different Branch.
                                                                                              Page 2 of 4


                                                    Confidential                         Exhibit 004-000006
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                    This Agreement may be terminated by either party at any time,
                    without case, but only by, giving thirty (30) days written notice to
                    the other party.

           Provision (2) (J) (Agreement Not to Solicit) reads as follows:

                    The Representative “shall not directly or indirectly contact or
                    solicit any customer or employee of FI or BOSC for a period of
                    one (1) year after the termination of this Agreement for whatever
                    reason (whether with or without cause)…

           Provisions (2)(K) and (2)(M) (Agreement to Return Data and Agreement regarding
   confidentiality)

                    Shall immediately upon termination of this Agreement, deliver to
                    BOSC all copies of all documents and electronic files concerning
                    the business…

                    During Representative's employment under this Agreement,
                    BOSC shall make available to Representative and Representative
                    will become acquainted with various. information relating to the
                    BOSC's business operations, customers, products, marketing
                    data, business plan, strategies, employees, contracts, financial
                    records and accounts, projections and budgets, and similar
                    information which are crucial to BOSC. Representative agrees
                    that to the extent such information is not generally available to the
                    public and gives BOSC an advantage over competitors who do not
                    know of or use such information, such information and documents
                    shall be deemed trade secrets of the BOSC. Representative further
                    agrees that all such information and documents relating to the
                    business of the BOSC, whether they are prepared by
                    Representative or coming into Representative's possession in any
                    other way, are owned by the BOSC and shall remain the exclusive
                    property of the BOSC. Representative shall not misuse,
                    misappropriate or disclose such trade secrets of BOSC, directly
                    or indirectly, or use them for Representative's own benefit, either
                    during the term of this Agreement or at any time thereafter, except
                    as may be necessary or appropriate in the course of
                    Representative's employment with the BOSC, unless such action
                    is either previously agreed to in writing by the BOSC or required
                    by law.

   IV.     All addressees should immediately ensure, jointly and severally, that: (1) each addressee
   has conducted a diligent search of all sources of BOKF data, including but not limited to, paper
   (hard copy), and electronic copies, including, but not limited to, email accounts and contacts, social
   media, mobile phone cards, flash disks, disks, thumb drives, personal computers, tablet computers,
   laptops and the like; (2) each addressee has complied with obligations to BOKF, and (3) each
   addressee has no BOKF data in the addressee’s possession and or control. In the event that an
   addressee discovers that BOKF data in any addressee’s possession or control, please contact me to
   arrange to preserve documents and eliminate your possession and/or control of BOKF data.


                                                                                            Page 3 of 4


                                                Confidential                          Exhibit 004-000007
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   V.       In addition, please immediately take affirmative efforts to preserve of all documents and
   tangible items related to the individual recipients’ transitions from employment with BOKF and/or
   BOKF data (including, but not limited to, all forms of electronic media regardless of ownership
   status (entity and/or personal ownership)).

           BOKF demands that: (i) each recipient of this letter cease and desist all activities as
   outlined above and (ii) contact Erica Anne Dorwart at Frederic Dorwart Lawyers PLLC at 918-
   583-9960 and edorwart@fdlaw.com) no later than noon (12:00) on Monday March 26, 2018
   to discuss immediate remedies for this orchestrated raid on BOKF and violation of duties of
   loyalty and agreements.

                                               Sincerely,


                                         Erica Anne Dorwart
                Counsel to BOK Financial Securities, Inc., BOKF, NA, and their Affiliates


   Enclosures




                                                                                        Page 4 of 4


                                              Confidential                        Exhibit 004-000008
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                       WEALTH MANGEMENT
                          Client Advisor
                          2018 Schedule
  PAYMENT OF BENEFITS
  This Schedule is subject to the Incentive Compensation Master Incentive Plan and
  applicable Addendum which are incorporated by reference into this schedule.

  PARTICIPATION DESIGNATION
  The following employees are eligible to participate in the Plan:
     • Client Advisor (80672)

  AWARD DETERMINATION




                                                                                      1
                                        Confidential                  Exhibit 004-000009
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                                  Confidential                Exhibit 004-000010
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    ADDITIONAL PLAN PROVISIONS
    Employee agrees that, during employment and for a period of one (1) year following any
    termination of employment for any reason, Employee shall not, (whether as an officer,
    director, employee, partner, stockholder, creditor or agent, or representative of other
    persons or entities), (i) directly solicit the sales of goods, service or a combination of
    goods and services from established customers of BOK Financial or any of its affiliates
    or (ii) directly solicit employees of BOK Financial or any affiliates of BOK Financial to seek
    employment with any person or entity providing banking and/or financial services and/or
    other goods and services offered by BOK Financial and/or its affiliates except on behalf
    of BOK Financial and/or its affiliates.          The foregoing agreement not to solicit
    notwithstanding, to the extent that the employee has entered into an agreement with BOK
    Financial and/or an affiliate, and the agreement contains greater restrictive covenants in
    favor of BOK Financial and/or an affiliate, the greater restrictive covenant supersedes this
    provision.




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                                          Confidential                      Exhibit 004-000011
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            WEALTH MANAGEMENT DIVISION
                           BOKFS
              Securities Sales/Service Specialist
                        2018 Schedule
   PAYMENT OF BENEFITS
   This Schedule is subject to the Incentive Compensation Master Incentive Plan and applicable
   Addendum which are incorporated by reference into this schedule.

   PARTICIPATION DESIGNATION
   The following BOKFS employees are eligible to participate in the Plan as of their employment
   date:
      •    Securities Sales/Service Specialist - 20223
      •    Sr. Securities Sales/Service Specialist - 80332

   AWARD DETERMINATION




   ADDITIONAL PLAN PROVISIONS
   Employee agrees that, during employment and for a period of one (1) year following any
   termination of employment for any reason, Employee shall not, (whether as an officer, director,



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employee, partner, stockholder, creditor or agent, or representative of other persons or entities),
(i) directly solicit the sales of goods, service or a combination of goods and services from
established customers of BOK Financial or any of its affiliates or (ii) directly solicit employees
of BOK Financial or any affiliates of BOK Financial to seek employment with any person or
entity providing banking and/or financial services and/or other goods and services offered by
BOK Financial and/or its affiliates except on behalf of BOK Financial and/or its affiliates. The
foregoing agreement not to solicit notwithstanding, to the extent that the employee has entered
into an agreement with BOK Financial and/or an affiliate, and the agreement contains greater
restrictive covenants in favor of BOK Financial and/or an affiliate, the greater restrictive
covenant supersedes this provision.




                                                                                                      2

                                           Confidential                       Exhibit 004-000013
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                                             BOSC, INC.
                                     REPRESENTATIVE AGREEMENT

              This Agreement is made and entered into this      l_ day of A.,,r: /             , 1.o 1'4,y
      and     between    BOSC,     Inc.,    an    Oklahoma             Corporation      ("BOSC")      and
           Ro,.4 i c.     A
                         -:J Q: fil      ("Representative").

            In consideration of the mutual promises hereinafter made and other good and valuable
      consideration (the receipt and adequacy of which BOSC and Representative hereby
      acknowledge), BOSC and Representative agree as follows:

      1.      BOSC'S OBLIGATIONS. BOSC:

              A.       Hereby appoints Representative as its agent to be located in a branch office of
                   .      8,11 /c. "~ re it4lJ                                                   11
                                                                                     (hereinafter FI")
                       located at S 'i     S",     S~c,r\' c...,, , s ,;k 7<2°« (),,//•.r~          tx
                                                                                                     ?S2. V
                       ("Branch Office") to solicit purchases of s~curities and i~vestment{offered
                       through BOSC to depositors and customers of Fl and to the general public.

              B.     Shall exercise exclusive control over the Representat:•,e with respect to all
                   . aspects of securities transactions and related securities business through a
                     Series 24 licensed principal of BOSC who shall serve as the Branch Manager
                     ("Branch Manager;) of the Office of Supervisory Jurisd:ction through which all
                     securities activities shall take place.

              C.       BOSC shall employ Representative as a professional with compensation to be
                       paid to Representative pl!r:suant to separate agreement between BOSC and
                       Representative and in accordance with the policies and procedures then in
                       effect at BOSC.

      2.      THE REPRESENTATIVE 1S OBLIGATIONS. The Representative:

              A.       Shall provide to prospective purchasers a current prospectus or other offering
                       materials w hen required by the federal and/or state securities laws, shall explain
                       fully the terms of any security or investment offering for sale to a customer, shall
                       make no untrue or misleading statements or representa~ions, shall not omit any
                       material information or facts pertaining to any aspect of the transaction or sale,
                       and shall comply with all laws respecting offers and sa les of securities and
                       advising persons on such matters.

              B.      Shall (i) conduct business in accordance with the rules' 'a nd regulations of the
                     Securities and Exchange Commission (SEC), the National Assqciation of
                      Securities Dealers (NASO), any state agencies regul_ating Representative's
                    . activities, (ii) conduGt business in accordance with the policies and procedures
                     of BOSC and the best customs and procedures of the securities industry,
                      (iii) shall not conduct business or receive funds until fully licensed as required by
                     all such laws, rules and regulations, an~ {iv) shall accept such supervision a1_1d




                                                 Confidential                          Exhibit 004-000014
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                  control by his/her Branch Manager andofficers of BOSC as BOSC determines
                  is necessary or appropriate to fully and timely comply with all such laws,
                  regulations, ru Jes, customs and procedures. Without limiting the generality of the
                  foregoing, mall not, directly or indirectly, (i) engage in municipal securities
                  business with an issuer to whom the Representative has made a political
                  contribution within the previous two years (other than a contribution in an amount
                  less than $250 to an official of such issuer for whom0 the Representative is
                 entitled to vote) or {ii) make a political contribution to any issuer to whom the
                 -Representative is engaging or seeking to engage in the municipal securities
                 business.

           C.    Shall (i) mail any correspondence, make any communication or cause any
                 advertising to be made respecting investments or the investment business only
                 after said correspondence, communication or advertising is approved in
                 advance by BOSC and (ii) provide copies of all such correspondence,
                 communication and advertising to BOSC in accordance with all applicable
                 SEC, NASO and state agencies rules and regulations.

           D.    Shall accept payments from customers by check or money order only payable to
                 the underwriter, investment company or insurance company designated by
                 BOSC.

           E.    Shall indemnify BOSC and hold BOSC harmless from any and all loss, cost or
                 liability (including legal, accounting and expert fees and expenses) which result
                 from the Representative's negligence, violation, or other misconduct.

           F.    Shall not act in any manner whatsoever as an agent for any individual or entity
                 competitive in any respect with BOSC.

           G.     Shall (i) represent to all customers and prospective customers, whenever he/she
                  is soliciting purchases or interviewing customers or otherwise, that (a) he/she is
                . acting as a Representative of BOSC and (b) all orders for securities will be
                  placed through BOSC and (ii) conduct all business totally separate and distinct
                  from all other business conducted at the Fl.

         . H.    Shall conduct himself/herself and his/her affairs in a professional manner
                 consistent with the building of a quality reputation for himself/herself and BOSC
                 and in accordance with the best standards of the industry.

           I.     Recognizes that (i) he/she shall accept direction for BOSC securities activities
                · solely from BOSC in accordance with BOSC's policies and procedures, and (ii)
                  will neither seek nor accept direction regarding the conduct of .securities
                  business from any individual or group who is not a duly authorized BOSC
                  Branch Manager or BOSC officer.

           J.   . Shall not (i) directly solicit any established customer of BOSC for a period of
                 one (1) year after the termination of this Agreement (for whatever reason,

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                                          Confidential                           Exhibit 004-000015
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                                                                        (_)


                  whether with or without cause) or (ii) solicit any employee of BOSC to accept
                  employment with any entity for a period of one (1) year after termination of this
                  Agreement (forwhateverreason, whetherwith orwithoutcause). This promise
                  by Representative may be enforced by temporary, preliminary and permanent
                  injunctive relief without the necessity of establishing irreparable injury and
                  without the posting of any bond, in addition to any other.remedies the law may
                  provide. Without limiting the generality of the provisions of this paragraph, the
                  phrase "directly solicit any established customer of BOSC" includes (i) making
                  or participating in any mail ore·-mail communication to such customer which is
                  not part of a mass mailing to a public of which established customers of BOSC
                  are an insignificant part the purpose of which was not to communicate with
                  established customers of BOSC and (ii) having or participating in any meeting
                  with or making or participating in telephone call to such customer unless such
                  customer was an established social friend of the Representative and the
                  purpose of the telephone call was strictly social.

           K.      Shall, immediately upon termination of th is Agreement, deliver to BOSC all
                   copies of all documents and electronic files concerning the business (including
                   training, licensure, commission, and production information) of BOSC and/or Fl
                   and/or customers of BOSC and/or Fl including all electronic files and documents
                   (whether prepared by BOSC and/or Fl or the Representative and whether
                 . prepared before or after the start of this Agreement) containing any information
                   respecting the identities of the customers of BOSC and/or Fl or their addresses
                   or telephone numbers, or the nature or amounts of their investments, assets or
                   liabilities, or their investment needs or strategies. Without limiting the generality
                   of the provisions of this Paragraph, as used in this Paragraph the words
                   "documents and electronic files concerning the business of BOSC" includes all
                   documents identified in the BOSC Quarterly Certification, diaries, handwritten
                   notes, address books, calendars, and other documents (written or electronic
                   and whether or not Representative regards such documents as his/her personal
                   documents) which contain any of the information described in the Paragraph
                   whether prepared by Representative or BOSC.

           L      Shall completely perform all duties (including the duty of loyalty) owed by
                  Representative to his prior employer until such· time as such duties shall have
                  terminated, return to his employer all copies and electronic files of his prior
                  employer (of the kind described in the preceding paragraph relating to the
                  business of his prior employer, and comply with all lawful agreements limiting
                  the Representative's right to engage in the securities business.

           :M.   During Representative's employment under this Agreement, BOSC shall make
                 available to Representative and Representative will become acquainted with
                 various. information relating to the BOSC's business operations, customers,
                 products, marketing data, business plans, strategies, employees, contracts,
                 financial records and accounts, projections and budgets, and similar information
                 which are crucial to BOSC. Representative agrees that to the extent such
                 information is not generally available to the public and gives BOSC an

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                                            Confidential                            Exhibit 004-000016
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                advantage over competitors who do not know of or use such information, such
                information and documents shall be deemed trade secrets of the BOSC.
                Representative further agrees that all such information and documents relating
                to th~ business of the BOSC, whether they are prepared by Representative or
                coming into Representative 's possession in any other way, are owned by the
                BOSC and shall remain the exclusive property of the BOSC. Representative
                shall not misuse, misappropriate or disclose such trade secrets of BOSC,
                directly or indirectly, or use them for Representative 's own benefit, either during
                the term of this Agreement or at any time thereafter, except as may be
                necessary or appropriate in the course of Representative's employmentwith the
                BOSC, unless such action is either previously agreed to in writing by the BOSC
                or required by law.                                              ·

      3.   LIMITED OF AUTHORITY AND REPRESENTATIVE'S REPRESENTATION.

           A.   The Representative is a limited agent of BOSC only and has no authority to bind
                BOSC in any way except to communicate to customers materials supplied by
                BOSC and to accept transactions in securities offered through BOSC.

           B.   The Representative hereby represents that he/she has delivered to BOSC true
                copies of all agreements by which Representative may be bound which purport
                to limit the ability of Representative to engage in the securities business.

      4.   TERMINATION OF AGREEMENT.

           A.   The      effective       date     of     this     Agreement        shall       be
                   Aerif 1,      1..o 1"\..               This Agreement shall automatically
                renew on th~ April 15 next following and on each April 15 thereafter for one year
                periods unless this Agreement is terminated as hereafter provided.

           B.   This Agreement may be terminated by either party at any time, without cause, by
                but only by, giving thirty (30) days written notice to the other party.

           C.   This Agreement shall automatically terminate (i) upon cancellation of
                Representative's coverage by his/her surety company or (ii) upon cancellation or
                non-renewal of any required license.

           D.   This Agreement may be terminated by BOSC at any time without notice for a
                breach of this Agreement by the Representative.

           E.   The death of the Representative shall automatically terminate th is Agreement on
                the date of death.

           F.   · Upon termination, the Representative shall cease using the name BOSC, shall
                  no longer hold himself/herself out as a Representative and shall return all
                  materials bearing the BOSC name to BOSC and as otherwise provided herein


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      5.   MISCELLANEOUS PROVISIONS. The following miscellaneous provisions shall
           apply to this Agreement:

           A.   All notices or advices required or permitted to be given by or pursuant to this
                Agreement, shall be given in writing. All such notices and advices shall be
                (i) delivered personally, (ii) delivered by facsimile or delivered by U.S.
                Registered or Certified Mail, Return Receipt Requested mail, or (iii) delivered
                for overnight delivery by a nationally recognized overnight courier service. Such
                notices and advices shall be deemed to have been given (i) the first business
                day following the date of delivery if delivered personally or by facsimile, (ii) on
                the third business day following the date of mailing if mailed by U.S. Registered
                or Certified Mail, Return Receipt Requested, or (iii) on the date of receipt if
                delivered for overnight delivery by a nationally recognized overnight courier
                service. All such notices and advices and all other communications related to
                this Agreement shall be given as follows:

                       lf to BOSC:
                                        Scott Grauer
                                        BOSC, Inc.
                                        Williams Tower, Ninth Floor
                                        Tulsa, Oklahoma 74103
                                        918-595-3165- Tel
                                        918-588-6510 - Fax

                If to Representative:




                orto such other address as the party may have furnished to the other parties in
                accordance herewith, except that notice of change of addresses shall be
                effective only upon receipt.

           B.   This Agreement shall be deemed made and executed in Tulsa County.
                Oklahoma.

           C.   This Agreement shall be subject to, and interpreted by and in accordance with,
                the laws (excluding conflict of law provisions) of the State of Oklahoma.

           D.   This Agreement is the entire Agreement of the parties respecting the subject
                matter hereof. There are no other agreements, representations or warranties,
                whether oral or written, respecting the subject matter hereof.




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           E.   No course of prior dealings involving any of the parties hereto and no usage of
                trade shall be relevant or advisable to interpret, supplement, explain or vary any
                of the terms of this Agreement, as expressly provided herein.

           F.    This Agreement, and all the provisions of this Agreement, shall be deemed
                 drafted by all of the parties hereto. This Agreement shall not be interpreted
                 strictly for or against any party, but solely in accordance with the fair meaning of
                ·the provisions hereof to effectuate the purposes and interest of this Agreement.

           G.   Each party hereto has entered into this Agreement based solely upon the
                agreements, representations and warranties expressly set forth herein and upon
                his own knowledge and investigation.

           H.   Each of the persons signing below on behalf of a party hereto represents and
                warrants that he or she has full requisite power and authority to execute and
                deliver this Agreement on behalf of the party for whom he or she is signing and
                to bind such party to the terms and conditions of this Agreement.

           I.   This Agreement may be executed in counterparts, each of which shall be
                deemed an original. This Agreement shall become effective only when all of the
                parties hereto shall have executed the original or counterpart hereof. This
                agreement may be executed and delivered by a facsimile transmission of a
                counterpart hereof.

           J.   In any action brought by a party hereto to enforce the obligations of any other
                party hereto, the prevailing party shall be entitled to collect from the opposing
                parties to such action such party's reasonable attorneys fees and costs
                (including court costs, reasonable fees of accountants and experts, and other
                expenses incidental to the action).

           K.   This Agreement shall be binding upon and shall inure to the benefit of the
                parties and their respective successors and assigns. This is not a third party
                beneficiary contract. No person or entity other than a party hereto shall have any
                rights under this Agreement. This Agreement may be amended or modified only
                in a writing which specifically references this Agreement.




                                               "Representative" (< • • ,- : ~   a ...,•.J ~


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                                          Confidential                           Exhibit 004-000019
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                                  Confidential                Exhibit 004-000020
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                                  Confidential                Exhibit 004-000021
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                                  Confidential                Exhibit 004-000022
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                                  Confidential                Exhibit 004-000023
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                                  Confidential                Exhibit 004-000024
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                                  Confidential                Exhibit 004-000025
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                                  Confidential                Exhibit 004-000026
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                                  Confidential                Exhibit 004-000027
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Caywood, Candace

From:                                      Tripp, Tonya
Sent:                                      Tuesday, March 27, 2018 3:57 PM
To:                                        Caywood, Candace
Subject:                                   FW: FedEx Shipment 771825851618 Delivered




Tonya Tripp
Legal Assistant
FREDERIC DORWART, LAWYERS PLLC
124 East Fourth Street
Old City Hall
Tulsa, OK 74103-5010
(918)583-9922 (telephone)
(918)583-8251 (facsimile)

FREDERIC DORWART
                LAWYERS PLLC


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From: TrackingUpdates@fedex.com [mailto:TrackingUpdates@fedex.com]
Sent: Monday, March 26, 2018 10:05 AM
To: Tripp, Tonya <ttripp@fdlaw.com>
Subject: FedEx Shipment 771825851618 Delivered




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        Your package has been delivered
        Tracking # 771825851618

         Ship date:                                                                          Delivery date:
         Fri, 3/23/2018                                                                      Mon, 3/26/2018 10:03
         Tonya Tripp                                                                         am
         Frederic Dorwart Lawyers                                                            Vickie Sue Wise
         TULSA, OK 74103                                         Delivered                   3318 Blackburn Street
         US                                                                                  DALLAS, TX 75204
                                                                                             US



        Shipment Facts
        Our records indicate that the following package has been delivered.

          Tracking number:                          771825851618

          Status:                                   Delivered: 03/26/2018 10:03
                                                    AM Signed for By: Signature
                                                    not required

          Reference:                                0977. Hilltop

          Signed for by:                            Signature not required

          Delivery location:                        DALLAS, TX

          Delivered to:                             Residence

          Service type:                             FedEx Priority Overnight

          Packaging type:                           FedEx Envelope

          Number of pieces:                         1

          Weight:                                   0.50 lb.

          Special handling/Services:                Deliver Weekday

                                                    Residential Delivery

          Standard transit:                         3/26/2018 by 10:30 am



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Case 3:18-cv-00794-N                Document 3-1   Filed 03/30/18   Page 62 of 331   PageID 483
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                                               Confidential                Exhibit 004-000030
      Case 3:18-cv-00794-N                   Document 3-1              Filed 03/30/18             Page 63 of 331              PageID 484
Caywood, Candace

From:                                      Tripp, Tonya
Sent:                                      Tuesday, March 27, 2018 3:58 PM
To:                                        Caywood, Candace
Subject:                                   FW: FedEx Shipment 771825871388 Delivered




Tonya Tripp
Legal Assistant
FREDERIC DORWART, LAWYERS PLLC
124 East Fourth Street
Old City Hall
Tulsa, OK 74103-5010
(918)583-9922 (telephone)
(918)583-8251 (facsimile)

FREDERIC DORWART
                LAWYERS PLLC


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From: TrackingUpdates@fedex.com [mailto:TrackingUpdates@fedex.com]
Sent: Monday, March 26, 2018 9:50 AM
To: Tripp, Tonya <ttripp@fdlaw.com>
Subject: FedEx Shipment 771825871388 Delivered




                                                                           1

                                                                 Confidential                                  Exhibit 004-000031
Case 3:18-cv-00794-N                Document 3-1                 Filed 03/30/18              Page 64 of 331                PageID 485


        Your package has been delivered
        Tracking # 771825871388

         Ship date:                                                                          Delivery date:
         Fri, 3/23/2018                                                                      Mon, 3/26/2018 9:45
         Tonya Tripp                                                                         am
         Frederic Dorwart Lawyers                                                            Melissa Morgenson Del-Cid
         TULSA, OK 74103                                         Delivered                   350 Walnut Grove
         US                                                                                  COPPELL, TX 75019
                                                                                             US



        Shipment Facts
        Our records indicate that the following package has been delivered.

          Tracking number:                          771825871388

          Status:                                   Delivered: 03/26/2018 09:45
                                                    AM Signed for By: Signature
                                                    not required

          Reference:                                0977. Hilltop

          Signed for by:                            Signature not required

          Delivery location:                        COPPELL, TX

          Delivered to:                             Residence

          Service type:                             FedEx Priority Overnight

          Packaging type:                           FedEx Envelope

          Number of pieces:                         1

          Weight:                                   0.50 lb.

          Special handling/Services:                Deliver Weekday

                                                    Residential Delivery

          Standard transit:                         3/26/2018 by 10:30 am



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                                               Confidential                Exhibit 004-000033
      Case 3:18-cv-00794-N                   Document 3-1              Filed 03/30/18             Page 66 of 331              PageID 487
Caywood, Candace

From:                                      Tripp, Tonya
Sent:                                      Tuesday, March 27, 2018 3:57 PM
To:                                        Caywood, Candace
Subject:                                   FW: FedEx Shipment 771825831914 Delivered




Tonya Tripp
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Sent: Monday, March 26, 2018 10:00 AM
To: Tripp, Tonya <ttripp@fdlaw.com>
Subject: FedEx Shipment 771825831914 Delivered




                                                                           1

                                                                 Confidential                                  Exhibit 004-000034
Case 3:18-cv-00794-N                Document 3-1                 Filed 03/30/18              Page 67 of 331                PageID 488


        Your package has been delivered
        Tracking # 771825831914

         Ship date:                                                                          Delivery date:
         Fri, 3/23/2018                                                                      Mon, 3/26/2018 9:58
         Tonya Tripp                                                                         am
         Frederic Dorwart Lawyers                                                            Ronnie Carroll Davis
         TULSA, OK 74103                                         Delivered                   602 Bentley Court
         US                                                                                  ROANOKE, TX 76262
                                                                                             US



        Shipment Facts
        Our records indicate that the following package has been delivered.

          Tracking number:                          771825831914

          Status:                                   Delivered: 03/26/2018 09:58
                                                    AM Signed for By: Signature
                                                    not required

          Reference:                                0977. Hilltop

          Signed for by:                            Signature not required

          Delivery location:                        ROANOKE, TX

          Delivered to:                             Residence

          Service type:                             FedEx Priority Overnight

          Packaging type:                           FedEx Envelope

          Number of pieces:                         1

          Weight:                                   0.50 lb.

          Special handling/Services:                Deliver Weekday

                                                    Residential Delivery

          Standard transit:                         3/26/2018 by 10:30 am



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      Case 3:18-cv-00794-N                   Document 3-1              Filed 03/30/18             Page 69 of 331              PageID 490
Caywood, Candace

From:                                      Tripp, Tonya
Sent:                                      Tuesday, March 27, 2018 3:58 PM
To:                                        Caywood, Candace
Subject:                                   FW: FedEx Shipment 771826271149 Delivered




Tonya Tripp
Legal Assistant
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Old City Hall
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Sent: Monday, March 26, 2018 9:55 AM
To: Tripp, Tonya <ttripp@fdlaw.com>
Subject: FedEx Shipment 771826271149 Delivered




                                                                           1

                                                                 Confidential                                  Exhibit 004-000037
Case 3:18-cv-00794-N                 Document 3-1                Filed 03/30/18              Page 70 of 331                PageID 491


        Your package has been delivered
        Tracking # 771826271149

         Ship date:                                                                          Delivery date:
         Fri, 3/23/2018                                                                      Mon, 3/26/2018 9:51
         Tonya Tripp                                                                         am
         Frederic Dorwart Lawyers                                                            Attn: Investor Relations
         TULSA, OK 74103                                                                     Hilltop Holdings
         US                                                      Delivered                   200 Crescent Court, Suite 1330
                                                                                             DALLAS, TX 75201
                                                                                             US



        Shipment Facts
        Our records indicate that the following package has been delivered.

          Tracking number:                          771826271149

          Status:                                   Delivered: 03/26/2018 09:51
                                                    AM Signed for By:
                                                    L.GANNETT

          Reference:                                0977 Hilltop

          Signed for by:                            L.GANNETT

          Delivery location:                        DALLAS, TX

          Delivered to:                             Receptionist/Front Desk

          Service type:                             FedEx Priority Overnight

          Packaging type:                           FedEx Envelope

          Number of pieces:                         1

          Weight:                                   0.50 lb.

          Special handling/Services:                Deliver Weekday

          Standard transit:                         3/26/2018 by 10:30 am



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                                  Confidential                Exhibit 004-000039
      Case 3:18-cv-00794-N                   Document 3-1              Filed 03/30/18             Page 72 of 331              PageID 493
Caywood, Candace

From:                                      Tripp, Tonya
Sent:                                      Tuesday, March 27, 2018 3:57 PM
To:                                        Caywood, Candace
Subject:                                   FW: FedEx Shipment 771826260380 Delivered




Tonya Tripp
Legal Assistant
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124 East Fourth Street
Old City Hall
Tulsa, OK 74103-5010
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Sent: Monday, March 26, 2018 10:06 AM
To: Tripp, Tonya <ttripp@fdlaw.com>
Subject: FedEx Shipment 771826260380 Delivered




                                                                           1

                                                                 Confidential                                  Exhibit 004-000040
Case 3:18-cv-00794-N                 Document 3-1                Filed 03/30/18              Page 73 of 331                PageID 494


        Your package has been delivered
        Tracking # 771826260380

         Ship date:                                                                          Delivery date:
         Fri, 3/23/2018                                                                      Mon, 3/26/2018 9:59
         Tonya Tripp                                                                         am
         Frederic Dorwart Lawyers                                                            Christine A. Bialick
         TULSA, OK 74103                                                                     Hilltop Holdings
         US                                                      Delivered                   6700 IH 35 North
                                                                                             NEW BRAUNFELS, TX 78130
                                                                                             US



        Shipment Facts
        Our records indicate that the following package has been delivered.

          Tracking number:                          771826260380

          Status:                                   Delivered: 03/26/2018 09:59
                                                    AM Signed for By:
                                                    C.LOWEBELLOW

          Reference:                                0977 Hilltop

          Signed for by:                            C.LOWEBELLOW

          Delivery location:                        NEW BRAUNFELS, TX

          Delivered to:                             Receptionist/Front Desk

          Service type:                             FedEx Priority Overnight

          Packaging type:                           FedEx Envelope

          Number of pieces:                         1

          Weight:                                   0.50 lb.

          Special handling/Services:                Deliver Weekday

          Standard transit:                         3/26/2018 by 10:30 am



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                                  Confidential                Exhibit 004-000042
      Case 3:18-cv-00794-N                   Document 3-1              Filed 03/30/18             Page 75 of 331              PageID 496
Caywood, Candace

From:                                      Tripp, Tonya
Sent:                                      Tuesday, March 27, 2018 3:58 PM
To:                                        Caywood, Candace
Subject:                                   FW: FedEx Shipment 771826227841 Delivered




Tonya Tripp
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Old City Hall
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Sent: Monday, March 26, 2018 9:52 AM
To: Tripp, Tonya <ttripp@fdlaw.com>
Subject: FedEx Shipment 771826227841 Delivered




                                                                           1

                                                                 Confidential                                  Exhibit 004-000043
Case 3:18-cv-00794-N                 Document 3-1                Filed 03/30/18              Page 76 of 331                PageID 497


        Your package has been delivered
        Tracking # 771826227841

         Ship date:                                                                          Delivery date:
         Fri, 3/23/2018                                                                      Mon, 3/26/2018 9:48
         Tonya Tripp                                                                         am
         Frederic Dorwart Lawyers                                                            CORPORATION SERVICE
         TULSA, OK 74103                                                                     COMPANY DBA CSC
         US                                                      Delivered                   Hilltop Holdings
                                                                                             211 E. 7th Street, Suite 620
                                                                                             AUSTIN, TX 78701
                                                                                             US



        Shipment Facts
        Our records indicate that the following package has been delivered.

          Tracking number:                          771826227841

          Status:                                   Delivered: 03/26/2018 09:48
                                                    AM Signed for By: Signature
                                                    Release on file

          Reference:                                0977 Hilltop

          Signed for by:                            Signature Release on file

          Delivery location:                        AUSTIN, TX

          Service type:                             FedEx Priority Overnight

          Packaging type:                           FedEx Envelope

          Number of pieces:                         1

          Weight:                                   0.50 lb.

          Special handling/Services:                Deliver Weekday

          Standard transit:                         3/26/2018 by 10:30 am



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                                  Confidential                Exhibit 004-000045
      Case 3:18-cv-00794-N                   Document 3-1              Filed 03/30/18             Page 78 of 331              PageID 499
Caywood, Candace

From:                                      Tripp, Tonya
Sent:                                      Tuesday, March 27, 2018 3:58 PM
To:                                        Caywood, Candace
Subject:                                   FW: FedEx Shipment 771826290442 Delivered




Tonya Tripp
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Sent: Monday, March 26, 2018 9:52 AM
To: Tripp, Tonya <ttripp@fdlaw.com>
Subject: FedEx Shipment 771826290442 Delivered




                                                                           1

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Case 3:18-cv-00794-N                Document 3-1                 Filed 03/30/18              Page 79 of 331                PageID 500


        Your package has been delivered
        Tracking # 771826290442

         Ship date:                                                                          Delivery date:
         Fri, 3/23/2018                                                                      Mon, 3/26/2018 9:48
         Tonya Tripp                                                                         am
         Frederic Dorwart Lawyers                                                            Corporation Service
         TULSA, OK 74103                                                                     Company dba CSC
         US                                                                                  National Lloyds Corporation
                                                                 Delivered                   211 E. 7th Street
                                                                                             Suite 620
                                                                                             AUSTIN, TX 78701
                                                                                             US



        Shipment Facts
        Our records indicate that the following package has been delivered.

          Tracking number:                          771826290442

          Status:                                   Delivered: 03/26/2018 09:48
                                                    AM Signed for By: Signature
                                                    Release on file

          Reference:                                0977 Hilltop

          Signed for by:                            Signature Release on file

          Delivery location:                        AUSTIN, TX

          Service type:                             FedEx Priority Overnight

          Packaging type:                           FedEx Envelope

          Number of pieces:                         1

          Weight:                                   0.50 lb.

          Special handling/Services:                Deliver Weekday

          Standard transit:                         3/26/2018 by 10:30 am



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      Case 3:18-cv-00794-N                   Document 3-1              Filed 03/30/18             Page 81 of 331              PageID 502
Caywood, Candace

From:                                      Tripp, Tonya
Sent:                                      Tuesday, March 27, 2018 3:59 PM
To:                                        Caywood, Candace
Subject:                                   FW: FedEx Shipment 771826299542 Delivered




Tonya Tripp
Legal Assistant
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124 East Fourth Street
Old City Hall
Tulsa, OK 74103-5010
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Sent: Monday, March 26, 2018 9:32 AM
To: Tripp, Tonya <ttripp@fdlaw.com>
Subject: FedEx Shipment 771826299542 Delivered




                                                                           1

                                                                 Confidential                                  Exhibit 004-000049
Case 3:18-cv-00794-N                 Document 3-1                Filed 03/30/18              Page 82 of 331                PageID 503


        Your package has been delivered
        Tracking # 771826299542

         Ship date:                                                                          Delivery date:
         Fri, 3/23/2018                                                                      Mon, 3/26/2018 9:27
         Tonya Tripp                                                                         am
         Frederic Dorwart Lawyers                                                            National Lloyds Corporation
         TULSA, OK 74103                                                                     510 N. Valley Mills Drive
         US                                                      Delivered                   Suite 202
                                                                                             WACO, TX 76710
                                                                                             US



        Shipment Facts
        Our records indicate that the following package has been delivered.

          Tracking number:                          771826299542

          Status:                                   Delivered: 03/26/2018 09:27
                                                    AM Signed for By:
                                                    C.MCBURNETT

          Reference:                                0977 Hilltop

          Signed for by:                            C.MCBURNETT

          Delivery location:                        WACO, TX

          Delivered to:                             Receptionist/Front Desk

          Service type:                             FedEx Priority Overnight

          Packaging type:                           FedEx Envelope

          Number of pieces:                         1

          Weight:                                   0.50 lb.

          Special handling/Services:                Deliver Weekday

          Standard transit:                         3/26/2018 by 10:30 am



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                                  Confidential                Exhibit 004-000051
      Case 3:18-cv-00794-N                   Document 3-1              Filed 03/30/18             Page 84 of 331              PageID 505
Caywood, Candace

From:                                      Tripp, Tonya
Sent:                                      Tuesday, March 27, 2018 3:59 PM
To:                                        Caywood, Candace
Subject:                                   FW: FedEx Shipment 771826069577 Delivered




Tonya Tripp
Legal Assistant
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Sent: Monday, March 26, 2018 9:18 AM
To: Tripp, Tonya <ttripp@fdlaw.com>
Subject: FedEx Shipment 771826069577 Delivered




                                                                           1

                                                                 Confidential                                  Exhibit 004-000052
Case 3:18-cv-00794-N                 Document 3-1                Filed 03/30/18              Page 85 of 331                PageID 506


        Your package has been delivered
        Tracking # 771826069577

         Ship date:                                                                          Delivery date:
         Fri, 3/23/2018                                                                      Mon, 3/26/2018 9:09
         Tonya Tripp                                                                         am
         Frederic Dorwart Lawyers                                                            Hilltop Securities, Inc.
         TULSA, OK 74103                                         Delivered                   1201 Elm Street, Suite 3500
         US                                                                                  DALLAS, TX 75270
                                                                                             US



        Shipment Facts
        Our records indicate that the following package has been delivered.

          Tracking number:                          771826069577

          Status:                                   Delivered: 03/26/2018 09:09
                                                    AM Signed for By:
                                                    L.FLINAING

          Reference:                                0977 Hilltop

          Signed for by:                            L.FLINAING

          Delivery location:                        DALLAS, TX

          Delivered to:                             Mailroom

          Service type:                             FedEx Priority Overnight

          Packaging type:                           FedEx Envelope

          Number of pieces:                         1

          Weight:                                   0.50 lb.

          Special handling/Services:                Deliver Weekday

          Standard transit:                         3/26/2018 by 10:30 am



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                                  Confidential                Exhibit 004-000054
      Case 3:18-cv-00794-N                   Document 3-1              Filed 03/30/18             Page 87 of 331              PageID 508
Caywood, Candace

From:                                      Tripp, Tonya
Sent:                                      Tuesday, March 27, 2018 3:58 PM
To:                                        Caywood, Candace
Subject:                                   FW: FedEx Shipment 771826057003 Delivered




Tonya Tripp
Legal Assistant
FREDERIC DORWART, LAWYERS PLLC
124 East Fourth Street
Old City Hall
Tulsa, OK 74103-5010
(918)583-9922 (telephone)
(918)583-8251 (facsimile)

FREDERIC DORWART
                LAWYERS PLLC


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From: TrackingUpdates@fedex.com [mailto:TrackingUpdates@fedex.com]
Sent: Monday, March 26, 2018 9:41 AM
To: Tripp, Tonya <ttripp@fdlaw.com>
Subject: FedEx Shipment 771826057003 Delivered




                                                                           1

                                                                 Confidential                                  Exhibit 004-000055
Case 3:18-cv-00794-N                Document 3-1                 Filed 03/30/18              Page 88 of 331                PageID 509


        Your package has been delivered
        Tracking # 771826057003

         Ship date:                                                                          Delivery date:
         Fri, 3/23/2018                                                                      Mon, 3/26/2018 9:37
         Tonya Tripp                                                                         am
         Frederic Dorwart Lawyers                                                            Capitol Corporate Services,
         TULSA, OK 74103                                                                     Inc.
         US                                                      Delivered                   Hilltop Securities, Inc.
                                                                                             206 E. 9th Street, Suite 1300
                                                                                             AUSTIN, TX 78701
                                                                                             US



        Shipment Facts
        Our records indicate that the following package has been delivered.

          Tracking number:                          771826057003

          Status:                                   Delivered: 03/26/2018 09:37
                                                    AM Signed for By:
                                                    S.KEMBLE

          Reference:                                0977 Hilltop

          Signed for by:                            S.KEMBLE

          Delivery location:                        AUSTIN, TX

          Delivered to:                             Receptionist/Front Desk

          Service type:                             FedEx Priority Overnight

          Packaging type:                           FedEx Envelope

          Number of pieces:                         1

          Weight:                                   0.50 lb.

          Special handling/Services:                Deliver Weekday

          Standard transit:                         3/26/2018 by 10:30 am



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                                               Confidential                Exhibit 004-000057
      Case 3:18-cv-00794-N                   Document 3-1              Filed 03/30/18             Page 90 of 331              PageID 511
Caywood, Candace

From:                                      Tripp, Tonya
Sent:                                      Tuesday, March 27, 2018 3:59 PM
To:                                        Caywood, Candace
Subject:                                   FW: FedEx Shipment 771826034848 Delivered




Tonya Tripp
Legal Assistant
FREDERIC DORWART, LAWYERS PLLC
124 East Fourth Street
Old City Hall
Tulsa, OK 74103-5010
(918)583-9922 (telephone)
(918)583-8251 (facsimile)

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From: TrackingUpdates@fedex.com [mailto:TrackingUpdates@fedex.com]
Sent: Monday, March 26, 2018 9:03 AM
To: Tripp, Tonya <ttripp@fdlaw.com>
Subject: FedEx Shipment 771826034848 Delivered




                                                                           1

                                                                 Confidential                                  Exhibit 004-000058
Case 3:18-cv-00794-N                 Document 3-1                Filed 03/30/18              Page 91 of 331                PageID 512


        Your package has been delivered
        Tracking # 771826034848

         Ship date:                                                                          Delivery date:
         Fri, 3/23/2018                                                                      Mon, 3/26/2018 9:58
         Tonya Tripp                                                                         am
         Frederic Dorwart Lawyers                                                            Capitol Services, Inc.
         TULSA, OK 74103                                                                     Hilltop Securities, Inc.
         US                                                      Delivered                   1675 S. State Street, Suite B
                                                                                             DOVER, DE 19901
                                                                                             US



        Shipment Facts
        Our records indicate that the following package has been delivered.

          Tracking number:                          771826034848

          Status:                                   Delivered: 03/26/2018 09:58
                                                    AM Signed for By: J.DAVIS

          Reference:                                0977 Hilltop

          Signed for by:                            J.DAVIS

          Delivery location:                        DOVER, DE

          Delivered to:                             Receptionist/Front Desk

          Service type:                             FedEx Priority Overnight

          Packaging type:                           FedEx Envelope

          Number of pieces:                         1

          Weight:                                   0.50 lb.

          Special handling/Services:                Deliver Weekday

          Standard transit:                         3/26/2018 by 12:00 pm



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                                  Confidential                Exhibit 004-000060
      Case 3:18-cv-00794-N                   Document 3-1              Filed 03/30/18             Page 93 of 331              PageID 514
Caywood, Candace

From:                                      Tripp, Tonya
Sent:                                      Tuesday, March 27, 2018 3:57 PM
To:                                        Caywood, Candace
Subject:                                   FW: FedEx Shipment 771826189674 Delivered




Tonya Tripp
Legal Assistant
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124 East Fourth Street
Old City Hall
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Sent: Monday, March 26, 2018 10:00 AM
To: Tripp, Tonya <ttripp@fdlaw.com>
Subject: FedEx Shipment 771826189674 Delivered




                                                                           1

                                                                 Confidential                                  Exhibit 004-000061
Case 3:18-cv-00794-N                 Document 3-1                Filed 03/30/18              Page 94 of 331                PageID 515


        Your package has been delivered
        Tracking # 771826189674

         Ship date:                                                                          Delivery date:
         Fri, 3/23/2018                                                                      Mon, 3/26/2018 9:56
         Tonya Tripp                                                                         am
         Frederic Dorwart Lawyers                                                            Plains Capital Bank
         TULSA, OK 74103                                                                     2323 Victory Avenue, Suite
         US                                                      Delivered                   1400
                                                                                             DALLAS, TX 75219
                                                                                             US



        Shipment Facts
        Our records indicate that the following package has been delivered.

          Tracking number:                          771826189674

          Status:                                   Delivered: 03/26/2018 09:56
                                                    AM Signed for By: K.VILCHIS

          Reference:                                0977 Hilltop

          Signed for by:                            K.VILCHIS

          Delivery location:                        Dallas, TX

          Delivered to:                             Receptionist/Front Desk

          Service type:                             FedEx Priority Overnight

          Packaging type:                           FedEx Envelope

          Number of pieces:                         1

          Weight:                                   0.50 lb.

          Special handling/Services:                Deliver Weekday

          Standard transit:                         3/26/2018 by 10:30 am



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Case 3:18-cv-00794-N   Document 3-1   Filed 03/30/18   Page 95 of 331   PageID 516




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                                  Confidential                Exhibit 004-000063
      Case 3:18-cv-00794-N                   Document 3-1              Filed 03/30/18             Page 96 of 331              PageID 517
Caywood, Candace

From:                                      Tripp, Tonya
Sent:                                      Tuesday, March 27, 2018 3:57 PM
To:                                        Caywood, Candace
Subject:                                   FW: FedEx Shipment 771826091730 Delivered




Tonya Tripp
Legal Assistant
FREDERIC DORWART, LAWYERS PLLC
124 East Fourth Street
Old City Hall
Tulsa, OK 74103-5010
(918)583-9922 (telephone)
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From: TrackingUpdates@fedex.com [mailto:TrackingUpdates@fedex.com]
Sent: Monday, March 26, 2018 10:53 AM
To: Tripp, Tonya <ttripp@fdlaw.com>
Subject: FedEx Shipment 771826091730 Delivered




                                                                           1

                                                                 Confidential                                  Exhibit 004-000064
Case 3:18-cv-00794-N                Document 3-1                 Filed 03/30/18              Page 97 of 331                PageID 518


        Your package has been delivered
        Tracking # 771826091730

         Ship date:                                                                          Delivery date:
         Fri, 3/23/2018                                                                      Mon, 3/26/2018 9:51
         Tonya Tripp                                                                         am
         Frederic Dorwart Lawyers                                                            Julie Jacobs Dupress
         TULSA, OK 74103                                                                     Hilltop Investment Advisors, Inc.
         US                                                      Delivered                   34 South Dahlia Street
                                                                                             DENVER, CO 80246
                                                                                             US



        Shipment Facts
        Our records indicate that the following package has been delivered.

          Tracking number:                          771826091730

          Status:                                   Delivered: 03/26/2018 09:51
                                                    AM Signed for By: Signature
                                                    not required

          Reference:                                0977 Hilltop

          Signed for by:                            Signature not required

          Delivery location:                        Denver, CO

          Delivered to:                             Residence

          Service type:                             FedEx Priority Overnight

          Packaging type:                           FedEx Envelope

          Number of pieces:                         1

          Weight:                                   0.50 lb.

          Special handling/Services:                Deliver Weekday

                                                    Residential Delivery

          Standard transit:                         3/26/2018 by 10:30 am



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                                                     3
                                               Confidential                Exhibit 004-000066
      Case 3:18-cv-00794-N                   Document 3-1              Filed 03/30/18             Page 99 of 331              PageID 520
Caywood, Candace

From:                                      Tripp, Tonya
Sent:                                      Tuesday, March 27, 2018 3:58 PM
To:                                        Caywood, Candace
Subject:                                   FW: FedEx Shipment 771826110096 Delivered




Tonya Tripp
Legal Assistant
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124 East Fourth Street
Old City Hall
Tulsa, OK 74103-5010
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Sent: Monday, March 26, 2018 9:56 AM
To: Tripp, Tonya <ttripp@fdlaw.com>
Subject: FedEx Shipment 771826110096 Delivered




                                                                           1

                                                                 Confidential                                  Exhibit 004-000067
Case 3:18-cv-00794-N                 Document 3-1               Filed 03/30/18              Page 100 of 331                 PageID 521


        Your package has been delivered
        Tracking # 771826110096

         Ship date:                                                                          Delivery date:
         Fri, 3/23/2018                                                                      Mon, 3/26/2018 9:48
         Tonya Tripp                                                                         am
         Frederic Dorwart Lawyers                                                            Bradley W. Rapp
         TULSA, OK 74103                                                                     Hilltop Advisors, LLC
         US                                                      Delivered                   1980 Post Oak Boulevard, Suite
                                                                                             1200
                                                                                             HOUSTON, TX 77056
                                                                                             US



        Shipment Facts
        Our records indicate that the following package has been delivered.

          Tracking number:                          771826110096

          Status:                                   Delivered: 03/26/2018 09:48
                                                    AM Signed for By: K.KRUL

          Reference:                                0977 Hilltop

          Signed for by:                            K.KRUL

          Delivery location:                        HOUSTON, TX

          Delivered to:                             Receptionist/Front Desk

          Service type:                             FedEx Priority Overnight

          Packaging type:                           FedEx Envelope

          Number of pieces:                         1

          Weight:                                   0.50 lb.

          Special handling/Services:                Deliver Weekday

          Standard transit:                         3/26/2018 by 10:30 am



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                                        3
                                  Confidential                 Exhibit 004-000069
     Case 3:18-cv-00794-N                   Document 3-1              Filed 03/30/18             Page 102 of 331               PageID 523
Caywood, Candace

From:                                      Tripp, Tonya
Sent:                                      Tuesday, March 27, 2018 3:59 PM
To:                                        Caywood, Candace
Subject:                                   FW: FedEx Shipment 771826206854 Delivery Exception




Tonya Tripp
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124 East Fourth Street
Old City Hall
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(918)583-9922 (telephone)
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Sent: Monday, March 26, 2018 7:21 AM
To: Tripp, Tonya <ttripp@fdlaw.com>
Subject: FedEx Shipment 771826206854 Delivery Exception




                                                                           1

                                                                 Confidential                                  Exhibit 004-000070
Case 3:18-cv-00794-N          Document 3-1            Filed 03/30/18      Page 103 of 331         PageID 524


        We were unable to complete delivery of your
        package
        See "Resolving Delivery Issues" for recommended actions
        See "Preparing for Delivery" for helpful tips
        Tracking # 771826206854

        Ship date:                                                        Scheduled delivery:
        Fri, 3/23/2018                                                    Pending
        Tonya Tripp                                                       Hilltop Advisors, LLC
        Frederic Dorwart Lawyers                                          1211 Malone Street
        TULSA, OK 74103                          Delivery exception       DALLAS, TX 75219
        US                                                                US



        Shipment Facts
        FedEx attempted, but was unable to complete delivery of the
        following shipment:

         Tracking number:                  771826206854

         Status:                           Delivery exception

         Reference:                        0977 Hilltop

         Service type:                     FedEx Priority Overnight

         Packaging type:                   FedEx Envelope

         Number of pieces:                 1

         Weight:                           0.50 lb.

         Special handling/Services:        Deliver Weekday

         Standard transit:                 3/26/2018 by 10:30 am




         Resolving Delivery Issues
         The reason delivery was not completed is outlined below. Where
         applicable, resolution recommendations are also provided.




         Exception             Recommended Action
         Reason

                               Contact us to provide correct delivery
         1. Incorrect
                               address and/or additional delivery
         Address
                               information.


                                                          2

                                                 Confidential                       Exhibit 004-000071
Case 3:18-cv-00794-N                 Document 3-1               Filed 03/30/18             Page 104 of 331                 PageID 525
        Preparing for Delivery
        To help ensure successful delivery of your shipment, please review
        the below.


        Won't be in?
        You may be able to hold your delivery at a convenient FedEx World
        Service Center or FedEx Office location for pick up. Track your
        shipment to determine Hold at FedEx location availability.


        The new destination address for your shipment is displayed at the
        top of this message. For your records, the original destination
        address is provided below.
           Hilltop Advisors, LLC
           1211 Malone Street
           Houston, TX 75219 US



          Please do not respond to this message. This email was sent from an unattended mailbox. This report was generated at
      approximately 7:20 AM CDT on 03/26/2018.

      All weights are estimated.

      The shipment is scheduled for delivery on or before the scheduled delivery displayed above. FedEx does not determine money-
      back guarantee or delay claim requests based on the scheduled delivery. Please see the FedEx Service Guide for terms and
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Caywood, Candace

From:                                      Tripp, Tonya
Sent:                                      Tuesday, March 27, 2018 3:57 PM
To:                                        Caywood, Candace
Subject:                                   FW: FedEx Shipment 771826177041 Delivered




Tonya Tripp
Legal Assistant
FREDERIC DORWART, LAWYERS PLLC
124 East Fourth Street
Old City Hall
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From: TrackingUpdates@fedex.com [mailto:TrackingUpdates@fedex.com]
Sent: Monday, March 26, 2018 10:08 AM
To: Tripp, Tonya <ttripp@fdlaw.com>
Subject: FedEx Shipment 771826177041 Delivered




                                                                           1

                                                                 Confidential                                  Exhibit 004-000073
Case 3:18-cv-00794-N                 Document 3-1               Filed 03/30/18              Page 106 of 331                 PageID 527


        Your package has been delivered
        Tracking # 771826177041

         Ship date:                                                                          Delivery date:
         Fri, 3/23/2018                                                                      Mon, 3/26/2018 9:05
         Tonya Tripp                                                                         am
         Frederic Dorwart Lawyers                                                            Hilltop National Bank
         TULSA, OK 74103                                         Delivered                   300 Country Club Road
         US                                                                                  CASPER, WY 82609
                                                                                             US



        Shipment Facts
        Our records indicate that the following package has been delivered.

          Tracking number:                          771826177041

          Status:                                   Delivered: 03/26/2018 09:05
                                                    AM Signed for By:
                                                    N.OWALOWSKI

          Reference:                                0977 Hilltop

          Signed for by:                            N.OWALOWSKI

          Delivery location:                        CASPER, WY

          Delivered to:                             Receptionist/Front Desk

          Service type:                             FedEx Priority Overnight

          Packaging type:                           FedEx Envelope

          Number of pieces:                         1

          Weight:                                   0.50 lb.

          Special handling/Services:                Deliver Weekday

          Standard transit:                         3/26/2018 by 10:30 am



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      approximately 10:08 AM CDT on 03/26/2018.

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Case 3:18-cv-00794-N   Document 3-1   Filed 03/30/18   Page 107 of 331   PageID 528




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                                  Confidential                 Exhibit 004-000075
Case 3:18-cv-00794-N      Document 3-1      Filed 03/30/18      Page 108 of 331    PageID 529




                        WEALTH MANGEMENT
                           Client Advisor
                           2018 Schedule
   PAYMENT OF BENEFITS
   This Schedule is subject to the Incentive Compensation Master Incentive Plan and
   applicable Addendum which are incorporated by reference into this schedule.

   PARTICIPATION DESIGNATION
   The following employees are eligible to participate in the Plan:
      • Client Advisor (80672)

   AWARD DETERMINATION




                                                                                          1
                                         Confidential                 Exhibit 005&006-000001
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                                  Confidential            Exhibit 005&006-000002
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     ADDITIONAL PLAN PROVISIONS
     Employee agrees that, during employment and for a period of one (1) year following any
     termination of employment for any reason, Employee shall not, (whether as an officer,
     director, employee, partner, stockholder, creditor or agent, or representative of other
     persons or entities), (i) directly solicit the sales of goods, service or a combination of
     goods and services from established customers of BOK Financial or any of its affiliates
     or (ii) directly solicit employees of BOK Financial or any affiliates of BOK Financial to seek
     employment with any person or entity providing banking and/or financial services and/or
     other goods and services offered by BOK Financial and/or its affiliates except on behalf
     of BOK Financial and/or its affiliates.          The foregoing agreement not to solicit
     notwithstanding, to the extent that the employee has entered into an agreement with BOK
     Financial and/or an affiliate, and the agreement contains greater restrictive covenants in
     favor of BOK Financial and/or an affiliate, the greater restrictive covenant supersedes this
     provision.




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                                           Confidential               Exhibit 005&006-000003
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                        WEALTH MANGEMENT
                           Client Advisor
                           2018 Schedule
   PAYMENT OF BENEFITS
   This Schedule is subject to the Incentive Compensation Master Incentive Plan and
   applicable Addendum which are incorporated by reference into this schedule.

   PARTICIPATION DESIGNATION
   The following employees are eligible to participate in the Plan:
      • Client Advisor (80672)

   AWARD DETERMINATION




                                                                                        1
                                         Confidential                   Exhibit 006-000001
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                                  Confidential                 Exhibit 006-000002
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     ADDITIONAL PLAN PROVISIONS
     Employee agrees that, during employment and for a period of one (1) year following any
     termination of employment for any reason, Employee shall not, (whether as an officer,
     director, employee, partner, stockholder, creditor or agent, or representative of other
     persons or entities), (i) directly solicit the sales of goods, service or a combination of
     goods and services from established customers of BOK Financial or any of its affiliates
     or (ii) directly solicit employees of BOK Financial or any affiliates of BOK Financial to seek
     employment with any person or entity providing banking and/or financial services and/or
     other goods and services offered by BOK Financial and/or its affiliates except on behalf
     of BOK Financial and/or its affiliates.          The foregoing agreement not to solicit
     notwithstanding, to the extent that the employee has entered into an agreement with BOK
     Financial and/or an affiliate, and the agreement contains greater restrictive covenants in
     favor of BOK Financial and/or an affiliate, the greater restrictive covenant supersedes this
     provision.




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                                           Confidential                      Exhibit 006-000003
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            WEALTH MANAGEMENT DIVISION
                           BOKFS
              Securities Sales/Service Specialist
                        2018 Schedule
   PAYMENT OF BENEFITS
   This Schedule is subject to the Incentive Compensation Master Incentive Plan and applicable
   Addendum which are incorporated by reference into this schedule.

   PARTICIPATION DESIGNATION
   The following BOKFS employees are eligible to participate in the Plan as of their employment
   date:
      •    Securities Sales/Service Specialist - 20223
      •    Sr. Securities Sales/Service Specialist - 80332

   AWARD DETERMINATION




   ADDITIONAL PLAN PROVISIONS
   Employee agrees that, during employment and for a period of one (1) year following any
   termination of employment for any reason, Employee shall not, (whether as an officer, director,



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                                            Confidential                    Exhibit 007-000001
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 employee, partner, stockholder, creditor or agent, or representative of other persons or entities),
 (i) directly solicit the sales of goods, service or a combination of goods and services from
 established customers of BOK Financial or any of its affiliates or (ii) directly solicit employees
 of BOK Financial or any affiliates of BOK Financial to seek employment with any person or
 entity providing banking and/or financial services and/or other goods and services offered by
 BOK Financial and/or its affiliates except on behalf of BOK Financial and/or its affiliates. The
 foregoing agreement not to solicit notwithstanding, to the extent that the employee has entered
 into an agreement with BOK Financial and/or an affiliate, and the agreement contains greater
 restrictive covenants in favor of BOK Financial and/or an affiliate, the greater restrictive
 covenant supersedes this provision.




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                                            Confidential                       Exhibit 007-000002
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                                             BOSC, INC.
                                     REPRESENTATIVE AGREEMENT

              This Agreement is made and entered into this      l_ day of A.,,r: /             , 1.o 1'4,y
      and     between    BOSC,     Inc.,    an    Oklahoma             Corporation      ("BOSC")      and
           Ro,.4 i c.     A
                         -:J Q: fil      ("Representative").

            In consideration of the mutual promises hereinafter made and other good and valuable
      consideration (the receipt and adequacy of which BOSC and Representative hereby
      acknowledge), BOSC and Representative agree as follows:

      1.      BOSC'S OBLIGATIONS. BOSC:

              A.       Hereby appoints Representative as its agent to be located in a branch office of
                   .      8,11 /c. "~ re it4lJ                                                   11
                                                                                     (hereinafter FI")
                       located at S 'i     S",     S~c,r\' c...,, , s ,;k 7<2°« (),,//•.r~          tx
                                                                                                     ?S2. V
                       ("Branch Office") to solicit purchases of s~curities and i~vestment{offered
                       through BOSC to depositors and customers of Fl and to the general public.

              B.     Shall exercise exclusive control over the Representat:•,e with respect to all
                   . aspects of securities transactions and related securities business through a
                     Series 24 licensed principal of BOSC who shall serve as the Branch Manager
                     ("Branch Manager;) of the Office of Supervisory Jurisd:ction through which all
                     securities activities shall take place.

              C.       BOSC shall employ Representative as a professional with compensation to be
                       paid to Representative pl!r:suant to separate agreement between BOSC and
                       Representative and in accordance with the policies and procedures then in
                       effect at BOSC.

      2.      THE REPRESENTATIVE 1S OBLIGATIONS. The Representative:

              A.       Shall provide to prospective purchasers a current prospectus or other offering
                       materials w hen required by the federal and/or state securities laws, shall explain
                       fully the terms of any security or investment offering for sale to a customer, shall
                       make no untrue or misleading statements or representa~ions, shall not omit any
                       material information or facts pertaining to any aspect of the transaction or sale,
                       and shall comply with all laws respecting offers and sa les of securities and
                       advising persons on such matters.

              B.      Shall (i) conduct business in accordance with the rules' 'a nd regulations of the
                     Securities and Exchange Commission (SEC), the National Assqciation of
                      Securities Dealers (NASO), any state agencies regul_ating Representative's
                    . activities, (ii) conduGt business in accordance with the policies and procedures
                     of BOSC and the best customs and procedures of the securities industry,
                      (iii) shall not conduct business or receive funds until fully licensed as required by
                     all such laws, rules and regulations, an~ {iv) shall accept such supervision a1_1d




                                                 Confidential                          Exhibit 008-000001
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                   control by his/her Branch Manager andofficers of BOSC as BOSC determines
                   is necessary or appropriate to fully and timely comply with all such laws,
                   regulations, ru Jes, customs and procedures. Without limiting the generality of the
                   foregoing, mall not, directly or indirectly, (i) engage in municipal securities
                   business with an issuer to whom the Representative has made a political
                   contribution within the previous two years (other than a contribution in an amount
                   less than $250 to an official of such issuer for whom0 the Representative is
                  entitled to vote) or {ii) make a political contribution to any issuer to whom the
                  -Representative is engaging or seeking to engage in the municipal securities
                  business.

            C.    Shall (i) mail any correspondence, make any communication or cause any
                  advertising to be made respecting investments or the investment business only
                  after said correspondence, communication or advertising is approved in
                  advance by BOSC and (ii) provide copies of all such correspondence,
                  communication and advertising to BOSC in accordance with all applicable
                  SEC, NASO and state agencies rules and regulations.

            D.    Shall accept payments from customers by check or money order only payable to
                  the underwriter, investment company or insurance company designated by
                  BOSC.

            E.    Shall indemnify BOSC and hold BOSC harmless from any and all loss, cost or
                  liability (including legal, accounting and expert fees and expenses) which result
                  from the Representative's negligence, violation, or other misconduct.

            F.    Shall not act in any manner whatsoever as an agent for any individual or entity
                  competitive in any respect with BOSC.

            G.     Shall (i) represent to all customers and prospective customers, whenever he/she
                   is soliciting purchases or interviewing customers or otherwise, that (a) he/she is
                 . acting as a Representative of BOSC and (b) all orders for securities will be
                   placed through BOSC and (ii) conduct all business totally separate and distinct
                   from all other business conducted at the Fl.

          . H.    Shall conduct himself/herself and his/her affairs in a professional manner
                  consistent with the building of a quality reputation for himself/herself and BOSC
                  and in accordance with the best standards of the industry.

            I.     Recognizes that (i) he/she shall accept direction for BOSC securities activities
                 · solely from BOSC in accordance with BOSC's policies and procedures, and (ii)
                   will neither seek nor accept direction regarding the conduct of .securities
                   business from any individual or group who is not a duly authorized BOSC
                   Branch Manager or BOSC officer.

            J.   . Shall not (i) directly solicit any established customer of BOSC for a period of
                  one (1) year after the termination of this Agreement (for whatever reason,

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                                           Confidential                           Exhibit 008-000002
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                  whether with or without cause) or (ii) solicit any employee of BOSC to accept
                  employment with any entity for a period of one (1) year after termination of this
                  Agreement (forwhateverreason, whetherwith orwithoutcause). This promise
                  by Representative may be enforced by temporary, preliminary and permanent
                  injunctive relief without the necessity of establishing irreparable injury and
                  without the posting of any bond, in addition to any other.remedies the law may
                  provide. Without limiting the generality of the provisions of this paragraph, the
                  phrase "directly solicit any established customer of BOSC" includes (i) making
                  or participating in any mail ore·-mail communication to such customer which is
                  not part of a mass mailing to a public of which established customers of BOSC
                  are an insignificant part the purpose of which was not to communicate with
                  established customers of BOSC and (ii) having or participating in any meeting
                  with or making or participating in telephone call to such customer unless such
                  customer was an established social friend of the Representative and the
                  purpose of the telephone call was strictly social.

            K.     Shall, immediately upon termination of th is Agreement, deliver to BOSC all
                   copies of all documents and electronic files concerning the business (including
                   training, licensure, commission, and production information) of BOSC and/or Fl
                   and/or customers of BOSC and/or Fl including all electronic files and documents
                   (whether prepared by BOSC and/or Fl or the Representative and whether
                 . prepared before or after the start of this Agreement) containing any information
                   respecting the identities of the customers of BOSC and/or Fl or their addresses
                   or telephone numbers, or the nature or amounts of their investments, assets or
                   liabilities, or their investment needs or strategies. Without limiting the generality
                   of the provisions of this Paragraph, as used in this Paragraph the words
                   "documents and electronic files concerning the business of BOSC" includes all
                   documents identified in the BOSC Quarterly Certification, diaries, handwritten
                   notes, address books, calendars, and other documents (written or electronic
                   and whether or not Representative regards such documents as his/her personal
                   documents) which contain any of the information described in the Paragraph
                   whether prepared by Representative or BOSC.

           L      Shall completely perform all duties (including the duty of loyalty) owed by
                  Representative to his prior employer until such· time as such duties shall have
                  terminated, return to his employer all copies and electronic files of his prior
                  employer (of the kind described in the preceding paragraph relating to the
                  business of his prior employer, and comply with all lawful agreements limiting
                  the Representative's right to engage in the securities business.

           :M.   During Representative's employment under this Agreement, BOSC shall make
                 available to Representative and Representative will become acquainted with
                 various. information relating to the BOSC's business operations, customers,
                 products, marketing data, business plans, strategies, employees, contracts,
                 financial records and accounts, projections and budgets, and similar information
                 which are crucial to BOSC. Representative agrees that to the extent such
                 information is not generally available to the public and gives BOSC an

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                                            Confidential                            Exhibit 008-000003
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                 advantage over competitors who do not know of or use such information, such
                 information and documents shall be deemed trade secrets of the BOSC.
                 Representative further agrees that all such information and documents relating
                 to th~ business of the BOSC, whether they are prepared by Representative or
                 coming into Representative 's possession in any other way, are owned by the
                 BOSC and shall remain the exclusive property of the BOSC. Representative
                 shall not misuse, misappropriate or disclose such trade secrets of BOSC,
                 directly or indirectly, or use them for Representative 's own benefit, either during
                 the term of this Agreement or at any time thereafter, except as may be
                 necessary or appropriate in the course of Representative's employmentwith the
                 BOSC, unless such action is either previously agreed to in writing by the BOSC
                 or required by law.                                              ·

      3.    LIMITED OF AUTHORITY AND REPRESENTATIVE'S REPRESENTATION.

            A.   The Representative is a limited agent of BOSC only and has no authority to bind
                 BOSC in any way except to communicate to customers materials supplied by
                 BOSC and to accept transactions in securities offered through BOSC.

            B.   The Representative hereby represents that he/she has delivered to BOSC true
                 copies of all agreements by which Representative may be bound which purport
                 to limit the ability of Representative to engage in the securities business.

      4.    TERMINATION OF AGREEMENT.

            A.   The      effective       date     of     this     Agreement        shall       be
                    Aerif 1,      1..o 1"\..               This Agreement shall automatically
                 renew on th~ April 15 next following and on each April 15 thereafter for one year
                 periods unless this Agreement is terminated as hereafter provided.

            B.   This Agreement may be terminated by either party at any time, without cause, by
                 but only by, giving thirty (30) days written notice to the other party.

            C.   This Agreement shall automatically terminate (i) upon cancellation of
                 Representative's coverage by his/her surety company or (ii) upon cancellation or
                 non-renewal of any required license.

            D.   This Agreement may be terminated by BOSC at any time without notice for a
                 breach of this Agreement by the Representative.

            E.   The death of the Representative shall automatically terminate th is Agreement on
                 the date of death.

            F.   · Upon termination, the Representative shall cease using the name BOSC, shall
                   no longer hold himself/herself out as a Representative and shall return all
                   materials bearing the BOSC name to BOSC and as otherwise provided herein


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                                          Confidential                           Exhibit 008-000004
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       5.   MISCELLANEOUS PROVISIONS. The following miscellaneous provisions shall
            apply to this Agreement:

            A.   All notices or advices required or permitted to be given by or pursuant to this
                 Agreement, shall be given in writing. All such notices and advices shall be
                 (i) delivered personally, (ii) delivered by facsimile or delivered by U.S.
                 Registered or Certified Mail, Return Receipt Requested mail, or (iii) delivered
                 for overnight delivery by a nationally recognized overnight courier service. Such
                 notices and advices shall be deemed to have been given (i) the first business
                 day following the date of delivery if delivered personally or by facsimile, (ii) on
                 the third business day following the date of mailing if mailed by U.S. Registered
                 or Certified Mail, Return Receipt Requested, or (iii) on the date of receipt if
                 delivered for overnight delivery by a nationally recognized overnight courier
                 service. All such notices and advices and all other communications related to
                 this Agreement shall be given as follows:

                        lf to BOSC:
                                         Scott Grauer
                                         BOSC, Inc.
                                         Williams Tower, Ninth Floor
                                         Tulsa, Oklahoma 74103
                                         918-595-3165- Tel
                                         918-588-6510 - Fax

                 If to Representative:




                 orto such other address as the party may have furnished to the other parties in
                 accordance herewith, except that notice of change of addresses shall be
                 effective only upon receipt.

            B.   This Agreement shall be deemed made and executed in Tulsa County.
                 Oklahoma.

            C.   This Agreement shall be subject to, and interpreted by and in accordance with,
                 the laws (excluding conflict of law provisions) of the State of Oklahoma.

            D.   This Agreement is the entire Agreement of the parties respecting the subject
                 matter hereof. There are no other agreements, representations or warranties,
                 whether oral or written, respecting the subject matter hereof.




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                                            Confidential                         Exhibit 008-000005
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            E.   No course of prior dealings involving any of the parties hereto and no usage of
                 trade shall be relevant or advisable to interpret, supplement, explain or vary any
                 of the terms of this Agreement, as expressly provided herein.

            F.    This Agreement, and all the provisions of this Agreement, shall be deemed
                  drafted by all of the parties hereto. This Agreement shall not be interpreted
                  strictly for or against any party, but solely in accordance with the fair meaning of
                 ·the provisions hereof to effectuate the purposes and interest of this Agreement.

            G.   Each party hereto has entered into this Agreement based solely upon the
                 agreements, representations and warranties expressly set forth herein and upon
                 his own knowledge and investigation.

            H.   Each of the persons signing below on behalf of a party hereto represents and
                 warrants that he or she has full requisite power and authority to execute and
                 deliver this Agreement on behalf of the party for whom he or she is signing and
                 to bind such party to the terms and conditions of this Agreement.

            I.   This Agreement may be executed in counterparts, each of which shall be
                 deemed an original. This Agreement shall become effective only when all of the
                 parties hereto shall have executed the original or counterpart hereof. This
                 agreement may be executed and delivered by a facsimile transmission of a
                 counterpart hereof.

            J.   In any action brought by a party hereto to enforce the obligations of any other
                 party hereto, the prevailing party shall be entitled to collect from the opposing
                 parties to such action such party's reasonable attorneys fees and costs
                 (including court costs, reasonable fees of accountants and experts, and other
                 expenses incidental to the action).

            K.   This Agreement shall be binding upon and shall inure to the benefit of the
                 parties and their respective successors and assigns. This is not a third party
                 beneficiary contract. No person or entity other than a party hereto shall have any
                 rights under this Agreement. This Agreement may be amended or modified only
                 in a writing which specifically references this Agreement.




                                                "Representative" (< • • ,- : ~   a ...,•.J ~


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                                           Confidential                           Exhibit 008-000006
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                                  Confidential                 Exhibit 008-000007
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                                  Confidential                 Exhibit 008-000008
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                                                         BOSC, INC.
                                                                                                                             I
                                                 REPRESENTATIVE AGREEMENT

                            This Agreement is made and entered into this d-\"6\-- day of     S
                                                                                         \>J'\L , A)()~
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                                                                                                                             ;
                                                                                                                             l



                       _by and b8?-een BOSC, Inc., an Oklahoma Corporation ("BOSC") and
                       ~'f;a.:ln         ti\cr:C¥.60Y1("Representative").

                              In consideration of the mutual promises hereinafter made and other good and
                                                                                                                             I
                                                                                                                             f



                      . valuable consideration (the receipt and adequacy of which BOSC and Representative
                        hereby acknowledge), BOSC and Representative agree as follows:                                       I
                      . 1.   BOSC'S OBLIGATIONS. BOSC:
                                                                                                                             I
                             A.                ooints Representative as its agent t9. be located in a branch office
                                              .. ~ t5f" 6/c.LA--l,~            , I+-,
                                                                                                                             I
                                   of
                                   "Fl") located at    C\                             ·     t:.>O
                                                                                                       (hereinafter
                                                                                                                             I
                                   ("Branch Office") to solicit purcha s of securities and investments offered               I
                                   through BOSC to depositors and customers of Fl and to the general public.
                                                                                                                             I
                                                                                                                             i
                             B.    Shall exercise exclusive control over the Representative with respect to all              I
                                   aspects of securities transactions and related securities business through a
                                   Series .. 24 _licensed _principal _of BOSC__ who _shall __serve ... as . the _Branch.     I
                                   Manager ("Branch Manager'') of the Office of Supervisory Jurisdiction
                                   through which all securities activities shall take place.

                             C.    BOSC shall employ Representative as a professional with compensation to
                                   be paid to Representative pursuant to separate agreement between BOSC
                                   and Representative and in accordance with the policies and procedures then
                                   in eff~ct at BOSC.

                       2.    THE REPRESENTATIVE'S OBLIGATIONS. The Representative:

                             A.    Shall provide to prospective purchasers a cu rrent prospectus or other
                                   offering materials when required by the federal and/or state securities laws,
                                   shall explain fully the terms of any security or investment offering for sale to a
                                   customer, shall make no untrue or misleading statements or representations,
                                   shall not omit any material information or facts pertaining to any aspect of the
                                   transaction or sale, and shall comply with all laws respecting offers and sales
                                   of securities and advising persons on such matters.

                             8.    Shall (i) conduct business in accordance with the rules and regulations of the
                                   Securities and Exchange Commission (SEC), the National Association of
                                   Securities Dealers (NASO), any state agencies regulating Representative's
                                   activities, (ii) conduct business in accordance with the policies and
                                   procedures of BOSC and the best customs and procedures of the securities
                                   industry, (iii) shall not conduct business or receive funds until fully licensed
                                   as required by all such laws, rules and regulations, and (iv) shall accept such
                                   supervision and control by his/her Branch Manager and officers of BOSC as
                                   BOSC determines is necessary or appropriate to fully and timely comply with




                                                             Confidential                          Exhibit 009-000001
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                         all such laws, regulations, rules, customs and procedures. Without limiting
                         the generality of the foregoing, shall not, directly or indirectly, (i) engage in
                         municipal securities business with an issuer to whom the Representative has
                         made a political contribution within the previous two years (other than a
                         contribution in an amount less than $250 to an official of such issuer for
                         whom the Representative is entitled to vote) or (ii) make a political
                         contribution to any issuer to whom the Representative is engaging or seeking
                         to engage in the municipal securities business.

                   C.    Shall (i) mail any correspondence, make any communication or cause any
                         advertising to be made respecting investments or the investment business
                         only after said correspondence, communication or advertising !S approved in
                         advance by BOSC and (ii) provide copies of all such correspondence,
                         communication and advertising to BOSC in accordance with all applicable
                         SEC, NASO and state agencies rules and regulations.

                  D.     Shall accept payments from customers by check or money order only
                         payable to the underwriter, investment company or insurance company
                         designated by BOSC.

                  E.     Shall indemnify BOSC and hold BOSC harmless from any and all loss, cost
                         or liability (including legal, accounting and expert fees and expenses) which
                         result from the Representative's negligence, violation, or other misconduct.

                  F.     Shall not act in any manner whatsoever as an agent for any individual or
                         entity competitive in any respect with BOSC.

                  G.     Shall (i) represent to all customers and prospective customers, whenever
                         he/she is soliciting purchases or interviewing customers or otherwise, that
                         (a) he/she is acting as a Representative of BOSC and (b) all orders for
                         securities will be placed through BOSC and (ii) cond.uct all business totally
                         separate and distinct from all other business conducted at the Fl.

                  H.     Shall conduct himself/herself and his/her affairs in a professional manner
                         consistent with the building of a quality reputation for himself/herself and
                         BOSC and in accordance with the best standards of the industry.

                  I.     Recognizes that (i) he/she shall accept direction for BOSC securities
                         activities solely from BOSC in accordance with BOSC's policies and
                         procedures, and (ii) will neither seek nor accept direction regarding the
                         conduct of securities business from any individual or group who is not a duly
                         authorized BOSC Branch Manager or BOSC officer.

                  J.      Shall not (i) directly solicit any established customer of BOSC for a period of
                          one (1) year after the termination of this Agreement (tor whatever reason,
                          whether with or without cause) or (ii) solicit any employee of BOSC to accept
                          employment with any entity for a period of one (1) year after termination of
                        . this Agreement (for whatever reason, whether with or without cause). This
                          promise by Representative may be enforced by temporary, preliminary and
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                                                  Confidential                        Exhibit 009-000002
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 .......                                                                         \.... .. )
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                             permanent injunctive relief without the necessity of establishing irreparable
                             injury and without the posting of any bond, in addition to any other remedies
                             the law may provide. Without limiting the generality of the provisions of this
                            .paragraph, the phrase "directly solicit any established customer of BOSC"
                             includes (i) making or participating in any mail or e-mail communication to
                             such customer which is not part of a mass mailing to a public of which
                             established customers of BOSC are an insignificant part the purpose of
                             which was not to communicate with established customers of BOSC and (ii)
                             having or participating in any meeting with or making or participating in
                             telephone call to such customer unless such customer was an established
                             social friend of the Representative and the purpose of the telephone call was
                             strictly social.

                      K.    Shall, immediately upon termination of this Agreement, deliver to BOSC all
                            copies of all documents and electronic files concerning the business
                            (including training, licensure, commission, and production information) of
                            BOSC and/or Fl and/or customers of BOSC and/or Fl including all electronic
                            files and documents (whether prepared by BOSC and/or Fl or the
                            Representative and whether prepared before or after the start of this
                            Agreement) containing any information respecting the identities of the
                            customers of BOSC and/or Fl or their addresses or telephone numbers, or
                            the nature or amounts of their investments, assets or liabilities, or their
                            investment needs or strategies. Without limiting the generality of the
                            provisions of this Paragraph, as used in this Paragraph the words
                            "documents and electronic files concerning the business of BOSC" includes
                            all documents identified in the BOSC Quarterly Certification, diaries,
                            handwritten notes, address books, calendars, and other documents (written
                            or electronic and whether or not Representative regards such documents as
                            his/her personal documents)which contain any of the information described
                            in the Paragraph whether prepared by Representative or BOSC.

                      L.    Shall completely perform all duties (including the duty of loyalty) owed by
                            Representative to his prior employer until such time as such duties shall have
                            terminated, return to his employer all copies and electronic files of his prior
                            employer (of the kind described in the preceding paragraph relating to the
                            business of his prior employer, and comply with all lawful agreements limiting
                            the Representative's right to engage in the securities business.

                     · M.   During Representative's employment under this Agreement, BOSC shall
                            make available to Representative and Representative will become
                            acquainted with various information relating to the BOSC's business
                            operations, customers, products, marketing data, business plans, strategies,
                            employees, contracts, financial records and accounts, projections and
                            budgets, and similar information which are crucial to BOSC. Representative
                            agrees that to the extent such information is not generally available to the
                            public and gives BOSC an advantage over competitors who do not know of
                            or use such information, such information and documents shall be deemed
                            trade secrets of the BOSC. Representative further agrees that all such
                            information and documents relating to the business of the BOSC, whether
                                                          -3-


                                                     Confidential                             Exhibit 009-000003
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                          they are prepared by Represen~ative or coming into Representative's
                          possession in any other way, are owned by the BOSC and shall remain the
                          exclusive property of the BOSC. Representative shall not misuse,
                          misappropriate or disclose such trade secrets of BOSC, directly or indirectly,
                          or use them for Representative's own benefit, either during the term of this
                          Agreement or at any time thereafter, except as may be necessary or
                          appropriate in the course of Representative's employment with the BOSC,
                          unless such action is either previously agreed to in writing by the BOSC or
                          required by law.

               3.   LIMITED OF AUTHORITY AND REPRESENTATIVE'S REPRESENTATION.

                    A.    The Representative is a limited agent of BOSC only and has no authority to
                          bind BOSC in any way except to communicate to customers materials
                          supplied by BOSC and to accept transactions in securities offered through
                          BOSC.

                    B.    The Representative hereby represents that he/she has delivered to BOSC
                          true copies of all agreements by which Representative may be bound which
                          purport to limit the ability of Representative to engage in the securities
                          business.

               4.   TERMINATION OF AGREEMENT.

                    -A.   T,          effective   date      of     this_    Agreement        shall   . be
                           .j ,J.JN   ,,a-\, d::QOy              . This Agreement shall automat,cally
                          renew on the April 15 next following and on each April 15 thereafter for one
                          year periods unless this Agreement is terminated as hereafter provided.

                    B.    This Agreement may be terminated by either party at any time, without
                          cause, by but only by, giving thirty (30) days written notice to the other party.

                    C.    This Agreement shall automatically terminate (i) upon cancellation of
                          Representative's coverage by his/her surety company or (ii) upon
                          cancellation or non-renewal of any required license.

                    -D.   This Agreement may be terminated by BOSC at any time without notice for a
                          breach of this Agreement by the Representative.

                    E.    The death of the Representative shall automatically terminate this
                          Agreement on the date of death.

                    F.    Upon termination, the Representative shall cease using the name BOSC,
                          shall no longer hold himself/herself out as a Representative and shall return
                          all materials bearing the BOSC name to BOSC and as otherwise provided
                          herein

               5.   MISCELLANEOUS PROVISIONS. The following miscellaneous provisions shall
                    apply to this Agreement:
                                             -4-


                                                      Confidential                      Exhibit 009-000004
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                                  Confidential                 Exhibit 009-000005
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           ...



                       strictly for or against any party, but solely in accordance with the fair meaning
                       of the provisions hereof to effectuate the purposes and interest of this
                       Agreement.

                  G.   Each party hereto has entered into this Agreement based solely upon the
                       agreements, representations and warranties expressly set forth herein and
                       upon his own knowledge and investigation.

                 H.    Each of the persons signing below on behalf of a party hereto represents and
                       warrants that he or she has full requisite power and authority to execute and
                       c;feliver this Agreement on behalf of the party for whom he or she is signing
                       and to bind such party to the terms and conditions of this Agreement.

                 I.    This Agreement may be executed in counterparts, each of which shall be
                       deemed an original. This Agreement shall become effective only when all of
                       the parties hereto shall have executed the original or counterpart hereof.
                       This agreement may be executed and delivered by a facsimile transmission
                       of a counterpart hereof.

                 J.    In any action brought by a party hereto to enforce the obligations of any other
                       party hereto, the prevailing party shall be entitled to collectfrom the opposing
                       parties to such action such party's reasonable attorneys fees and costs
                       (including court costs, reasonable fees of accountants and experts, and other
                       expenses incidental to the action).

                 K.    This Agreement shall be binding upon and shall inure to the benefit of the
                       parties and their respective successors and assigns. This is not a third party
                       beneficiary contract. No person or entity other than a party hereto shall have
                       any rights under this Agreement. This Agreement may be amended or
                       modified only in a writing which specifically references this Agreement.




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                                                                                                               /

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                                     JOB DESCRIPTION

 FUNCTIONAL TITLE                                CODE:           GRADE:         FLSA:                          EFFECTIVE DATE:


 CLIENT ADVISOR                                  80672           ES3            EXEMPT                         DEC 2013
 REPORTS TO:                                     DIVISION:


 MARKET EXECUTIVE, THE PRIVATE                   WEALTH MANAGEMENT
 BANK/MANAGING DIRECTOR, CLIENT
 ADVISORS
 GROUP:                                          DEPARTMENT:


 WEALTH MANAGEMENT                               THE PRIVATE BANK

                                                 General purpose for this job (what is done and why)
 SUMMARY STATEMENT:


The Client Advisor is primarily responsible for developing, maintaining, and expanding
relationships with high net worth individuals and their associated entities in the firm through
comprehensive needs assessment and response. Actively networks both inside and outside the
firm for new client relationships, as well as maintaining and expanding current relationships
through exceptional client service. Meets with existing and prospective clients to profile, assess
financial service needs and propose solutions, often through the use of financial planning tools.
Provides advisory services for investment portfolios; recommending appropriate investment
strategies to achieve risk-adjusted client objectives. Provides performance reporting to client on
periodic basis or as established by the client. Keeps current on economic and market trends, as
well as compliance and regulatory issues.

                                                 Majority of duties performed, but not meant to be all-inclusive nor prevent other
 PRINCIPAL DUTIES AND RESPONSIBILITIES           duties from being assigned as necessary. Non-essential functions identified with an
                                                 asterisk '*'




 1.   Develops, maintains, and expands client relationships, often times in                                                20%
      conjunction with other advisors or specialists within the firm; identifies and
      targets external prospective clients; develops referral sources from within the
      bank and current client list.

 2.   Conducts client profiling process to determine goals, needs and investment                                           20%
      objectives. Builds financial models and makes recommendations on complex
      managed accounts to fulfill client objectives. Designs and constructs client
      investment portfolios to maximize risk-adjusted returns, in accordance with the
      Company’s defined asset allocation strategy. Utilizes the Company’s approved
      investment list to execute investment strategies within client portfolios. Reports
      account and/or relationship performance to client on a periodic basis or as
      established by the client.


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 CLIENT ADVISOR



  3.   Ensures that all required client documentation is complete and transactions are                                     20%
       processed correctly and timely, in accordance with regulatory standards and firm
       policies. Resolves client account and transaction issues; serves as contact person
       in order to provide information and resolve issues.

  4.   Maintains up-to-date familiarity with current securities markets and client needs                                   20%
       while providing all necessary disclosures, such as those pertaining to investment
       risks, fees, and FDIC insurance.

  5.   Conducts business within the guidelines established by regulatory agencies and                                      20%
       internal policies, including: attending sales meetings; completing firm-required
       training sessions and continuing education; maintaining appropriate securities
       licensing in good standing; complies with correspondence, marketing and sales
       activity rules; notifies supervisory principal immediately of any client complaint
       or regulatory inquiry.

                                                   Minimum education, experience, technical and communication skill levels and
  KNOWLEDGE, SKILLS and ABILITIES:                 licenses/certificates normally required to perform the duties of this position




 • Thorough knowledge of investment-related products and services
 • Thorough knowledge of tax, estate and financial planning principles and concepts
 • Excellent communication skills and ability to prepare and deliver persuasive oral
    presentations and written reports.
 • Ability to assess specific customer needs, recommend appropriate investment strategies, offer
   products to meet those needs, and compel customer to act upon those recommendations
 • Proficient PC skills including word processing and spreadsheet applications
 • Sales aptitude/self-motivated/goal oriented

 This level of knowledge is normally acquired through completion of a Bachelors Degree and 8-
 10 years in the securities industry or equivalent work related experience of 14-16 years.

 PREFERENCE:
 • Certified Financial Planner certification
 • Chartered Financial Analyst designation

                                                   Typical working conditions associated with this type of work and environmental
  WORKING CONDITIONS                               hazards, if any, that may be encountered in performing the duties of this position.




 Work is performed in climate controlled office environment, where exposure to conditions of
 extreme heat/cold, poor ventilation, fumes and gases is very limited. Noise level is moderate and
 includes sounds of normal office equipment (computers, telephones, etc.). No environmental
 hazards are encountered in normal performance of job duties. Work requires travel at least 50%
 of the time outside the normal bank office conditions to meet with clients. Work requires a
 flexible work schedule due to meetings with clients on their time schedule. Occasional overnight
 travel is also required; must have reliable transportation.

                                                                                                                                         2
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 CLIENT ADVISOR



                                                  The physical effort generally associated with this position.
  PHYSICAL DEMANDS


 Work involves standing and walking for brief period of time, but most duties are performed from
 seated position. Work may include occasional pushing, pulling, or carrying objects up to 20-
 pounds such as files, documents and computer print-outs. Work normally requires finger
 dexterity and eye-hand coordination to operate computer keyboard and 10-key. Work utilizes
 hearing and speech in order to converse clearly with clients.

                                                  Positions, other than supervisor and immediate co-workers, with which incumbent
  WORKING RELATIONSHIPS/CONTACTS                  have frequent contact and the reason for contact.




 Internal – Frequent contacts with Trust Administrators, Commercial Lenders and Branch
 employees; regular contact with Senior Bank management on referrals

 External – Frequent contact with clients and prospective clients; attorneys, accountants and
 centers of influence in order to gain financial and estate planning information

 Supervision of others – Shared supervision of administrative support assistant

                                                  Budget/asset amount managed, revenues/profits produced, and/or other financial
  FINANCIAL ACCOUNTABILITY/RISK                   resources incumbent is accountable for. Also indicates judgment/decision-making
                                                  level.




 This position is the primary source of generating new fee income for department; catalyst for
 cross-selling of banking and trust products; provides source of new clients for all bank services.




                                                                                                                                    3
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                                                             1234
                                                  JOB DESCRIPTION

  FUNCTIONAL TITLE                               CODE:            GRADE:              FLSA:                   EFFECTIVE

  SENIOR SECURITIES                               80332            14                 Non-                    NOV 2014
  SALES/SERVICE SPECIALIST                                                            Exempt
  REPORTS TO:                                    DIVISION:

  SALES MANAGER                                  CAPITAL MARKETS
  GROUP:                                         DEPARTMENT:

  SECURITIES SALES                               BOKFS
                                                     General purpose for this job (what is done and why).
  SUMMARY STATEMENT:

 The Senior Securities Sales/Service Specialist is primarily responsible for the direct supervision of both
 exempt and non-exempt personnel that are primarily responsible for the sales and support of investment
 products when primary sales person is unavailable. Also, provides support and service to customers;
 provides quotes on investment securities; responds to inquiries regarding securities transactions; resolves
 problems with applicable investment and deposit accounts; provides sales tracking, account assignment
 research, and sales performance measurements.

                                                      Majority of duties performed, but not meant to be all-inclusive nor prevent other duties from being
  PRINCIPAL DUTIES AND                                assigned as necessary. Non-essential functions identified with an asterisk '*'
  RESPONSIBILITIES

    1.     Performs supervisory functions of hiring, training, and performance evaluations;                                                         25%
           coordinates job rotation program to ensure that staff is fully interchangeable at all critical
           positions due to the significant financial sensitivity of the areas; oversees internal and
           external training programs. Provides assistance with special projects and other duties
           assigned by Sales Manager. Assists customers with inquiries and problem resolution by
           performing research on various systems (including but not limited to PROFITS, Pershing,
           NetXPro, Fi-Serve, as well as vendors’ online systems) regarding safekeeping billing,
           investment and deposit accounts. Forwards unresolved account problems to appropriate
           person; ensures the customer’s primary salesperson is aware of the actions taken and/or
           needed by maintaining close communication; maintains familiarity with the customer
           base of each salesperson in order to provide high quality customer service and to ensure
           optimum marketing potential; answers customer’s inquiries regarding investment
           products.

    2.     Uses appropriate information delivery systems (Knight-Ridder, Bloomberg, Pershing,                                                       25%
           DLJ, Morningstar, and others) to provide price quotes, comparisons, and execution of
           securities transactions when the primary sales person is unavailable; communicates with
           trading desk to obtain quotes for customer; processes and inputs sales tickets utilizing
           appropriate systems (including but not limited to Profits, Pershing, NetXPro, FiServ,
           etc.). Applies information in relation to (auctions, announcements, etc.) and in the
           prediction of market movement (fixed income and equity).

    3.     Supervises and trains sales support staff to accomplish departmental duties and                                                          20%
           responsibilities as defined herein.



    4.     Utilizes various systems to assist the sales manager with sales tracking, sales performance                                              15%
           measurements, account assignment and activity research, and the tracking of customer
           contacts with other areas of the bank.

    5.     Utilizes Fi-Serve system; looks up balances, daily entries, etc; makes transfers between                                                   5%
           customer accounts and takes information for customer wires, and general sales

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SENIOR, SECURITIES SALES AND SUPPORT SPECIALIST
Page 2


          information, etc.    Performs or assures appropriate cross-checking and audit of
          transactions.

     6.   Prepares customer presentations, which informs customers of current security market                                                5%
          trends and issues and appropriate investment strategies.; utilizes data bases and creates
          work sheets; assists in the assembly of presentation packets

     7.   Works within Firm to stay apprised of current projects, underwriting, upcoming products                                            5%
          and current availability’s within BOKFS; provides support to the sales force in the
          distribution of products.

                                                  Minimum education, experience, technical, communication skill levels, and licenses/certificates
    KNOWLEDGE, SKILLS and ABILITIES:              normally required to perform the duties of this position.




•     Thorough understanding and knowledge of investment products and services provided by BOKFS,
      Inc. and BOk Financial Corp.
•     Thorough knowledge of bonds and securities and their related tax implications
•     Working knowledge and understanding of BOKF’s commercial products and services
•     Excellent PC skills including appropriate systems usage (including but not limited to Systeme,
      FiServe, CRISP, PROFITs, Pershing, NetXPro, Knight-Ridder, Bloomberg, Morningstar)
•     Excellent interpersonal, verbal, and written communication skills
•     Excellent customer relations and sales skills
•     Excellent organization skills; ability to handle multiple tasks simultaneously in a competent and
      professional manner
•     Series 6- Assistant Representative Order Processing Qualification Examination

This level of knowledge is normally acquired through the completion of a Bachelor’s Degree and 2-3 years
experience investment sales/operations or 8-9 years equivalent work related experience.


                                                  Typical working conditions and environmental hazards, if any, associated with this type of work
    WORKING CONDITIONS                            that may be encountered in performing the duties of this position.



Work is normally performed in a climate-controlled environment, where exposure to conditions of
extreme heat/cold, poor ventilation, fumes, and gases is very limited. Noise level is moderate and
includes sounds of a normal office environment.      No environmental hazards are encountered in
performance of normal job duties.

                                                  The physical effort generally associated with this position.
    PHYSICAL DEMANDS

Work normally requires finger dexterity and eye-hand coordination to operate computer keyboard at
moderate skill level. Work may require occasional pushing, pulling, or carrying 20-pound objects such as
files, documents, and computer printouts. Noise level is moderate and includes sounds of normal office
equipment. Work involves sitting most of the time, but may involve standing and walking for brief
periods of time.




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SENIOR, SECURITIES SALES AND SUPPORT SPECIALIST
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                                                       Positions, other than supervisor and immediate co-workers, with which incumbent has frequent contact
 WORKING RELATIONSHIPS/CONTACTS                        and the reason for contact.



Internal – Extensive contact with Investment Operations in OKC.

External - Frequent institutional customer contact with correspondent banks, corporations, and government
entities. Contact can be with President, CFO, owners, etc.

Supervision of Others – Direct supervision of up to five exempt and/or nonexempt employees

                                       Budget/asset amount managed, revenues/profits produced, and/or other financial resources incumbent is accountable for.
 FINANCIAL ACCOUNTABILITY              Also indicates judgment/decision-making level.



This position does not have direct departmental budget responsibility; however, it does provide
assistance to the Sales Manager in the planning process. The clients most directly affected by this job’s
activities and decisions are those with extensive and profitable relationships with BOK and BOKFS,
Inc. Institutional Investment. This position is responsible for multiple deadlines and extremely time
sensitive.
Incumbent directly supports Little Rock Sales Force, which generates over $14 million in revenue.




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                                                                                                     Policy ID #:X2601.03




                Standards of Conduct
This policy is applicable to BOK Financial Corporation, BOKF, NA
and its divisions, affiliates and subsidiaries
DOCUMENT CONTROL

 Managed by:                                                    Responsible position:

 Tally Ferguson                                                 Director, Enterprise Risk Management

 Contact person:                                                Approved by:

 Seth Feldman                                                   Audit Committee of the Board of Directors

 Contact position:                                              Date approved:

 Manager, Corporate Risk Governance                             January 31, 2017

 Contact number:                                                Next review date:

 918.660.2959                                                   Annually




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                                                       Confidential                                Exhibit 012-000001
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                                               REVISION RECORD

     Revision description                                                         Approved by                Date
     Revision for 2015 all employee attestation                                   Board Audit                February
                                                                                  Committee                  2015
     Revision for 2016 – incorporate section of Code of                           Board Audit                February
     Ethics and simplify language                                                 Committee                  2016
     No Substantive changes                                                       Board Audit                January
                                                                                  Committee                  2017




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  I.        POLICY STATEMENT
  The following Standards of Conduct apply to all officers and employees (collectively, “employees”)
  of BOK Financial Corporation and its affiliates (collectively, "BOKF" or “Company”).
  As part of fulfilling the requirements of this Standards of Conduct, all employees are also required
  to comply with these Standards of Conduct, all policies and procedures of the Company, and all
  laws and regulations applicable to the Company’s business activities or applicable to the
  employee individually.


  II.       STATEMENT OF PURPOSE
  BOKF depends upon the collective and individual performance of its employees. Employees have
  a responsibility to exercise sound, ethical judgment in all business and related personal activities
  and should follow these standards of conduct to prevent any actual, apparent, or potential conflict
  of interest, and guard against harm to BOKF. Employees must avoid activities that may be in
  conflict with BOKF's best interest.
  Failure to abide by these Standards of Conduct constitutes a violation of employee duties, reflects
  a lack of responsibility, and may result in disciplinary action including immediate termination of
  employment.


  III.      ETHICAL DECISION MAKING
  At BOKF, it is essential that employees engage in ethical decision-making. No employee should
  take unfair advantage of persons regarding BOKF business through manipulation, concealment,
  abuse of privileged information, misrepresentation of material facts or unfair dealing.

  It may be useful for employees to consider the following questions.

                Do I feel uncomfortable an action I am contemplating?
                Is this action consistent with BOKF Policy?
                Is this action consistent with BOKF Standards of Conduct?
                Is this action legal?
                Does this action circumvent a BOKF policy and/or control?

  Questions regarding ethical decision making should be directed through one or more of the
  following contacts based upon the covered person’s level of comfort.

        Discuss the concern or suspected violation with a manager in the same business line;
        Contact the Employee Resource Center in Human Resources at (855) 269-2653 (855-2MY-
         BOKF) or EmployeeResourceCenter@bokf.com;
        Contact BOK Financial Risk Reporting Hotline to submit a report either anonymously or
         identifying the reporter, at the reporter’s election, by telephone at (844-297-5946) or electronic
         submission at BOKF Risk Reporting Hotline; or

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       Contact the SEC Office of the Whistleblower at (202) 551-4790 for securities law violations.


  IV.      INTEGRITY
  Employees should meet high standards of honesty in all dealings, not just because it is good
  business, but because it is right. This applies in communications, both as a Company and in
  employee relationships with each other. See also, BOKF’s Social Media Policy.

  The Company will provide a working environment in which adherence to these high standards is
  clearly expected of all employees, and integrity is never compromised by pressures for
  immediate success.


  V.       REPORTING
  Every employee is obligated to promptly report, in good faith, any illegal or unethical work practice
  or activity including, but not limited to questionable or improper accounting or auditing matters,
  violation(s) of the Standards of Conduct or applicable laws, rules and regulations, insider trading,
  fraud, activities outside our risk appetite statement, inappropriate treatment by a supervisor or
  other employee or any other questionable activity. The Corporate Whistleblower Policy contains
  specific responsibilities and duties under this policy.

  Reporting Methods: Methods for reporting suspected illegal or unethical activities or practices,
  or a suspected Standards and/or policy violation are as set out below. The reporting method
  should be chosen based upon the covered person’s level of comfort.

       Discuss the concern or suspected violation with a manager in the same business line;
       Contact the Employee Resource Center in Human Resources at (855) 269-2653 (855-2MY-
        BOKF) or EmployeeResourceCenter@bokf.com;
       Contact BOK Financial Risk Reporting Hotline to submit a report either anonymously or
        identifying the reporter, at the reporter’s election, by telephone at (844-297-5946) or electronic
        submission at BOKF Risk Reporting Hotline; or
       Contact the SEC Office of the Whistleblower at (202) 551-4790 for securities law violations.

  Suspicious Activities
  Suspicious Activities should be reported to Financial Crimes by way of the Suspicious Activity
  Notification Form. In conjunction with Financial Crimes, the Chief Auditor or Chief Risk Officer
  (CRO) will determine whether a suspicious activity report is required and will ensure that
  contemporaneous documentation is maintained.




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  VI.      PROTECTION OF COMPANY ASSETS
  Employees should protect the Company's assets and ensure their efficient use. Theft,
  carelessness and waste have a direct impact on BOKF's profitability. Company assets should
  be used for legitimate business purposes.


  VII.     CONFIDENTIAL AND INSIDE INFORMATION
  Proper management of confidential information is important to the Company, its employees, its
  vendors, and its customers.

  Loyalty to the Company includes a commitment not to use or give to others trade secrets or
  confidential information belonging to BOKF or belonging to others with whom we do business
  unless it is to report unethical or illegal practices or concerns according to the guidelines
  established in the BOKF Whistleblower policy or the SEC Whistleblower program, or to respond
  to a regulatory request. Employees should refrain from discussing confidential information in
  public places or leaving confidential information visible on their computer monitors especially
  when using a company laptop in a public place.

  A. SEC WHISTLEBLOWER PROGRAM
  Nothing in this Policy is intended to, or shall, in any way limit the right of a person subject to this
  policy to disclose any information to the SEC pursuant to Section 21 F of the Securities Exchange
  Act of 1934, as amended, or the rules of the SEC adopted pursuant to Section 21 F (the "SEC
  Whistleblower Program"). See also, Section V, Reporting.

  B. CUSTOMERS, CONSUMERS, AND SUPPLIERS
  Confidential, proprietary, or privileged information regarding customers, consumers, suppliers,
  and employees, is used solely for BOKF purposes. Such information shall not be communicated
  to any person outside of BOKF (other than the for BOKF business in accordance with BOKF policy
  and procedures) with the exception of communications described in Section VII.A. Confidential
  information should remain on BOKF secure systems and premises and should not be delivered
  to an employee’s personal address, email, or electronic/digital media.

  C. INSIDER TRADING
  Any ‘material’ undisclosed information about BOKF or its customers is called "inside information."
  Inside information can be financial, product, services, personnel, or other information. A major
  factor in determining whether information is material is the impact that information could have on
  BOKF’s financial condition or stock price. Employees may not trade based on inside information
  and may not share insider information.

  Trading securities based on inside information is a violation of US securities laws. If an employee
  provides a “tip” to someone who then buys or sells securities, both persons can be subject to
  insider trading. If an employee engages in insider trading the employee could lose the employee’s
  job and be subject to civil and criminal penalties.


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 The following are examples of potential non-public and material information:

     •    Financial forecasts
     •    Changes in sales, market share or production
     •    Earnings, dividend, or stock splits
     •    Proposed mergers, acquisitions, or divestitures
     •    Marketing plans
     •    Strategic plans
     •    New product information
     •    Changes in top management

 BOKF's Office of General Counsel maintains procedures to control the use of inside information
 for all directors and executive management with respect to BOKF stock. If any Employee has any
 question concerning whether that employee is in possession of inside information, and thus is
 prohibited from trading the employee should contact the BOKF Office of General Counsel. If an
 employee has a question and/or a concern that Insider Trading may have occurred, may be
 occurring, or might occur, then one of the reporting methods in Section V should be utilized.

 D. INSIDE INFORMATION RELATING TO BOK FINANCIAL CORPORATION AND
     SUBSIDIARIES
 Financial or inside other information regarding BOKF, unless it has been published in reports to
 shareholders or made available to the public, shall not be communicated to any person outside
 of BOKF unless in compliance with laws and regulations, including, but not limited to
 communications made pursuant to the SEC Whistleblower program. Questions or concerns
 regarding the intentional or unintentional disclosure of non-public information should be made
 using one of the Reporting Methods in Section V.

 Upon notice, the Chief Auditor and Chief Risk Officer (CRO) are responsible for reporting the
 matter to the Office of the General Counsel.

 E. SYSTEMS AND DATA SECURITY
 Systems used to store, record, process and access information are BOKF assets. The loss,
 destruction, or unauthorized disclosure of information, or of components of information, can cause
 irreparable damage to BOKF and its customers. Use of BOKF provided internet, intranet, email,
 and digital media is limited to employees and authorized individuals for business purposes and is
 subject to monitoring by the Company.
 BOKF employees must protect sensitive customer information at all times and in accordance with
 the Information Security Program Policy (ISPP) and departmental policies. Specifically,
 employees are reminded that use of personal email accounts, social media, instant messaging
 services or other forms of electronic communications to conduct business outside BOKF data
 security controls is prohibited.

 It is the employee and the supervisor’s responsibility to ensure that no employee, or non-
 employee, has access to systems not necessary for the employee’s current job function.
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 It is the responsibility of the immediate supervisor to see that confidential material and means of
 access to such material is obtained from any employee who should terminate his or her
 employment from BOKF.

 Questions & Answers:

          Q: My friend who works for a company that doesn’t compete with our company asked for
          the names of my business contacts. Am I allowed to give him this information?

          A: No. BOKF employee, vendor, and/or client information is confidential and personal
          data. Employees may not share confidential data with anyone except as required or with
          the permission of the client. If an employee believes that the client could benefit from the
          services of a friend’s company, after consulting with a supervisor and receiving
          permission, an employee might mention the services to the client and let the client make
          the contact.

          Q: When I work from home, I bring customer information with me and use my personal
          email address to send electronic files to my home computer. Am I allowed to do this?

          A: No. All work done off BOKF premises should be performed on a Company laptop or
          through a company approved VPN or other secured and authorized solution, and must
          follow BOKF security measures.

 F. PHYSICAL INFORMATION SECURITY, PASSWORDS, AND RECORD RETENTION
 Employees should make certain sensitive records in their possession (paper files, computers,
 disks, flash drives, etc.) are physically secured. Passwords and access codes, including security
 badges, are the personal responsibility of each employee and must be protected and may not be
 shared. Records must be retained in accordance with applicable laws, regulations, and Company
 policy. This includes both paper and electronic files. Computer and other electronic files should
 be disposed of in accordance with the ISPP and Company policies. See also, VII A.

 G. CONFIDENTIAL PROPERTY
 Employees are responsible for confidential materials or information of BOKF, such as:

         Policies and procedures manuals
         Account information
         Technical knowledge
         Marketing material
         Information technology
         Information that could supply BOKF's competitors with a "competitive advantage"
         Information kept on a confidential basis, e.g. committee material and minutes
         Information not given or otherwise communicated to any other institution for their use

 Nothing in this policy shall interfere with a person's right to disclose information pursuant to the
 SEC Whistleblower Program.
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  H. ACCOUNTING AND REPORTING PRACTICES
  All transactions must be fully and accurately recorded in BOKF's books and records according to
  generally accepted accounting principles. False or misleading entries and unrecorded assets or
  liabilities are strictly prohibited. Such items violate BOKF policy and the law.

  Employees are not allowed to perform account maintenance or process transactions on their own
  accounts or accounts on which they are an authorized signer.

  Employees must follow the time reporting and Business Expense Policies. Employees and
  approvers of time and expense reports are personally accountable for the accuracy of such
  reports.

  Employees who have concerns about any accounting or internal control irregularities should
  report their concerns in accordance with the Corporate Whistleblower Policy (see Section VII A).
  By Company policy and Federal law, there can be no retaliation or negative influence resulting
  from an Employee’s reporting of such matters.

  Questions & Answers:

           Q: I asked my supervisor to input my time on my timesheet as 9:00 AM. I actually did not
           arrive until 9:15 AM. Is this considered a reporting error?

           A: Yes. Providing false information to your supervisor regarding BOKF records is
           unacceptable and is a violation of the Standards of Conduct. Falsifying BOKF records is
           a terminable offense.


  VIII. EXTENSIONS OF CREDIT TO AND OBLIGATIONS OF
  EMPLOYEES AND OFFICERS
  A.     EXTENSIONS OF CREDIT TO EMPLOYEES
  Extensions of credit to employees shall only be made with proper approvals in accordance with
  BOKF’s Employee Loan Policy. They shall conform to normal credit and lending standards of
  BOKF employees.

  B.      BORROWING FROM CUSTOMERS
  Employees may not borrow from BOKF's customers or suppliers, except those engaged in lending
  in the normal course of business. This does not apply to family members. Borrowings from other
  lending institutions must be free of any reciprocity.




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 C.       FINANCIAL CONDITION
 It is the responsibility of every employee of BOKF to manage his or her financial affairs and
 condition in a prudent and circumspect manner. Certain employees such as registered broker
 dealers and registered investment advisors and the like, may have heightened reporting duties
 with respect to the employees’ personal financial matters and must consult and comply with
 applicable policies, laws and regulations, and licensing programs.

 D.      PROHIBITED USE OF BOKF PROPERTY
 BOKF funds, property, services, supplies, facilities, or other things of value must not be used
 directly or indirectly by any employee of BOKF to compensate any other bank, person, or entity
 for services, property, or loans made directly or indirectly to the employee, or for the benefit of the
 employee’s family.


 IX. ACTIVITIES AND CONFLICTS OF INTEREST AFFECTING THE
 CORPORATION
 A.      DEFINITION AND GENERAL RULE
 Business decisions should be made free from any conflict of interest and decisions should be
 impartial in appearance and practice. An actual or potential conflict of interest can arise when an
 employee, or member of his or her family, has a related direct or indirect interest in an entity
 dealing with BOKF (i.e. bank customer, applicant, vendor, or supplier). BOKF and its employees
 must avoid any activity that has the appearance of a conflict of interest. If at any time an employee
 is in a situation that could be interpreted as a conflict or potential conflict, the employee must
 disclose the potential conflict through one of the Reporting Methods in Section V.

 Questions & Answers:

          Q: My sister is part owner of a company that has provided services to BOKF for a long
          time. I was just hired at BOKF and I now have authority to contract with my sister’s
          company. Is this a potential conflict of interest?

          A: Yes. An appearance of a conflict exists because the employee is part of the decision
          making process for the selection of this vendor. The issue could be resolved if an impartial
          decision maker, such as your supervisor, makes the decision instead of you. It is important
          to report the potential conflict by way of one of the reporting methods in Section V.

          Q: I am considering applying for a part-time teller position at a local community bank during
          my off hours. Is this a potential conflict of interest?

          A: Yes. Working for a competitor bank is a conflict of interest.




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 B.      EMPLOYMENT OF RELATIVES
 BOKF allows the employment of people with close relationships to other employees, only if such
 employment does not create actual or potential conflicts of interest. See, Hiring of Relatives
 Policy.

 Certain conditions must be met to avoid potential conflicts:

         Relatives may not work under the supervision of, in the same department as, or in a
          position of responsibility for reviewing the procedures of another relative; and

         Before a relative is hired, the hiring decision must pass through an exception review and
          get approval from the Chief Auditor, Human Resources and all Division Managers
          involved. If employees become relatives after their hire date, the new relationship must be
          reported as a potential conflict and the appropriate review and disposition process
          described in Section X.C. below must be completed.

 Reporting: Potential employment of a relative must be reported to the Employee Resource
 Center for review and disposition processing.

          Q: I have a position in my department and have identified who I would like to hire. The
          individual’s father works in a different department but at times he might fill in for me
          when I’m out of the office. Would it be okay to hire the daughter?
          A: No. Although the related individuals would be in different departments and performing
          different work, because one could at times supervise the other would be a conflict of
          interest and a violation of our HR Hiring of Relatives Policy.

 C.    BUSINESS ACTIVITIES
 No employee shall have personal business, investment activity, or interest that will:

          •    Encroach on the time or attention which should be devoted to duties in connection with
               employment by BOKF;
          •    Adversely affect the quality of work performed;
          •    Compete directly, indirectly, or create the appearance of competing with BOKF;
          •    Involve use of BOKF's personnel, equipment, supplies or facilities;
          •    Take for an employee opportunities that are discovered through the use of Company
               property, information or position;
          •    Use Company property, information or position for personal gain;
          •    Imply sponsorship or support by BOKF, employment, activity or organization; or
          •    Adversely affect, directly or indirectly, the good name of BOKF.

 D.     COMMUNITY ENGAGEMENT
 Subject to BOKF’s Corporate Community and Employee Engagement Policy, BOKF
 encourages employee participation in recognized charitable, civic, and community affairs.


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 Before an employee agrees to serve with an organization the employee should either discuss the
 intent with their leadership team first and the market’s community relations department in order
 to understand funding and work attendance expectations or plan on self placement activities
 occurring outside of work hours.

 The Company tracks formal community engagement activities voluntarily reported by employees
 in order to enhance strategic community engagement and to understand possible relationships.
 Employees may voluntarily update their charitable or civic activities on the Community Service
 Activity Form located on BankNet/Human Resources/Community Service Activity Form.

 E.     POLITICAL ACTIVITIES
 BOKF believes that it is important for every citizen to take an interest in the political process.
 Employees participating in political activities must do so on the employee’s own time and not as
 a representative of BOKF.

 Any employee desiring to run for an elected political office or to accept an appointment to a
 federal, state or local government office, must secure the written approval of BOKF's Chief
 Executive Officer (CEO) or his designate prior to his or her becoming a candidate or accepting an
 appointment.

 It is prohibited to directly or indirectly use BOKF for political activities:

         Funds
         Property
         Services
         Supplies
         Facilities
         Working time

 No loan shall be made to any party, organization, candidate or official without the prior review
 and written approval of BOKF's CEO or his designate.

 When acting in an official capacity of BOKF, employees must report all “things of value” that are
 given to elected officers, state officers, or state employees (or his/her immediate family) to Joyce
 Thedford, Oklahoma City. Employees cannot spend more than $20 per meal and no more than
 $50 annually. Only our lobbyist can give “things of value” which, taken together, are valued at no
 more than $500 annually to any elected officer, state officer, or state employee (or his/her
 immediate family).

 Employees are prohibited from providing anything of value (i.e., meals, tickets) while soliciting
 business on behalf of BOKF with any state agency or department. Please review the information
 on the BOKF Political Action Committee (PAC) site for specific restrictions on political activities
 for BOK Financial Corporation, its affiliates, their employees, and the BOKF PAC. Be advised that
 certain BOK Financial subsidiaries and divisions have additional restrictions, so please review
 those policies and procedures applicable to your department, division, or subsidiary for additional
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 information.

 Questions & Answers:

          Q: I wrote a personal check to a congressman’s campaign committee and included the
          amount in my expense report. Will the Company reimburse me?
          A: No. BOKF policy requires that all campaign contributions be planned and budgeted and
          we have several specific legal and management approvals prior to contributing.

          Q: My co-worker used Company e-mail to solicit support for his father, who is running for
          state senator. Is this ok?
          A: No. Employees may not use company resources for political purposes.

 F.       GIFTS
 General Rule
 As a general rule, Employees should not accept gifts or favors from a person or entity
 conducting or seeking to do business with BOKF including, but not limited to, customers,
 vendors, job candidates, and/or employees. It is appropriate to tell the customer or vendor,
 “BOKF does not allow Employees to accept gifts.” If there is not an opportunity to refuse, or if it
 could reasonably be perceived as rude or awkward to refuse, follow the reporting procedure
 below.

 Monetary Gifts Prohibited
 Cash gifts or cash equivalents of any amount (monetary gifts) are never permissible.

 Gifts Valued $100 and Over
 Presentation of a gift valued at $100 or over must be reported for disposition as set out below.

 Exceptions
 The following exceptions may apply:

          Nominal Gifts: Nominal gifts of appreciation are generally permissible if the value of a
          non-monetary gift is less than $100.

          Family Gifts: Gifts from family, independent of any business of BOKF are generally
          permissible.

          Gifts Available to the Public If the benefit is available to the public under the same
          conditions

 Reporting
 Questions regarding Gifts should be referred to the ERC. The ERC will follow the review process
 as outlined in Section X. Attempted monetary gifts and/or any gift valued at $100 or more
 received from any person or entity doing business or seeking to do business with BOKF, other

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 than family members, must be disclosed to by way of one of the reporting methods in Section V
 and ERC in writing within five business days of being presented with the gift.

 Questions & Answers:

          Q: On a recent business trip, I met with one of our vendors for dinner to discuss possible
          enhancements to the services they provide. The vendor representative insisted on paying
          for dinner and grabbed the check before I could. My meal cost a little over $25. Was this
          okay?

          A: Yes. Although you were right to try to turn down anything that is a gift from someone
          who conducts business with us, the situation would be acceptable for several reasons.
          First, the value of the gift was under $100. Second, it could have been awkward to insist
          on picking up your expenses after the vendor representative had already grabbed the
          check. Finally, because this was a meal while on a business trip, it could have been paid
          for by BOKF as a reasonable business expense.

          Q: One of our clients recently offered to buy a case of wine for me as a thank you for the
          work I’ve done on his account. He knows my wife and I appreciate wine. This is a
          wonderful gift valued at about $750. Is it okay for me to tell him to go ahead and buy the
          wine for us?

          A: No. BOKF does not allow employees to accept gifts and the employee should politely
          turn down this gift. It is inappropriate for employee to accept gifts for work performed for
          clients especially when the gift is valued over $100.

 G.     SOCIAL MEDIA
 The Company uses social media to inform and educate consumers about financial topics, to
 support local communities and to build the Company’s brands.

 Only authorized representatives of the Corporate Marketing Department may create Company
 social media accounts or websites. Only the Corporate Marketing Department and authorized
 Express Bank personnel may officially engage in social media on behalf of BOKF. The Social
 Media Policy contains specific responsibilities and duties under this policy.

 H.     OUTSIDE EMPLOYMENT
 Outside employment could result in a potential conflict of interest in violation of this Standards of
 Conduct. All outside employment must be reported by the employee to the ERC. If the ERC
 determines that a conflict of interest could arise, the employee may seek an exception to in
 accordance with Section X.B. below. t.




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  X.       INTERPRETATIONS AND DISPOSITION
  A.       INTERPRETATIONS OF STANDARDS OF CONDUCT
  Questions regarding the applicability of Standards of Conduct or acceptability of an action or
  activity:

      Employees should contact one of the Reporting Methods in Section V with questions or for a
       determination of the acceptability of a specific action or activity.
      The ERC may work with Line of Business (LOB) leaders, Senior HR Business Partners, the
       Chief Auditor, and other relevant parties to answer the inquiry or make a determination.

      The ERC will escalate complex questions and/or interpretations to executive management the
       Office of General Counsel, or outside advisors as applicable.

      The Chief Auditor will be notified prior to any employee communication and provided access
       to employee questions and potential responses regarding the Standards of Conduct.

      Thereafter, the ERC will communicate a response in writing to the employee and to the
       supervisor, if appropriate.

     B. STANDARDS OF CONDUCT EXCEPTIONS OR VIOLATIONS DISPOSITION
  Decisions regarding exceptions to the Standards of Conduct, including self-reported exceptions,
  and reported violations, require transparency.

  Each employee must report in writing (email is acceptable) Standards of Conduct exceptions or
  violations by way of one of the reporting methods in Section V. See also, Corporate Whistleblower
  Policy.

  Disposition for General Employees
  The person receiving notice of a Standard of Conduct exception request and/or notice of a
  potential violation shall notify the Employee Resource Center and/or Employee Relations. Senior
  Human Resources Partners, the ELT member for the line of business, and the Chief Auditor may
  be a resource used in determining exceptions and/or violations and may be consulted by
  Employee Relations as appropriate. Employee Relations may escalate the determination to the
  Chief Auditor and/or the Office of General Counsel where appropriate.

  Disposition for Human Resources Employees
  In the event the employee requesting an exception approval or reporting a violation ultimately
  reports to the Chief Human Resources Officer, the disposition will be handled as detailed above,
  but will require additional review and approval processing by the Chief Risk Officer.

  Notice to and Review by Chief Auditor
  The Chief Auditor will be notified prior to the disposition being communicated to the employee
  and provided access to review decisions involving exceptions or violations. The Chief Auditor will

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 report exceptions to the Standards of Conduct to the Audit Committee of the Board of Directors
 at least quarterly.

 The Board of Directors shall be responsible for dispositions of exceptions for and/or violations of
 the CEO.

 The CEO shall be responsible for the disposition of exceptions for and/or potential violations by
 Executive Leadership Team (ELT) members.


 XI.      ANNUAL CERTIFICATION AND ATTESTATION
 A.     ANNUAL CERTIFICATIONS
 As a condition of employment, Employees shall annually certify that each has (i) reviewed the
 Standards of Conduct, (ii) is in compliance with the Standards of Conduct, and (iii) will comply with
 the Standards of Conduct.

 B.       ATTESTATION
 Please attest to the following certification. Employees not                      responding by attestation will be
 reported as Exceptions in accordance with Article X.C.

 Employee Certification:

 1. This is to certify that (i) I have read BOKF's Standards of Conduct; (ii) I am in compliance with
       BOKF’s Standards of Conduct and/or have reported any exception thereto as required; and
       (iii) I agree to abide by and be in compliance with the Standards of Conduct.
 2. This is also to certify that I fully understand that I am responsible for following applicable
       Company policies.

 3. This is to certify that I understand the conflict of interest provisions of the Standards of Conduct
       and that I have resolved any potential conflicts in accordance with the established Procedures.




                                                   Standards of Conduct

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 Services provided by Bank of Albuquerque, Bank of Arizona, Bank of Arkansas, Bank of Kansas City, Bank of Oklahoma, Bank of
 Texas and Colorado State Bank and Trust, divisions of BOKF, NA and BOSC, Inc. subsidiaries of BOK Financial Corporation. Any
 printed versions of this document should be used for immediate reference only. Please refer to the latest electronically
 approved version. This document is for internal use only and is not to be distributed outside the bank.

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First Name   Last Name   User Name             Branch Name Branch Code Lesson Name                       Lesson ID   Due Date Completion Date Score Historical Due Date Assignment Method   Employee Number
Vickie       Wise        vwise@bokf.com                9172        9172 BOKF Standards of Conduct 2017   BOKF061     N\A             4/14/2017  100             4/28/2017 Historical                    5021
Ronnie       Davis       skip.davis@bokf.com           9172        9172 BOKF Standards of Conduct 2017   BOKF061     N\A               4/3/2017 100             4/28/2017 Historical                    8913
Melissa      Del-Cid     mdelcid@bokf.com              9172        9172 BOKF Standards of Conduct 2017   BOKF061     N\A             4/10/2017  100             4/28/2017 Historical                    5121
Barbara      Gibbons     bgibbons@bokf.com             9172        9172 BOKF Standards of Conduct 2017   BOKF061     N\A             4/12/2017  100             4/28/2017 Historical                    7974




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Email                 Title                                    User Status Hire Date Group Codes   Region Name   Executive Name   Supervisor Name   Supervisor Email    User Comments   State
vwise@bokf.com        Client Advisor                           Inactive     9/22/1998 N\A          No Region     No Executive     Patrick Staudt    pstaudt@bokf.com                    OK
skip.davis@bokf.com   Client Advisor                           Inactive      4/2/2012 N\A          No Region     No Executive     Patrick Staudt    pstaudt@bokf.com                    OK
mdelcid@bokf.com      Sr Securities Sales/Service Specialist   Inactive     6/21/2006 N\A          No Region     No Executive     Lisa Shannon      lshannon@bokf.com                   OK
bgibbons@bokf.com     Sr Securities Sales/Service Specialist   Inactive     5/16/2011 N\A          No Region     No Executive     Lisa Shannon      lshannon@bokf.com                   OK




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Transfer Date   Termination Date   Custom 1 Custom 2   Custom 3                      Custom 4              Custom 5         Custom 6          Custom 7          Custom 8 Custom 9   Custom 10
N\A             N\A                         DL         WEALTH MANAGEMENT DIVISIO     Sherry Lane 7th Flr   Patrick Staudt   William Goodwin   Gregory Wheeler       80672 N\A       N\A
N\A             N\A                         DL         WEALTH MANAGEMENT DIVISIO     Sherry Lane 7th Flr   Patrick Staudt   William Goodwin   Gregory Wheeler       80672 N\A       N\A
N\A             N\A                         DL         WEALTH MANAGEMENT DIVISIO     Sherry Lane 7th Flr   Lisa Shannon     Paul Boston       Jeffrey Sanders       80332 N\A       N\A
N\A             N\A                         DL         WEALTH MANAGEMENT DIVISIO     Sherry Lane 7th Flr   Lisa Shannon     Gregory Wheeler   Scott Grauer          80332 N\A       N\A




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                                Exhibit 14




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                         WEALTH MANGEMENT
                           CLIENT ADVISOR
                            2017 SCHEDULE
   PAYMENT OF BENEFITS
   This Schedule is subject to the Incentive Compensation Master Incentive Plan and applicable
   Addendum which are incorporated by reference into this schedule.

   PARTICIPATION DESIGNATION
   The following employees are eligible to participate in the Plan:
       Client Advisors

   AWARD DETERMINATION
   Award Calculation
   The Plan rewards participants for personal revenue that exceeds their monthly draw (recurring fee
   production and brokerage production) as described below:




                                                                                                  1
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   Annual Retention Award




                                                                                2
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   Participants will be eligible to participate as of their employment date within the department. The
   retention award is considered to be an incentive (vs. a commission) and therefore is not 401(k)
   eligible.




   ADDITIONAL PLAN PROVISIONS
   Employee agrees that, during employment and for a period of one (1) year following any
   termination of employment for any reason, Employee shall not, (whether as an officer, director,
   employee, partner, stockholder, creditor or agent, or representative of other persons or entities),
   (i) directly solicit the sales of goods, service or a combination of goods and services from
   established customers of BOK Financial or any of its affiliates or (ii) directly solicit employees
   of BOK Financial or any affiliates of BOK Financial to seek employment with any person or
   entity providing banking and/or financial services and/or other goods and services offered by
   BOK Financial and/or its affiliates except on behalf of BOK Financial and/or its affiliates. The
   foregoing agreement not to solicit notwithstanding, to the extent that the employee has entered
   into an agreement with BOK Financial and/or an affiliate, and the agreement contains greater
   restrictive covenants in favor of BOK Financial and/or an affiliate, the greater restrictive
   covenant supersedes this provision.




                                                                                                         3
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            WEALTH MANGEMENT DIVISION
                     ADVISOR
                  2016 SCHEDULE
 PAYMENT OF BENEFITS

 PARTICIPATION DESIGNATION
 The following employees are eligible to participate in the Plan:

       Private Bank Client Advisors
       BOSC Client Advisors
       Milestone Wealth Advisors
       Managing Directors – Milestone

 AWARD DETERMINATION




                                                                                            1
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   Annual Retention Award




   Participants will be eligible to participate as of their employment date within the Department. The
   Award is considered to be an incentive (vs. a commission) and therefore is not 401(k) or pension
   plan eligible.

                                                                                                    2
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 ADDITIONAL PLAN PROVISIONS

 As a condition of employment/participation in this incentive plan, I hereby agree that for one
 year following termination of my employment (for any reason whatsoever), I will not directly
 solicit the sale of goods, services or a combination of goods and services from established
 customers of BOKF, for itself and on behalf of its affiliates.

 To fulfill your duty of loyalty to BOKF, including but not limited to, your duty is not to solicit
 employees of BOKF on behalf of any entity other than BOKF.




                                                                                                      3
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Dorwart, Erica

From:                                     Davis, Skip
Sent:                                     Wednesday, February 21, 2018 8:50 AM
To:                                       'Wise, Vickie (VWise@mail.bokf.com)'
Subject:                                  FW: 2018 Goals
Attachments:                              2018 Incentive & Referral Plans.pdf


My Sales Activity shows a goal of $100,000.




Skip Davis
Vice President I Wealth Management
BOK Financial Advisors
5956 Sherry Lane, Suite 700
Dallas, Texas 75225
(214) 932-3081 I Phone
(214) 256-7538 I Fax
skip.davis@bokf.com I Email


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Corporation. Some services offered through our affiliate, Institutional Investments, Bank of Oklahoma which operates as a separately identifiable trading
department of BOKF, NA. NOT FDIC INSURED | NO BANK GUARANTEE | MAY LOSE VALUE


From: Staudt, Patrick
Sent: Friday, January 12, 2018 3:04 PM
To: Davis, Skip <Skip.Davis@bokf.com>; Wise, Vickie <VWise@mail.bokf.com>; Manna, Vince <VManna@bokf.com>
Subject: 2018 Goals

Below are the goals for 2018. Only BOKFS production and new IMA closed business (1st year annualized revenue on
closed opportunities) are required to hit the 2% retention bonus. Actual IMA revenue is no longer part of the goal
requirement but it is used in calculating the amount of the 2% retention if the below production goals are achieved. As
in the past, you must also achieve the Calls, Referrals and Insurance Referrals goals quarterly in order to qualify for the
retention incentive.


                     Annual 2018 IMA (New) Goal                           2018 Brokerage Goal

Wise                           316,000                   80%                        700,000
Davis                           79,000                   20%                        175,000

Total Davis/ Wise              395,000                                              875,000

Manna                          100,000                                              100,000

I have attached the 2018 incentive and referral plan for your review. Note the “Important 2018 Concepts” – page
2. The most impacting will be accounts that do not meet minimums from the fee schedule will not be provided credit. I
would like to walk through this with you on Tuesday of next week – perhaps following our town hall meeting on
Tuesday.

                                                                            1

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                  Let me know if you have any questions.

                  Pat




                  Patrick J. Staudt
                  Managing Director I Market Executive
                  The Private Bank at Bank of Texas
                  5956 Sherry Lane, Suite 700
                  Dallas, TX 75225
                  972-892-9959 I Phone
                  817-228-9653 I Cell
                  pstaudt@bankoftexas.com I Email




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Caywood, Candace

From:                                    Sheahan, Jackie
Sent:                                    Friday, May 19, 2017 1:05 PM
To:                                      Wise, Vickie
Subject:                                 2017 Referral Fee Plan
Attachments:                             2017 Incentive Referral Plans (003).pdf




Jackie Sheahan
Senior Vice President
Client Advisor Group
The Private Bank
Bank of Texas
3009 Post Oak Blvd, Suite 1300
Houston, TX 77056
(713) 260-5637 Office
(713) 260-5643 Fax
JSheahan@bokf.com

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Corporation. Services may be offered under our trade name, BOK Financial Advisors. NOT FDIC INSURED | NO BANK GUARANTEE | MAY LOSE
VALUE


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                  Written Supervisory Procedures

                   BOK Financial Securities, Inc.



                          Published: 18 December 2017




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                       Written Supervisory Procedures

                        BOK Financial Securities, Inc.



                             Published: 19 February 2018




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   INTRODUCTION
   IMPORTANT NOTES TO KEEP IN MIND
   When reading this manual, it is important to remember a few key items:

         • "Signatures" evidencing reviews should always include a date and you may sign with your initials or a
           signature - either is acceptable
                 o "Signatures" may also be electronic in nature such as when reviewing the trade blotters or other
                    electronic reports
         • References to files may be either electronic or hard copy in nature - even if the procedure does not
           clearly state one or the other
         • References to the "Bank" throughout the manual mean BOKF, NA
         • References to a "Designated Supervisor" are usually clarified by the applicable position in parenthesis
           immediately following - such as "Designated Supervisor (Sales Supervisors)." This is to help clarify the
           designated supervisor for a specific topic/subject/task.
                 o Please provide additional clarification - if you know the answer - for those references to only a
                    designated supervisor


   BANK POLICIES
   Certain policies in this manual are only a small sub-set of the applicable BOKF, NA ("Bank") policies. This
   manual is not meant to replace or overrule the Bank policies. As an employee of BOKF, NA, you are responsible
   for complying with all applicable Bank policies as well as the regulatory policies listed in this manual. The Bank
   policies may include:

         • BOK Financial Standards of Conduct
         • Corporate Information Protection Policies
         • BSA/AML Policies
         • Human Resources Policies
         • Gift and Gratuities Policies
         • Political Contributions Policies
         • Outside Business Activities Policies
         • Conflicts of Interest Policies
         • Code of Ethics

   This is not an all-inclusive list. You will be held accountable to the strictest policy if conflicts occur
   between Bank and BOKFS policy.

   BOK Financial Securities, Inc. (BOKFS) will conduct its business consistent with the highest standards of
   commercial honor and just and equitable principles of trade. Keeping our customers' interest foremost is key to
   BOKFS' success. The trust of our customers and BOKFS' reputation are of paramount importance. Effective
   supervision is an integral part of achieving our goals in serving our customers.

   "Compliance" is not a static event; it is a process which evolves in tandem with regulations that govern our
   industry and the circumstances of each particular interaction. This manual includes BOKFS' supervisory policies
   and procedures to provide guidance to designated supervisors in their oversight of the Firm's business. It is a
   working document and reference for supervisors and will be updated when necessary.

   It is recognized that supervision must be a flexible tool for use by those charged with managing the Firm's
   various activities. While it is generally expected these procedures will be followed, supervisors are encouraged
   to adapt these procedures to the needs of BOKFS, their particular department, and the employees and
   customers of BOKFS. These procedures are meant to be a basic framework upon which supervisors oversee
   the Firm's activities.



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   This manual does not attempt to set forth all of the rules and regulations with which employees must be familiar,
   nor does it attempt to deal with all situations involving unusual circumstances. When questions arise, refer them
   to Compliance for assistance.

   Supervision may be delegated to others, where appropriate; however, designated supervisors are responsible
   for ultimate supervision of assigned areas. The term "employee" as used in this manual includes RRs (and
   others as identified by BOKFS) who may be independent contractors for tax and compensation purposes.

   This manual is the property of BOK Financial Securities, Inc. (BOKFS) and may not be provided to anyone
   outside BOKFS without the permission of Compliance or the Firm's counsel.


   ACKNOWLEDGEMENT OF PROCEDURES
   Upon receipt of a new, materially updated manual, associated persons will be asked to sign and return an
   attestation. The attestation may be provided in several different formats, including this acknowledgement form. It
   may also be sent electronically. Not all updates will require attestations.




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   any speech given, article published, or attendance at any public or private conference, convention, meeting,
   social event, or similar gathering).

   Some public entities are statutorily authorized to charge the cost of inspections of regulated entities. A public
   official may, therefore, receive payment for statutorily-authorized expenses. For example, if a state securities
   official appears at an office to conduct an inspection, the state may, if authorized in state statutes, charge
   BOKFS for expenses related to conducting the inspection.

   Prior approval from Compliance is required for gifts or entertainment involving public officials.


   2.6 Political Contributions
   [FINRA Rule 2030 and 4580; FINRA Regulatory Notice 16-40]



                                     • Designated Supervisor
       Responsibility

                                     • Requests to make political contributions
          Resources

                                     • As required (requests)
          Frequency

                                     • Review requests and determine permissibility
                                     • Notify appropriate department managers if BOKFS's activities must be restricted
                                     • Contact Compliance to determine corrective action if prohibited activities using
             Action
                                       Firm resources are identified
                                     • Process returned contributions


                                     • Contribution Requests and responses
                                     • Returned contributions
            Record
                                     • Restrictions, if appropriate



   There are restrictions on political contributions when engaging in a distribution or solicitation for government or
   public entities on behalf of an investment adviser.

   The MSRB also has a political contributions rule (G-37). FINRA Rule 2030 does not apply to a broker-dealer
   engaged in activities requiring municipal advisor registration and compliance with the MSRB pay-to-play rule (G-
   37). See the chapter MUNICIPAL SECURITIES and the section Political Contributions for further information.


   2.7 Privacy Policy
   [SEC Regulation S-P]

   Information regarding customer accounts for individuals is subject to SEC Regulation S-P "Privacy Of Consumer
   Financial Information." This section explains employees' obligation to maintain the privacy of information. A
   section Customer Privacy Policies And Procedures in the chapter COMMUNICATIONS WITH THE PUBLIC
   outlines firm procedures.

         1. Regulation S-P requirements apply to individual and not institutional accounts and include U.S. and
            foreign accounts.
         2. Protected information is termed "nonpublic personal information." This is information obtained by
            BOKFS that is not deemed "public information" which is defined as information that may be obtained


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            from three sources: federal, state or local government records; widely distributed media; or disclosures
            to the general public that are required to be made by federal, state, or local law.
         3. At the time an account is opened the customer is provided with BOKFS' privacy policy and is given the
            opportunity to opt out of arrangements to share nonpublic information with nonaffiliated third parties.
            The privacy policy is also provided to customers on an annual basis.
         4. Employees are prohibited from sharing or releasing nonpublic personal information other than to
            authorized parties. This includes a prohibition against:
                  o Sending internal reports or other information about firm customers to a non-affiliated 3rd party
                     (unless authorized).
                  o Sending internal or other documents that include customer non public information to your
                     personal e-mail address.

   Questions about providing customer information should be referred to Compliance.


   2.7.1 BOKFS Privacy Policy
   The BOKFS Privacy Policy is saved to the Retail Documents SharePoint site and can be accessed at this link:
   BOKFS Privacy Policy


   2.8 Reporting Possible Law Or Rule Violations
   [SEC Securities Exchange Act of 1934 Section 21F; SEC Rule 21F; FINRA Rule 4530(b)]


                                     • Chief Compliance Officer (or, if the CCO is involved in the potential wrongdoing,
       Responsibility                  an alternate senior manager)


                                     • Reports of possible law or rule violations from employees
          Resources                  • Referrals from outside sources such as regulators


                                     • Investigate reports: As required
          Frequency                  • Employee education: At least annually


                                     • Acknowledge the employee's report and advise confidentiality will be maintained
                                       and there will be no retaliation for reporting
                                     • Determine who will be involved in the investigation and notify those persons of
                                       the confidentiality of the investigation
                                     • Conduct the investigation using tools appropriate to the issue (interviewing
                                       employees, reviewing internal/external reports, engaging counsel, etc.)
             Action                  • Determine whether there was potential wrongdoing and decide whether a report
                                       should be made to regulators
                                     • Take internal corrective action, as appropriate
                                     • Advise the reporting employee of the status of the investigation
                                     • Include reporting of possible law or rule violations and BOKFS' process for
                                       internal investigations as part of regular employee education


                                     • Report from employee
                                     • Information regarding the investigation including records reviewed, who is
                                       involved, what steps taken, reports to regulators (if appropriate), conclusion of
                                       investigation
            Record
                                     • Records of employee education including how education is conducted (classes,
                                       online education, compliance memos, etc.), who participates, subjects included,
                                       and when it occurs



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                  Written Supervisory Procedures

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                       Written Supervisory Procedures

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   INTRODUCTION
   IMPORTANT NOTES TO KEEP IN MIND
   When reading this manual, it is important to remember a few key items:

         • "Signatures" evidencing reviews should always include a date and you may sign with your initials or a
           signature - either is acceptable
                 o "Signatures" may also be electronic in nature such as when reviewing the trade blotters or other
                    electronic reports
         • References to files may be either electronic or hard copy in nature - even if the procedure does not
           clearly state one or the other
         • References to the "Bank" throughout the manual mean BOKF, NA
         • References to a "Designated Supervisor" are usually clarified by the applicable position in parenthesis
           immediately following - such as "Designated Supervisor (Sales Supervisors)." This is to help clarify the
           designated supervisor for a specific topic/subject/task.
                 o Please provide additional clarification - if you know the answer - for those references to only a
                    designated supervisor


   BANK POLICIES
   Certain policies in this manual are only a small sub-set of the applicable BOKF, NA ("Bank") policies. This
   manual is not meant to replace or overrule the Bank policies. As an employee of BOKF, NA, you are responsible
   for complying with all applicable Bank policies as well as the regulatory policies listed in this manual. The Bank
   policies may include:

         • BOK Financial Standards of Conduct
         • Corporate Information Protection Policies
         • BSA/AML Policies
         • Human Resources Policies
         • Gift and Gratuities Policies
         • Political Contributions Policies
         • Outside Business Activities Policies
         • Conflicts of Interest Policies
         • Code of Ethics

   This is not an all-inclusive list. You will be held accountable to the strictest policy if conflicts occur
   between Bank and BOKFS policy.

   BOK Financial Securities, Inc. (BOKFS) will conduct its business consistent with the highest standards of
   commercial honor and just and equitable principles of trade. Keeping our customers' interest foremost is key to
   BOKFS' success. The trust of our customers and BOKFS' reputation are of paramount importance. Effective
   supervision is an integral part of achieving our goals in serving our customers.

   "Compliance" is not a static event; it is a process which evolves in tandem with regulations that govern our
   industry and the circumstances of each particular interaction. This manual includes BOKFS' supervisory policies
   and procedures to provide guidance to designated supervisors in their oversight of the Firm's business. It is a
   working document and reference for supervisors and will be updated when necessary.

   It is recognized that supervision must be a flexible tool for use by those charged with managing the Firm's
   various activities. While it is generally expected these procedures will be followed, supervisors are encouraged
   to adapt these procedures to the needs of BOKFS, their particular department, and the employees and
   customers of BOKFS. These procedures are meant to be a basic framework upon which supervisors oversee
   the Firm's activities.



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   This manual does not attempt to set forth all of the rules and regulations with which employees must be familiar,
   nor does it attempt to deal with all situations involving unusual circumstances. When questions arise, refer them
   to Compliance for assistance.

   Supervision may be delegated to others, where appropriate; however, designated supervisors are responsible
   for ultimate supervision of assigned areas. The term "employee" as used in this manual includes RRs (and
   others as identified by BOKFS) who may be independent contractors for tax and compensation purposes.

   This manual is the property of BOK Financial Securities, Inc. (BOKFS) and may not be provided to anyone
   outside BOKFS without the permission of Compliance or the Firm's counsel.


   ACKNOWLEDGEMENT OF PROCEDURES
   Upon receipt of a new, materially updated manual, associated persons will be asked to sign and return an
   attestation. The attestation may be provided in several different formats, including this acknowledgement form. It
   may also be sent electronically. Not all updates will require attestations.




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   2.18.14 Misrepresentations
   Employees may not disseminate any information that falsely states or implies guarantees or approval of
   securities by the government or other institution such as government guarantee of securities that carry no such
   guarantee. SIPC may not be misrepresented as a guarantor of a customer's account against losses from
   transactions.


   2.18.15 Bribes
   No employee may offer or solicit explicit inducements to or from employees or representatives of other
   institutions or foreign governmental or political officials to obtain business. Entertainment and gifts in reasonable
   amounts are not included in this prohibition and are discussed in the section Gifts, Gratuities And Entertainment.


   2.18.16 Acting Without Registration
                                     • Designated Supervisor (Sales Supervisors)
       Responsibility

                                     • New account forms
                                     • Notices of registration status from Licensing & Registration
                                            o Maintained in Registration Connection
          Resources
                                     • Reports of transactions effected by RRs not licensed in the customer's state of
                                       residency


                                     • Ongoing
          Frequency

                                     • Review new account forms to identify any out-of-state accounts where the RR
                                       may not be registered
                                     • Review reports of transactions identifying unlicensed activity and follow up with
             Action                    RR
                                     • Immediately refer any RRs requiring state registration to Licensing &
                                       Registration


                                     • Include a notation on the New Account form or report noting action taken
            Record                          o Or in clearing firm's client profile


   No employee may engage in activities that require registration (selling securities, soliciting accounts, trading,
   etc.) unless registered in the appropriate capacities. Questions regarding the need for registration should be
   referred to Compliance.


   2.18.17 Beneficiary on Non-Familial Accounts
   With few exceptions, employees are prohibited from knowingly being named as a beneficiary on non-familial
   client accounts. Exceptions must be reviewed and approved by the Designated Supervisor and Compliance.


   2.19 Computer Records, Equipment And Software

                                     • Designated Supervisor (Sales Supervisors)
                                     • Compliance - lost devices or breach of data
       Responsibility
                                     • Bank




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                                     • Disks and other computer records maintained by a terminating employee
          Resources                  • Reports of lost devices


                                     • As required
          Frequency

                                     • Bank: Provide employees with education and policy information about proper
                                       use of computer and other electronic equipment including appropriate security
                                       measures and accessing customer information
                                     • Bank: Instruct offices to secure equipment and information
                                     • Designated Supervisor: Secure disks, computers, software, and other firm
                                       property when an employee terminates
             Action
                                     • Designated Supervisor: Do not permit removal of firm equipment without
                                       approval
                                     • Contact Compliance: Take action regarding lost devices including remote
                                       deactivation, if available, and assessment of whether a breach of customer
                                       information has or may occur


                                     • Inform Bank and CCO if device is lost or breached and there is a possibility that
            Record                     material information can be accessed by non-employees


   Nothing in this manual related to computer records, equipment, and software is meant to replace or
   overrule the policies and procedures listed in the Corporate InformationSecurity Program Policy
   ("ISPP"). Refer to the ISPP for more detailed information regarding how BOKFS manages the security of
   our information assets.
   (https://spfarm.bok.com/sites/PolicyAdministration/Policies%20and%20Procedures/Forms/End%20User.
   aspx -> Information Security -> Critical policies)

   BOKFS considers its computer records, systems, and software to be corporate assets. Employees are
   responsible for protecting these assets from unauthorized use, destruction, or unauthorized modification. This
   includes a prohibition against violating copyright laws or licensing agreements applicable to computer software.

   Physical equipment (PCs, printers, software, diskettes, etc.) must be placed in a secure location to avoid theft,
   tampering, unauthorized use, and environmental hazards (water, smoke, magnets, etc.). The use of personal
   computers for BOKFS business is subject to the same guidelines and restrictions as BOKFS computers.

   When an employee terminates, any disks or other storage medium that includes proprietary information,
   including customer information, are considered property of BOKFS and must be left with BOKFS.


   2.19.1 Laptop Computers And Other Mobile Devices
   Employees who use laptops or other mobile devices for Firm business are responsible for the security of the
   device and the information contained on it. Serious security breaches can occur if a device containing or
   capable of accessing confidential information is lost or stolen.

   Employees who use laptops for company business are required to comply with requirements provided by the
   Bank.


   2.19.2 Reporting Lost Devices
         • The loss of a mobile device must be immediately reported to Compliance.




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   2.19.3 Identifying And Reporting Data Breaches
         • All employees are required to immediately report an identified potential intrusion into a mobile device or
           into BOKFS' systems.


   2.19.4 Software
   Software installed and used on electronic devices is limited to software approved by BOKFS. BOKFS will install
   or provide authorized software for business use including anti-virus and anti-malware protection.

   Employees are strictly prohibited from installing software other than what is authorized by BOKFS.


   2.19.5 Prohibited Downloading
   Employees are prohibited from:

         • Downloading customer and other confidential firm information from BOKFS' mainframe or other central
           records, unless specifically authorized
         • Using portable devices such as USB key drives, MP3 players, mobile phones, and other devices for
           downloading information unless specifically authorized
         • Downloading programs from the Web to BOKFS computers unless specifically authorized


   2.20 Electronic Communications Policy
   [FINRA Rule 3110(b)(4), 3110.07, 3110.08 and 3110.09]

   This policy governs the use of electronic communications by employees including part-time employees and
   independent contractors. It applies during business hours and after-business hours. This is an important
   policy; employees will be required to certify annually that they are familiar with and will comply with the
   policy.

   1. Firm electronic systems or communications devices are for firm business purposes and business
   communications must conform to accepted business standards and regulatory requirements.

         • Inappropriate communications (profanity, obscenity, threats, otherwise offensive content) are prohibited.
           Report threatening or harassing communications to Compliance.
         • Communications must include current and valid information.
         • Copyrighted material cannot be sent unless authorized; contact Compliance for assistance.
         • Copyrighted software cannot be copied or transmitted to others unless authorized.
         • References and/or links to web sites are a form of communications requiring Compliance approval prior
           to use.
         • Communications that must be accompanied by a prospectus may not be sent electronically unless the
           prospectus is available as an electronic attachment or an electronic link is provided to access the
           prospectus.
         • BOKFS and its employees are prohibited from sponsoring a social media site or using a communication
           device that includes technology which automatically erases or deletes content.

   2. Electronic business communications must be accessed and transmitted only through firm-sponsored
   systems.

         • Regulators require retention of business communications and firm systems are designed to comply with
           retention requirements.
         • Approved firm-sponsored systems include:
                 o BYOD (Bring Your Own Device)
                 o E-mail and e-faxes through desk-top computers in Firm offices (the use of personal e-mail
                   accounts for business communications is prohibited)



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 2018

#1
  COMPLETE
Collector:               Email Invitation 1 (Email)
Started:                 Thursday, February 01, 2018 11:10:19 AM
Last Modified:           Thursday, February 01, 2018 11:16:35 AM
Time Spent:              00:06:16
Email:                   skip.davis@bokf.com
IP Address:              216.60.18.40



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Q1 Enter your name (first name last name).

Ronnie Davis



Q2 Enter your office address (full, physical address).

5956 Sherry Ln, Dallas, TX 75225



Q3 Enter your office phone number, including area code.

214-932-3081



Q4 Has your home address changed during the previous           No
six months? If "yes" and you have not already notified
Licensing and Registration, please email Kim Eggers
(keggers@bokf.com) immediately with the new address
and the date of your move.


Q5 What, if any, Professional Designation(s) do you            None
currently hold?


Q6 Do you have any pending customer complaints,                No
litigation, arbitration, or have you received written
correspondence from a client indicating dissatisfaction
that you have not reported to compliance?If "yes", please
contact Compliance
(bokfscompliancereporting@bokf.com) immediately.



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Q7 Pled guilty or nolo contendre ("no contest") to, or         No
been charged with, any felony?




                                                           1/6

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Q8 Pled guilty or nolo contendre ("no contest") to, or         No
been charged with, any misdemeanor involving:
investment or any investment related business fraud,
false statements or omissions, wrongful taking of
property, bribery, perjury, forgery, counterfeiting,
extortion, or a conspiracy to commit any of these
offenses?


Q9 Had any unsatisfied judgments or liens filed against        No
you?


Q10 Filed a bankruptcy or been involved in an                  No
involuntary bankruptcy petition or filing not previously
reported to Compliance? (include last 10 years)


Q11 Attended any product sponsor due diligence                 No
meetings or conferences (does not include BOKFS'
product due diligence meetings)? If "yes", please email
Compliance (bokfscompliancereporting@bokf.com) with
the name of the sponsor, the date(s), and the location.


Q12 Made any political contributions?                          No



Q13 If "yes", was the contribution reported to and pre-        N/A
approved by Compliance? If not, then please complete
the BOKFS Political Contribution Request Form
immediately and return to Compliance
(bokfscompliancereporting@bokf.com).


Q14 Executed any Private Securities Transactions?          No
NOTE: "Private securities transaction" shall mean any
securities transaction outside the regular course or scope
of an associated person's employment with a member,
including, though not limited to, new offerings of
securities which are not registered with the Commission.
Also note that promissory notes often are securities.
Even if a promissory note is not deemed a security, the
RR has the obligation to obtain BOKFS' permission
before engaging in any outside business activity
involving the offer of promissory notes.


Q15 If "yes", was the transaction pre-approved by              N/A
BOKFS per policy? If not, then please complete the
BOKFS - Private Securities Transaction Request form
immediately and return to Compliance
(bokfscompliancereporting@bokf.com).




                                                            2/6

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Q16 In accordance with BOKFS' policy on gifts and             Yes
gratuities, have all gifts given/received by you been
reported via iTrade?If "no", then please report all
gifts/gratuities via iTrade immediately.


Q17 Are you aware that a written request must be made         Yes
to participate in all paid or unpaid outside business
activities including directorships, part-time employment,
or volunteer work and that the request must receive pre-
approval from Compliance?


Q18 Do you have any paid or unpaid outside business           No
activities that have not previously been reported to
Compliance?If "yes", then please complete the BOKFS
Outside Business Activity Form immediately and return
to Compliance (bokfscompliancereporting@bokf.com).


Q19 Are you an owner or partner in any business entity        No
(ex. LLC, general partner, or limited partner)?


Q20 If "yes", has the ownership/partnership been              N/A
reported to Compliance?If not, then please complete the
BOKFS Private Securities Transaction Request form
and/or BOKFS Outside Business Activity Form as
applicable and return to Compliance
(bokfscompliancereporting@bokf.com) immediately.


Q21 Are you or an immediate family member listed as           No
Trustee or Successor Trustee of a client account (do not
include an immediate family-related account)?


Q22 Are you or an immediate family member named as            No
Executor of a client account (do not include an
immediate family-related account)?


Q23 Are you or an immediate family member listed as a         No
beneficiary in a client's Will (do not include Wills of
immediate family members)?


Q24 Do you create any type of comprehensive,                  No
consolidated statements - even if just for 1 client (Do not
include clients set up on Black Diamond)?



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Q25 Estimate what percent of your business is in              10 - 25%
variable annuities.


Q26 Estimate what percent of your business is in IRA          10 - 25%
Rollovers.


Q27 Do you solicit Thrift Savings Plans ("TSPs") for          No
rollovers?


Q28 Do you have any client accounts (other than your          No
personal accounts) addressed to send mail to your
attention or to the Firm's attention? Note that duplicate
statements being sent to your attention are allowed at
the client's direction as long as the client is also
receiving the statements and confirms. If "yes", then
please email Compliance
(bokfscompliancereporting@bokf.com) immediately with
the account number(s) and account name(s).


Q29 Do you have discretionary authority over any client       No
accounts that have not previously been reported to
Compliance (do not include discretionary managed
advisory accounts - i.e. PE7)?If "yes", then please email
Compliance (bokfscompliancereporting@bokf.com)
immediately with the account number(s) and account
name(s).


Q30 Do you understand that you are prohibited from            Yes
trading, either personally or on behalf of your family,
friends, or clients, on material, nonpublic information and
that material, nonpublic information cannot be
communicated to anybody other than Compliance?


Q31 Do you use devices or systems for electronic              No
business/client communications other than those issued
by, authorized by, or approved by the firm? Please
exclude BOKF email, WebMail, authorized Bloomberg
accounts, and/or approved social media accounts.If
"yes", then please email Compliance
(bokfscompliancereporting@bokf.com) immediately with
details of the device(s) used and how it is used.


Q32 Do you use social media for business                      No
communications? Does not include posting contact
information on LinkedIn.If "yes", then please email
Compliance (bokfscompliancereporting@bokf.com)
immediately with details of the social media account(s)
used and how it is used.


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Q33 I am aware that I am responsible for checking the            Yes
National and BOKFS "Do Not Call" lists prior to making
cold calls.


Q34 I am aware that information I obtain and material            Yes
and/or applications I develop in the course of my
employment is proprietary property of my employer and
cannot be used to my advantage, nor taken with me,
should I change employers.


Q35 I am aware that I am responsible for                         Yes
checking BOKFS' Registration Connection page to
ensure I am properly registered to conduct securities
and/or insurance business in the states in which I solicit
and/or conduct business.


Q36 I certify that I am in full compliance with the firm's       Yes
Anti-Money Laundering and Customer Identification
Program policies.


Q37 Are you currently an Investment Adviser                      Yes
Representative (registered through Series 65, Series 66,
or Professional Designation)?


Q38 As an Investment Adviser Representative, I                   Yes
understand that I am covered by the BOKFA Code of
Ethics. I certify that I have received a copy of the BOKFA
Code of Ethics within the past 12 months, have read and
understood, and am in compliance with the requirements
of the Code.


Q39 I certify that I have received a copy of the BOKFS           Yes
Written Supervisory Procedures and Bank Dealer policy
manual, if applicable, that I have read and understood
the requirements, and that I am in compliance with the
requirements.




                                                              5/6

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Q40 I certify that I am aware of the BOK Financial Risk        Yes
Reporting Hotline (844.297.5946). BOKF is committed to
providing all employees a workplace that treats people
with fairness and respect, and maintains the highest
standards for personal and professional integrity. The
purpose of the Risk Reporting Hotline is to enable any
BOKF officer, employee, or any of its vendors,
contractors, customers, shareholders, or any other
person (“covered persons”) with direct knowledge about
BOKF to report in good faith, without fear of retaliation, a
suspected violation of any state or federal law or
regulation related to accounting, internal control or
auditing matters; a suspected violation of any securities
laws or any other unlawful or unethical practice or
activity; or a suspected violation of BOKF’s Standard of
Conduct and Code of Ethics (“Code”).


Q41 Please include any additional comments you may             Respondent skipped this question
have regarding your Compliance Questionnaire.




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#1
  COMPLETE
Collector:               Email Invitation 1 (Email)
Started:                 Monday, February 05, 2018 3:51:35 PM
Last Modified:           Monday, February 05, 2018 3:56:06 PM
Time Spent:              00:04:31
Email:                   mdelcid@bokf.com
IP Address:              216.60.18.40



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Q1 Enter your name (first name last name).

Melissa Del-Cid



Q2 Enter your office address (full, physical address).

5956 Sherry Lane Suite 700, Dallas, TX 75225



Q3 Enter your office phone number, including area code.

214-346-3961



Q4 Has your home address changed during the previous            No
six months? If "yes" and you have not already notified
Licensing and Registration, please email Kim Eggers
(keggers@bokf.com) immediately with the new address
and the date of your move.


Q5 What, if any, Professional Designation(s) do you             None
currently hold?


Q6 Do you have any pending customer complaints,                 No
litigation, arbitration, or have you received written
correspondence from a client indicating dissatisfaction
that you have not reported to compliance?If "yes", please
contact Compliance
(bokfscompliancereporting@bokf.com) immediately.



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Q7 Pled guilty or nolo contendre ("no contest") to, or          No
been charged with, any felony?




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Q8 Pled guilty or nolo contendre ("no contest") to, or         No
been charged with, any misdemeanor involving:
investment or any investment related business fraud,
false statements or omissions, wrongful taking of
property, bribery, perjury, forgery, counterfeiting,
extortion, or a conspiracy to commit any of these
offenses?


Q9 Had any unsatisfied judgments or liens filed against        No
you?


Q10 Filed a bankruptcy or been involved in an                  No
involuntary bankruptcy petition or filing not previously
reported to Compliance? (include last 10 years)


Q11 Attended any product sponsor due diligence                 No
meetings or conferences (does not include BOKFS'
product due diligence meetings)? If "yes", please email
Compliance (bokfscompliancereporting@bokf.com) with
the name of the sponsor, the date(s), and the location.


Q12 Made any political contributions?                          No



Q13 If "yes", was the contribution reported to and pre-        N/A
approved by Compliance? If not, then please complete
the BOKFS Political Contribution Request Form
immediately and return to Compliance
(bokfscompliancereporting@bokf.com).


Q14 Executed any Private Securities Transactions?          No
NOTE: "Private securities transaction" shall mean any
securities transaction outside the regular course or scope
of an associated person's employment with a member,
including, though not limited to, new offerings of
securities which are not registered with the Commission.
Also note that promissory notes often are securities.
Even if a promissory note is not deemed a security, the
RR has the obligation to obtain BOKFS' permission
before engaging in any outside business activity
involving the offer of promissory notes.


Q15 If "yes", was the transaction pre-approved by              N/A
BOKFS per policy? If not, then please complete the
BOKFS - Private Securities Transaction Request form
immediately and return to Compliance
(bokfscompliancereporting@bokf.com).




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Q16 In accordance with BOKFS' policy on gifts and             N/A
gratuities, have all gifts given/received by you been
reported via iTrade?If "no", then please report all
gifts/gratuities via iTrade immediately.


Q17 Are you aware that a written request must be made         Yes
to participate in all paid or unpaid outside business
activities including directorships, part-time employment,
or volunteer work and that the request must receive pre-
approval from Compliance?


Q18 Do you have any paid or unpaid outside business           No
activities that have not previously been reported to
Compliance?If "yes", then please complete the BOKFS
Outside Business Activity Form immediately and return
to Compliance (bokfscompliancereporting@bokf.com).


Q19 Are you an owner or partner in any business entity        No
(ex. LLC, general partner, or limited partner)?


Q20 If "yes", has the ownership/partnership been              N/A
reported to Compliance?If not, then please complete the
BOKFS Private Securities Transaction Request form
and/or BOKFS Outside Business Activity Form as
applicable and return to Compliance
(bokfscompliancereporting@bokf.com) immediately.


Q21 Are you or an immediate family member listed as           No
Trustee or Successor Trustee of a client account (do not
include an immediate family-related account)?


Q22 Are you or an immediate family member named as            No
Executor of a client account (do not include an
immediate family-related account)?


Q23 Are you or an immediate family member listed as a         No
beneficiary in a client's Will (do not include Wills of
immediate family members)?


Q24 Do you create any type of comprehensive,                  No
consolidated statements - even if just for 1 client (Do not
include clients set up on Black Diamond)?



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                                                     Confidential                     Exhibit 022-000003
   Case 3:18-cv-00794-N            Document 3-1         Filed 03/30/18   Page 313 of 331       PageID 734
 BOK Financial Securities, Inc. and Bank Dealer Compliance Questionnaire - February             SurveyMonkey
 2018

Q25 Estimate what percent of your business is in              N/A
variable annuities.


Q26 Estimate what percent of your business is in IRA          N/A
Rollovers.


Q27 Do you solicit Thrift Savings Plans ("TSPs") for          No
rollovers?


Q28 Do you have any client accounts (other than your          No
personal accounts) addressed to send mail to your
attention or to the Firm's attention? Note that duplicate
statements being sent to your attention are allowed at
the client's direction as long as the client is also
receiving the statements and confirms. If "yes", then
please email Compliance
(bokfscompliancereporting@bokf.com) immediately with
the account number(s) and account name(s).


Q29 Do you have discretionary authority over any client       No
accounts that have not previously been reported to
Compliance (do not include discretionary managed
advisory accounts - i.e. PE7)?If "yes", then please email
Compliance (bokfscompliancereporting@bokf.com)
immediately with the account number(s) and account
name(s).


Q30 Do you understand that you are prohibited from            Yes
trading, either personally or on behalf of your family,
friends, or clients, on material, nonpublic information and
that material, nonpublic information cannot be
communicated to anybody other than Compliance?


Q31 Do you use devices or systems for electronic              No
business/client communications other than those issued
by, authorized by, or approved by the firm? Please
exclude BOKF email, WebMail, authorized Bloomberg
accounts, and/or approved social media accounts.If
"yes", then please email Compliance
(bokfscompliancereporting@bokf.com) immediately with
details of the device(s) used and how it is used.


Q32 Do you use social media for business                      No
communications? Does not include posting contact
information on LinkedIn.If "yes", then please email
Compliance (bokfscompliancereporting@bokf.com)
immediately with details of the social media account(s)
used and how it is used.


                                                          4/6

                                                    Confidential                      Exhibit 022-000004
   Case 3:18-cv-00794-N             Document 3-1             Filed 03/30/18   Page 314 of 331   PageID 735
 BOK Financial Securities, Inc. and Bank Dealer Compliance Questionnaire - February              SurveyMonkey
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Q33 I am aware that I am responsible for checking the            Yes
National and BOKFS "Do Not Call" lists prior to making
cold calls.


Q34 I am aware that information I obtain and material            Yes
and/or applications I develop in the course of my
employment is proprietary property of my employer and
cannot be used to my advantage, nor taken with me,
should I change employers.


Q35 I am aware that I am responsible for                         Yes
checking BOKFS' Registration Connection page to
ensure I am properly registered to conduct securities
and/or insurance business in the states in which I solicit
and/or conduct business.


Q36 I certify that I am in full compliance with the firm's       Yes
Anti-Money Laundering and Customer Identification
Program policies.


Q37 Are you currently an Investment Adviser                      No
Representative (registered through Series 65, Series 66,
or Professional Designation)?


Q38 As an Investment Adviser Representative, I                   N/A
understand that I am covered by the BOKFA Code of
Ethics. I certify that I have received a copy of the BOKFA
Code of Ethics within the past 12 months, have read and
understood, and am in compliance with the requirements
of the Code.


Q39 I certify that I have received a copy of the BOKFS           Yes
Written Supervisory Procedures and Bank Dealer policy
manual, if applicable, that I have read and understood
the requirements, and that I am in compliance with the
requirements.




                                                              5/6

                                                      Confidential                    Exhibit 022-000005
   Case 3:18-cv-00794-N             Document 3-1         Filed 03/30/18        Page 315 of 331     PageID 736
 BOK Financial Securities, Inc. and Bank Dealer Compliance Questionnaire - February                 SurveyMonkey
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Q40 I certify that I am aware of the BOK Financial Risk        Yes
Reporting Hotline (844.297.5946). BOKF is committed to
providing all employees a workplace that treats people
with fairness and respect, and maintains the highest
standards for personal and professional integrity. The
purpose of the Risk Reporting Hotline is to enable any
BOKF officer, employee, or any of its vendors,
contractors, customers, shareholders, or any other
person (“covered persons”) with direct knowledge about
BOKF to report in good faith, without fear of retaliation, a
suspected violation of any state or federal law or
regulation related to accounting, internal control or
auditing matters; a suspected violation of any securities
laws or any other unlawful or unethical practice or
activity; or a suspected violation of BOKF’s Standard of
Conduct and Code of Ethics (“Code”).


Q41 Please include any additional comments you may             Respondent skipped this question
have regarding your Compliance Questionnaire.




                                                           6/6

                                                     Confidential                         Exhibit 022-000006
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 BOK Financial Securities, Inc. and Bank Dealer Compliance Questionnaire - February             SurveyMonkey
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#1
  COMPLETE
Collector:                Email Invitation 1 (Email)
Started:                  Wednesday, February 14, 2018 12:05:11 PM
Last Modified:            Wednesday, February 14, 2018 12:13:33 PM
Time Spent:               00:08:22
Email:                    vwise@bokf.com
IP Address:               216.60.18.40



Page 1

Q1 Enter your name (first name last name).

Vickie Wise



Q2 Enter your office address (full, physical address).

5956 Sherry Lane, Suite 700, Dallas, TX 75225



Q3 Enter your office phone number, including area code.

2143463940



Q4 Has your home address changed during the previous           No
six months? If "yes" and you have not already notified
Licensing and Registration, please email Kim Eggers
(keggers@bokf.com) immediately with the new address
and the date of your move.


Q5 What, if any, Professional Designation(s) do you            CFP,
currently hold?
                                                               Other



Q6 Do you have any pending customer complaints,                No
litigation, arbitration, or have you received written
correspondence from a client indicating dissatisfaction
that you have not reported to compliance?If "yes", please
contact Compliance
(bokfscompliancereporting@bokf.com) immediately.



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Q7 Pled guilty or nolo contendre ("no contest") to, or         No
been charged with, any felony?




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                                                     Confidential                     Exhibit 023-000001
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 BOK Financial Securities, Inc. and Bank Dealer Compliance Questionnaire - February             SurveyMonkey
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Q8 Pled guilty or nolo contendre ("no contest") to, or         No
been charged with, any misdemeanor involving:
investment or any investment related business fraud,
false statements or omissions, wrongful taking of
property, bribery, perjury, forgery, counterfeiting,
extortion, or a conspiracy to commit any of these
offenses?


Q9 Had any unsatisfied judgments or liens filed against        No
you?


Q10 Filed a bankruptcy or been involved in an                  No
involuntary bankruptcy petition or filing not previously
reported to Compliance? (include last 10 years)


Q11 Attended any product sponsor due diligence                 No
meetings or conferences (does not include BOKFS'
product due diligence meetings)? If "yes", please email
Compliance (bokfscompliancereporting@bokf.com) with
the name of the sponsor, the date(s), and the location.


Q12 Made any political contributions?                          No



Q13 If "yes", was the contribution reported to and pre-        N/A
approved by Compliance? If not, then please complete
the BOKFS Political Contribution Request Form
immediately and return to Compliance
(bokfscompliancereporting@bokf.com).


Q14 Executed any Private Securities Transactions?          No
NOTE: "Private securities transaction" shall mean any
securities transaction outside the regular course or scope
of an associated person's employment with a member,
including, though not limited to, new offerings of
securities which are not registered with the Commission.
Also note that promissory notes often are securities.
Even if a promissory note is not deemed a security, the
RR has the obligation to obtain BOKFS' permission
before engaging in any outside business activity
involving the offer of promissory notes.


Q15 If "yes", was the transaction pre-approved by              N/A
BOKFS per policy? If not, then please complete the
BOKFS - Private Securities Transaction Request form
immediately and return to Compliance
(bokfscompliancereporting@bokf.com).




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                                                     Confidential                     Exhibit 023-000002
   Case 3:18-cv-00794-N            Document 3-1          Filed 03/30/18   Page 318 of 331      PageID 739
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Q16 In accordance with BOKFS' policy on gifts and             Yes
gratuities, have all gifts given/received by you been
reported via iTrade?If "no", then please report all
gifts/gratuities via iTrade immediately.


Q17 Are you aware that a written request must be made         Yes
to participate in all paid or unpaid outside business
activities including directorships, part-time employment,
or volunteer work and that the request must receive pre-
approval from Compliance?


Q18 Do you have any paid or unpaid outside business           No
activities that have not previously been reported to
Compliance?If "yes", then please complete the BOKFS
Outside Business Activity Form immediately and return
to Compliance (bokfscompliancereporting@bokf.com).


Q19 Are you an owner or partner in any business entity        No
(ex. LLC, general partner, or limited partner)?


Q20 If "yes", has the ownership/partnership been              N/A
reported to Compliance?If not, then please complete the
BOKFS Private Securities Transaction Request form
and/or BOKFS Outside Business Activity Form as
applicable and return to Compliance
(bokfscompliancereporting@bokf.com) immediately.


Q21 Are you or an immediate family member listed as           No
Trustee or Successor Trustee of a client account (do not
include an immediate family-related account)?


Q22 Are you or an immediate family member named as            No
Executor of a client account (do not include an
immediate family-related account)?


Q23 Are you or an immediate family member listed as a         No
beneficiary in a client's Will (do not include Wills of
immediate family members)?


Q24 Do you create any type of comprehensive,                  No
consolidated statements - even if just for 1 client (Do not
include clients set up on Black Diamond)?



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                                                     Confidential                     Exhibit 023-000003
   Case 3:18-cv-00794-N            Document 3-1         Filed 03/30/18   Page 319 of 331       PageID 740
 BOK Financial Securities, Inc. and Bank Dealer Compliance Questionnaire - February             SurveyMonkey
 2018

Q25 Estimate what percent of your business is in              <10%
variable annuities.


Q26 Estimate what percent of your business is in IRA          <10%
Rollovers.


Q27 Do you solicit Thrift Savings Plans ("TSPs") for          No
rollovers?


Q28 Do you have any client accounts (other than your          No
personal accounts) addressed to send mail to your
attention or to the Firm's attention? Note that duplicate
statements being sent to your attention are allowed at
the client's direction as long as the client is also
receiving the statements and confirms. If "yes", then
please email Compliance
(bokfscompliancereporting@bokf.com) immediately with
the account number(s) and account name(s).


Q29 Do you have discretionary authority over any client       No
accounts that have not previously been reported to
Compliance (do not include discretionary managed
advisory accounts - i.e. PE7)?If "yes", then please email
Compliance (bokfscompliancereporting@bokf.com)
immediately with the account number(s) and account
name(s).


Q30 Do you understand that you are prohibited from            Yes
trading, either personally or on behalf of your family,
friends, or clients, on material, nonpublic information and
that material, nonpublic information cannot be
communicated to anybody other than Compliance?


Q31 Do you use devices or systems for electronic              No
business/client communications other than those issued
by, authorized by, or approved by the firm? Please
exclude BOKF email, WebMail, authorized Bloomberg
accounts, and/or approved social media accounts.If
"yes", then please email Compliance
(bokfscompliancereporting@bokf.com) immediately with
details of the device(s) used and how it is used.


Q32 Do you use social media for business                      No
communications? Does not include posting contact
information on LinkedIn.If "yes", then please email
Compliance (bokfscompliancereporting@bokf.com)
immediately with details of the social media account(s)
used and how it is used.


                                                          4/6

                                                    Confidential                      Exhibit 023-000004
   Case 3:18-cv-00794-N             Document 3-1             Filed 03/30/18   Page 320 of 331   PageID 741
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 2018


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Q33 I am aware that I am responsible for checking the            Yes
National and BOKFS "Do Not Call" lists prior to making
cold calls.


Q34 I am aware that information I obtain and material            Yes
and/or applications I develop in the course of my
employment is proprietary property of my employer and
cannot be used to my advantage, nor taken with me,
should I change employers.


Q35 I am aware that I am responsible for                         Yes
checking BOKFS' Registration Connection page to
ensure I am properly registered to conduct securities
and/or insurance business in the states in which I solicit
and/or conduct business.


Q36 I certify that I am in full compliance with the firm's       Yes
Anti-Money Laundering and Customer Identification
Program policies.


Q37 Are you currently an Investment Adviser                      Yes
Representative (registered through Series 65, Series 66,
or Professional Designation)?


Q38 As an Investment Adviser Representative, I                   Yes
understand that I am covered by the BOKFA Code of
Ethics. I certify that I have received a copy of the BOKFA
Code of Ethics within the past 12 months, have read and
understood, and am in compliance with the requirements
of the Code.


Q39 I certify that I have received a copy of the BOKFS           Yes
Written Supervisory Procedures and Bank Dealer policy
manual, if applicable, that I have read and understood
the requirements, and that I am in compliance with the
requirements.




                                                              5/6

                                                      Confidential                    Exhibit 023-000005
   Case 3:18-cv-00794-N             Document 3-1         Filed 03/30/18        Page 321 of 331     PageID 742
 BOK Financial Securities, Inc. and Bank Dealer Compliance Questionnaire - February                 SurveyMonkey
 2018

Q40 I certify that I am aware of the BOK Financial Risk        Yes
Reporting Hotline (844.297.5946). BOKF is committed to
providing all employees a workplace that treats people
with fairness and respect, and maintains the highest
standards for personal and professional integrity. The
purpose of the Risk Reporting Hotline is to enable any
BOKF officer, employee, or any of its vendors,
contractors, customers, shareholders, or any other
person (“covered persons”) with direct knowledge about
BOKF to report in good faith, without fear of retaliation, a
suspected violation of any state or federal law or
regulation related to accounting, internal control or
auditing matters; a suspected violation of any securities
laws or any other unlawful or unethical practice or
activity; or a suspected violation of BOKF’s Standard of
Conduct and Code of Ethics (“Code”).


Q41 Please include any additional comments you may             Respondent skipped this question
have regarding your Compliance Questionnaire.




                                                           6/6

                                                     Confidential                         Exhibit 023-000006
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                                  Confidential                                Exhibit 024-000001
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                                  Confidential                                Exhibit 025-000001
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                                  Confidential                                Exhibit 026-000001
Case 3:18-cv-00794-N   Document 3-1   Filed 03/30/18   Page 325 of 331   PageID 746




                                  Confidential                                Exhibit 027-000001
Case 3:18-cv-00794-N   Document 3-1   Filed 03/30/18   Page 326 of 331   PageID 747




                                  Confidential                                Exhibit 028-000001
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                                  Confidential                                Exhibit 029-000001
     Case 3:18-cv-00794-N                 Document 3-1             Filed 03/30/18             Page 328 of 331             PageID 749
Caywood, Candace

Subject:                                 FW: Topgolf Team Outing


From: Manna, Vince
Sent: Wednesday, March 07, 2018 9:50 AM
To: Wise, Vickie <VWise@mail.bokf.com>; Davis, Skip <Skip.Davis@bokf.com>; Del‐cid, Melissa <MDelcid@bokf.com>;
Gibbons, Barbara <BGibbons@bokf.com>; Smith, Andrew (TX) <Andrew.Smith@bankoftexas.com>
Subject: Topgolf Team Outing

Team,

Throwing out some dates for a fun afternoon / happy hour at Topgolf:
    - Weds, March 14
    - Fri, March 16
    - Tues, March 20
    - Weds, March 21
    - Fri, March 23
    - Weds, March 28

Let me know if any of those work / don’t work 

Vince Manna, CFP®
AVP I Client Advisor
BOK Financial Advisors
Bank of Texas I The Private Bank
5956 Sherry Lane, Suite 700
Dallas, TX 75225
(214) 525-7615 I Office
(602) 329-8682 I Cell
(214) 346-3943 I Fax
vmanna@bankoftexas.com I Email

Securities, insurance and advisory services offered through BOK Financial Securities, Inc., member FINRA/SIPC and a subsidiary of BOK Financial
Corporation. Services may be offered under our trade name, BOK Financial Advisors. NOT FDIC INSURED I NO BANK GUARANTEE I MAY LOSE
VALUE




                                                                        1

                                                               Confidential                                Exhibit 030-000001
Case 3:18-cv-00794-N          Document 3-1            Filed 03/30/18   Page 329 of 331   PageID 750

  From:           Illmer, Rick
  To:             Dorwart, Erica
  Cc:             Lyons Mike; Johnson, Chad
  Subject:        Hilltop Securities
  Date:           Sunday, March 25, 2018 6:20:30 PM


  Erica,

  Please be advised that I represent the persons and entities to whom you addressed your March
  23 correspondence. I have an arbitration that begins tomorrow that will likely take all week.
   Nevertheless, in the event you intend to file an action seeking a temporary restraining order,
  please be advised that I am respectfully requesting that I be given reasonable notice and a
  reasonable opportunity to appear in person to oppose the Application for TRO. You are
  welcome to call my cell (214-693-1514).

  I will likely be assisted in this matter by one of my partners, Chad Johnson. Chad is copied on
  this email and his cell number is 214-577-4590.

  A more full and complete response to the allegations in your letter will be forthcoming.

  Thank you,
  Rick

  Sent from my iPad




                                                  Confidential                 Exhibit 031-000001
         Case 3:18-cv-00794-N      Document 3-1        Filed 03/30/18       Page 330 of 331     PageID 751
Caywood, Candace

From:                            Illmer, Rick <Rick.Illmer@huschblackwell.com>
Sent:                            Sunday, March 25, 2018 7:56 PM
To:                              Dorwart, Erica
Cc:                              Lyons Mike; Johnson, Chad
Subject:                         Re: Hilltop Securities



Yes, I will accept service for the defendants. Please email me and Chad a copy of any document you file.

Also, please confirm you will provide me and Chad reasonable notice of any hearing and a reasonable
opportunity to be present in person to oppose any application for TRO.

Thanks

Sent from my iPhone

On Mar 25, 2018, at 7:34 PM, Dorwart, Erica <EDORWART@fdlaw.com> wrote:

Counsel:

We will be filing papers and seeking a hearing as soon as possible.

Please advise if you will accept service for the addressees.

Thanks,

Erica

Erica Anne Dorwart
Frederic Dorwart, Lawyers PLLC
Old City Hall
124 East Fourth Street
Tulsa, Oklahoma 74103
918-583-9960 (Direct)
918-583-9922 (Office)
918-688-7420 (Mobile)
Edorwart@fdlaw.com<mailto:Edorwart@fdlaw.com>

On Mar 25, 2018, at 4:20 PM, Illmer, Rick
<Rick.Illmer@huschblackwell.com<mailto:Rick.Illmer@huschblackwell.com>> wrote:

Erica,

Please be advised that I represent the persons and entities to whom you addressed your March 23
correspondence. I have an arbitration that begins tomorrow<x-apple-data-detectors://1> that will likely take all
week. Nevertheless, in the event you intend to file an action seeking a temporary restraining order, please be
advised that I am respectfully requesting that I be given reasonable notice and a reasonable opportunity to

                                                         1

                                                    Confidential                    Exhibit 031-000002
    Case 3:18-cv-00794-N Document 3-1 Filed 03/30/18                  Page 331 of 331 PageID 752
appear in person to oppose the Application for TRO. You are welcome to call my cell (214-693-1514<tel:214-
693-1514>).

I will likely be assisted in this matter by one of my partners, Chad Johnson. Chad is copied on this email and
his cell number is 214-577-4590.

A more full and complete response to the allegations in your letter will be forthcoming.

Thank you,
Rick

Sent from my iPad




                                                        2
                                                  Confidential                      Exhibit 031-000003
